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 1
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 4
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      Attorney for Artur Elizarov
 7
 8                              UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10
       GOLDWATER BANK, NA,                                5:21-cv-616-JWH-SPx
11
                                             Plaintiff,
12                                    RECORD FOR REVIEW
13     vs.                            SUPPORTING ARTUR
                                      ELIZAROV’S OBJECTIONS TO
14     ARTUR ELIZAROV, ET AL.,        THE MAGISTRATE JUDGE’S
15                         Defendant. ORDER ON A NON-DISPOSITIVE
16                                    MOTION, TO WIT: TO QUASH A
                                      SUBPOENA DUCES TECUM TO
17                                    RITE CARE HOSPICE, INC.
18
19                                                        Date: 11/18/2022
                                                          Time: 9:00 am
20                                                        Court: Hon. John W. Holcomb
21           As the record for review, defendant Artur Elizarov submits the following
22    materials, which were presented to the magistrate judge supporting the motion to
23    quash:
24
25    Page           Description
26    4 .................. Alekseyeff declaration
27    12 ................ Elizarov declaration
28    18 ................ Exhibit A – Goldwater SDT to eCivis
                                                      1
      RECORD FOR REVIEW SUPPORTING ARTUR ELIZAROV’S OBJECTION TO MAGISTRATE JUDGE’S ORDER ON A
       NON-DISPOSITIVE MOTION, TO WIT: TO QUASH A SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
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 1    24 ................ Exhibit B – verified complaint
 2    44 ................ Exhibit C – Elizarov answer to verified complaint
 3    54 ................ Exhibit D – Fannie Mae lender letter LL-2020-02
 4    65 ................ Exhibit E – CFPB guidance
 5    69 ................ Exhibit F – Fannie Mae servicing guide
 6    71 ................ Exhibit G – mortgage assistance application
 7    75 ................ Exhibit H – Elizarov email to Peter Hill dated 03.03.21
 8    76 ................ Exhibit J – Goldwater SDT to Rite Care Hospice, Inc.
 9    82 ................ Exhibit K – Uniform Residential Loan Application (excerpt)
10    83 ................ Exhibit L – Goldwater deed of trust recorded 04.20.21
11    84 ................ Exhibit M – Adjustable Rate Rider (excerpt)
12   85 ................ Exhibit W – Amended seller settlement statement (mislabeled as M)
13   87 ................ Exhibit N – Adjustable Rate Note (excerpt)
14   88 ................ Exhibit O – IRS lien release
15   91 ................ Exhibit P – Loss mitigation documents
16   94 ................ Exhibit R – Mortgage inspection reports
17   123 .............. Exhibit S – Gregory Hill text messages
18   148 .............. Exhibit T – Appraisal reports (mislabeled as O)
19   152 .............. Exhibit U – IRS demand
20   157 .............. Exhibit V – IRS payment
21   158 .............. Exhibit X – notice of unconditional settlement
22   160 .............. Exhibit Y – settlement agreement
23   169 .............. Exhibit Z – court docket
24   173 .............. Exhibit AA – Andrea Cross emails to Elizarov ending on 03.25.2021
25   182 .............. Exhibit BB – minute order re ex parte for temporary stay
26   185 .............. Exhibit CC – Goldwater response to interrogatories
27   190 .............. Exhibit DD – Goldwater response to production demands
28   194 .............. Exhibit EE – tentative notice of motion for Rule 11 sanctions

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      RECORD FOR REVIEW SUPPORTING ARTUR ELIZAROV’S OBJECTION TO MAGISTRATE JUDGE’S ORDER ON A
       NON-DISPOSITIVE MOTION, TO WIT: TO QUASH A SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
     Case 5:21-cv-00616-JWH-SP Document 203-2 Filed 10/04/22 Page 3 of 216 Page ID
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 1    200 .............. Exhibit FF – Howlett grant deed
 2    202 .............. Exhibit GG – Alekseyeff email to Bast dated 08.08.22
 3   204 .............. Exhibit HH – Alekseyeff email to Bast dated 08.08.22
 4   206 .............. Exhibit JJ – Alekseyeff emails to Bast ending on 08.12.22
 5   208 .............. Requests for judicial notice
 6   212 .............. Goldwater Exhibit 1 – Loan application
 7
 8   Dated: 10/04/2022                           LOIA, INC. (APLC)
 9
10
11                                               By: Ilya Alekseyeff
                                                 Attorney for Artur Elizarov
12
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      RECORD FOR REVIEW SUPPORTING ARTUR ELIZAROV’S OBJECTION TO MAGISTRATE JUDGE’S ORDER ON A
       NON-DISPOSITIVE MOTION, TO WIT: TO QUASH A SUBPOENA DUCES TECUM TO RITE CARE HOSPICE, INC.
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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA


    GOLDWATER BANK, NA,                              5:21-cv-616-JWH-SP
                                    Plaintiff,
                                  DECLARATION OF ILYA
    vs.                           ALEKSEYEFF SUPPORTING
                                  ARTUR ELIZAROV’S MOTION TO
    ARTUR ELIZAROV ET AL,         QUASH GOLDWATER BANK,
                       Defendant. NA’S SUBPOENAS DUCES TECUM
                                  TO RITE CARE HOSPICE, INC.
    AND RELATED CROSS-ACTION. AND ECIVIS, INC

                                                     Date: 09/13/2022
                                                     Time: 9:00 am
                                                     Court: Hon. Sheri Pym

                                                     Date filed: 04/06/2021
                                                     Amendment filed: 05/24/2021
                                                     Discovery cut-off: 10/14/2022
                                                     Status conference: 02/03/2023
                                                     Jury trial: 02/27/2023

          1.    My name is Ilya Alekseyeff.
          2.    I am an attorney and a member in good standing of the California
   State Bar and the bar of this District Court for the Central District of California.




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            3.    I have represented Mr. Artur Elizarov in these proceedings.
                                        BMW Lawsuit
            4.    In 2019, I represented Artur Elizarov in a lawsuit entitled Artur
   Elizarov v. BMW Financial Services NA, LLC, Los Angeles Superior Court case
   19STCV08507.
            5.    I filed the lawsuit on March 11, 2019.
            6.    The lawsuit was settled on May 22, 2019.
            7.    I examined the document in Exhibit Y and recognized the document
   as the exact duplicate of the settlement agreement, which Mr. Elizarov signed in
   my presence and which I subsequently received counter-signed from BMW’s
   counsel Ms. Caley.
            8.    On May 22, 2019, after I received the countersigned settlement
   agreement from Ms. Caley, I filed a notice of unconditional settlement with the
   court.
            9.    I examined the document in Exhibit X and recognized the document
   as the exact duplicate of the Notice of Settlement, which I personally filed with the
   court in the BMW action on May 22, 2019.
            10.   The court finally dismissed the case on my request on August 14,
   2019.
            11.   I examined the document in Exhibit Z and recognized the document
   as the printout of the court’s docket in Los Angeles Superior Court case
   19STCV08507.
                                    Forbearance process
            12.   In preparing this case, I research guidance materials regarding the
   forbearance process relating to hardships caused by COVID-19 virus.
            13.   I examined the document in Exhibit D and recognized the document
   as a Lender Letter (LL-2020-02), which I personally downloaded from Fannie
   Mae’s website, https://singlefamily.fanniemae.com/media/22261/display, on July




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   26, 2022, stating on page 7 the following: “The CARES Act states that a
   forbearance plan must be provided to any borrower who requests a forbearance
   with an attestation of the financial hardship caused by the COVID-19 emergency;
   and no additional documentation other than the borrower’s attestation to a financial
   hardship caused by the COVID-19 emergency is required.”
         14.   I highlighted the above text in Exhibit D for emphasis.
         15.   I examined the document in Exhibit E and recognized the document
   as the information published by the Consumer Financial Protection Bureau, CFPB,
   which I personally downloaded from CFPB’s website
   https://files.consumerfinance.gov/f/documents/cfpb_csbs_consumers-forbearance-
   guide_2020-05.pdf, stating on page 2 as follows: “You are not required to submit
   documentation to prove your financial hardship to enter a forbearance under the
   CARES Act.”
         16.    I highlighted the above text in Exhibit E for emphasis.
         17.   I examined the document in Exhibit F and recognized the document
   as a printout of an answer to frequently asked questions published by Fannie Mae,
   which I personally downloaded from Fannie Mae’s website https://servicing-
   guide.fanniemae.com/COVID-19/COVID-FAQs/1957530251/Is-Form-710-
   Mortgage-Assistance-Application-required-to-verify-hardship-for-putting-a-
   borrower-on-a-COVID-19-related-forbearance-plan.htm, answering the question,
   “Is Form 710 (Mortgage Assistance Application) required to verify hardship for
   putting a borrower on a COVID-19 related forbearance plan,” as follows: “For
   COVID-19 impacted borrowers, no additional documentation other than the
   borrower’s attestation to a financial hardship caused by the COVID-19 emergency
   is required for the borrower receiving a forbearance plan.”
         18.   I examined the document in Exhibit G and recognized the document
   as a copy of Artur Elizarov’s supposed mortgage assistance application, which I
   received in discovery from Goldwater’s attorney Derek Bast.




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                               Gregory Hill text messages
         19.   I examined the document in Exhibit S and recognized the messages
   as a conversation between Mr. Elizarov and Gregory Hill, which I personally
   created from the contents of Mr. Elizarov’s cellular telephone as follows:
         20.   I used a commercially available program iMazing.
         21.   This program allows users to create an easy-to-read extraction of text
   messages from the iPhone.
         22.   I completed the task as follows:
         23.   I connected Mr. Elizarov’s unlocked iPhone to my computer and
   extracted the text messages from the phone.
         24.   I located the conversation with Gregory Hill and saved all the
   messages in the conversation into a single easy-to-read PDF file.
         25.   The document in Exhibit S is the file that I created using iMazing
   software.
         26.   The information in the footer of each page, including the date of the
   extraction and the serial number of the phone, was automatically generated by
   iMazing.
                                      Discovery responses
         27.   I examined the document in Exhibit CC and recognized the document
   as an exact duplicate of Goldwater Bank’s response to Mr. Artur Elizarov’s
   interrogatories, which I received from Goldwater’s attorney Derek Bast in
   discovery by email.
         28.   I examined the document in Exhibit DD and recognized the document
   as an exact duplicate of Goldwater Bank’s response to Mr. Artur Elizarov’s
   requests for production, which I received from Goldwater’s attorney Derek Bast in
   discovery by email.
         29.   I examined the document in Exhibit G and recognized the document
   as an exact duplicate of a document described as Mortgage Assistance Application




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   purportedly signed by Mr. Elizarov, which I received from Goldwater’s attorney
   Derek Bast in discovery by email.
         30.   I examined the document in Exhibit K and recognized the document
   as an except from a document described as Uniform Residential Loan Application,
   which I received from Goldwater’s attorney Derek Bast in discovery by email.
         31.   I examined the document in Exhibit L and recognized the document
   as an excerpt from a document described as Deed of Trust, which I received from
   Goldwater’s attorney Derek Bast in discovery by email.
         32.   I examined the document in Exhibit M and recognized the document
   as an excerpt from a document described as Adjustable Rate Rider, which I
   received from Goldwater’s attorney Derek Bast in discovery by email.
         33.   I examined the document in Exhibit N and recognized the document
   as an excerpt from a document described as Adjustable Rate Note, which I
   received from Goldwater’s attorney Derek Bast in discovery by email.
         34.   I examined the document in Exhibit P and recognized the document
   as a collection of three documents entitled Loss Mitigation 90-120 Days
   Delinquency Review Checklist, which I received from Goldwater’s attorney Derek
   Bast in discovery by email.
         35.   I examined the document in Exhibit R and recognized the document
   as a collection of documents that appeared to include house inspection information,
   which I received from Goldwater’s attorney Derek Bast in discovery by email.
         36.   I examined the document in Exhibit T and recognized the document
   as an excerpt from a document described as Deed of Trust, which I received from
   Goldwater’s attorney Derek Bast in discovery by email.
         37.   I examined the document in Exhibit T and recognized the document
   as a collection of document that appear to show Freddie Mac and Fannie Mae
   appraisal reports, which I received from Goldwater’s attorney Derek Bast in
   discovery by email.




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          38.   I examined the document in Exhibit AA and recognized the document
   as a printout of a chain of emails between Artur Elizarov and Andrea Cross.
          39.   Exhibit AA was also used during Andrea Cross’ deposition.
                                        Subpoenas
          40.   I examined the document in Exhibit A and recognized the document
   as a subpoena duces tecum to eCivis, Inc., which I received from Goldwater’s
   attorney Derek Bast by email.
          41.   I examined the document in Exhibit J and recognized the document
   as a subpoena duces tecum to Rite Care Hospice, Inc., which I received from
   Goldwater’s attorney Derek Bast by email.
                                     Court documents
          42.   I examined the document in Exhibit B and recognized the document
   as an exact copy of Goldwater’s verified amended complaint, which was filed in
   this case on May 27, 2021, as document number 44.
          43.   I examined the document in Exhibit C and recognized the document
   as an exact copy of Mr. Elizarov’s answer to Goldwater’s verified complaint,
   which I personally filed in this case on December 10, 2021, as document number
   98.
          44.   I examined the document in Exhibit C and recognized the document
   as an exact copy of the court’s order regarding Mr. Elizarov’s ex parte application
   for stay, which the Court issued and filed on August 3, 2022, as document number
   175.
                                   Additional documents
          45.   I examined the document in Exhibit EE and recognized the document
   as an exact duplicate of a notice of motion under Rule 11 that I served on all
   parties’ attorneys in this case on August 8, 2022.
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                                      Meet and confer
         46.      Per order of this court, I spoke to Goldwater’s attorney Derek Bast on
   the phone on Monday, August 8, 2022.
         47.      Following the meeting, I sent Bast an email that summarized our
   discussions.
         48.      I examined the document in Exhibit GG and recognized the
   document as a printout of the email that I sent to Bast at 1:05 pm on Monday,
   August 8, 2022, after speaking to Bast on the phone.
         49.      The email in Exhibit GG accurately described our conversation.
         50.      Minutes later, I sent another email to Bast, which included authorities
   regarding the scope of discovery that I discussed with Bast on the phone.
         51.      I felt compelled to send these authorities because Bast told me during
   the call that he knew of no authorities that limited discovery only to those claims
   that were alleged in the complaint and did not allow parties to fish for evidence of
   some additional, yet unalleged claims.
         52.      I examined the document in Exhibit HH and recognized the
   document as a printout of the email that I sent to Bast at 1:36 pm on Monday,
   August 8, 2022.
         53.      Since that email, Bast has not responded to my authorities, has not
   sent me any contrary authorities, and has not agreed to limit the scope of the
   subpoenas.
         54.      On Friday, August 12, 2022, I followed up with Bast regarding the
   CARES Act issue.
         55.      Bast responded and offered me his “belief” that the loan was not a
   federally-backed loan.
         56.      In my reply, I questioned why Bast offered me his belief rather than
   send me the records, especially when the records that Goldwater had previously
   disclosed had “Fannie Mae” written on them.




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         57.   I examined the document in Exhibit JJ and recognized the document
   as a printout of the email conversation that I had with Bast on August 12, 2022.
         58.   Since that email, Bast has not sent me any documents or other proof to
   support his “belief” that the CARES Act did not apply.


         I declare under penalty of perjury under the laws of the United State that the
   foregoing statements are true on my own personal knowledge.



   Dated: 08/16/2022               Signature:




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   Attorney for Artur Elizarov


                        UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA


    GOLDWATER BANK, NA,                        5:21-cv-616-JWH-SP
                                  Plaintiff,
                                  DECLARATION OF ARTUR
    vs.                           ELIZAROV SUPPORTING ARTUR
                                  ELIZAROV’S MOTION TO QUASH
    ARTUR ELIZAROV ET AL,         SUBPOENAS DUCES TECUM TO
                       Defendant. RITE CARE HOSPICE, INC. AND
                                  ECIVIS, INC.

                                               Date: 09/13/2022
                                               Time: 9:00 am
                                               Court: Hon. Sheri Pym

                                               Date filed: 04/06/2021
                                               Amendment filed: 05/24/2021
                                               Discovery cut-off: 10/14/2022
                                               Status conference: 02/03/2023
                                               Jury trial: 02/27/2023


          1.   My name is Artur Elizarov.
          2.   I am a defendant in the above-entitled civil cause.
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                                Goldwater loan application
         3.     I contacted Goldwater Bank, National Association about a mortgage
   loan in late June 2019.
         4.     I primarily spoke to Gregory Hill who introduced himself as
   Goldwater’s loan officer.
         5.     When I applied for the loan, I provided information to Gregory Hill
   by phone, text messages, email.
         6.     During one of the early phone calls, I disclosed to Gregory Hill that I
   had a registered domestic partner Ilya Alekseyeff.
         7.     I also disclosed to Gregory Hill that I was a party to a lawsuit with
   BMW, which was settled as of May 2019.
         8.     I also disclosed to Gregory Hill that I no longer had a debt to the
   Internal Revenue Service because I paid off the debt in January 2018 when I sold a
   residence in Valley Village.
         9.     In fact, Gregory Hill’s question about the IRS lien prompted me to
   contact the IRS about getting the lien officially released.
         10.    The IRS followed up on my call and recorded the release in December
   of 2019.
         11.    Gregory Hill subsequently prepared a loan application.
         12.    Gregory Hill advised me that he included only the information that
   Goldwater required for my type of mortgage loan.
         13.    Gregory Hill told me that I did not have to include the information
   about Ilya Alekseyeff because I qualified for the loan on my own; did not have to
   report the BMW lawsuit because I settled the case in May; and did not have to
   disclose the IRS issue because I paid off the balance in January 2018.
         14.    Mr. Gregory Hill’s approach to the application was similar to my
   earlier experience applying for mortgage loans.
   \\\




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         15.      I did not personally complete any of the information in the loan
   information.
         16.      I examined the document in Exhibit S and recognized the document
   as an accurate printout of my entire text conversation with Gregory Hill between
   June 24, 2019, and February 5, 2021.
         17.      To confirm accuracy, I compared the contents of Exhibit S with the
   contents of my phone and verified that Exhibit S included all my individual text
   messages that I exchanged with Gregory Hill between June 24, 2019, and February
   5, 2021.
         18.      Page 5 of Exhibit S included a discussion of my husband’s
   creditworthiness.
         19.      Page 9 of Exhibit S references my husband by name, “Ilya.”
         20.      I expected Gregory Hill to recognize the name because I previously
   identified my husband Ilya Alekseyeff by name to Gregory Hill during phone calls.
         21.      Page 8 of Exhibit S shows the information about the BMW lawsuit
   that I sent to Gregory Hill.
         22.      I also sent Gregory Hill the settlement agreement and the notice of
   settlement from that lawsuit as well.
         23.      I examined the documents in Exhibit Y and Exhibit Z and
   recognized those as the two documents that I sent to Gregory Hill as discussed on
   Page 8 of Exhibit S.
                                           Tax lien
         24.      On October 16, 2017, the Internal Revenue Service recorded in Los
   Angeles County a notice of lien regarding a balance of $107,787.69 regarding
   2014 tax return.
         25.      At the time, I owned a house located at 11623 Morrison Street in
   Valley Village, California.
   \\\




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         26.      I sold the house to Cao Thu and Solomon Aman Demoz on January
   19, 2018.
         27.      During escrow regarding the sale of the Morrison house, I requested a
   demand from the IRS because I had to extinguish the IRS lien to close the
   transaction.
         28.      On January 17, 2018, the Internal Revenue Service transmitted a
   demand for the outstanding balance of $91,567.25.
         29.      I examined the document in Exhibit U and recognized the document
   as an exact duplicate of the payoff demand from the Internal Revenue Service
   dated January 17, 2018.
         30.      I highlighted the amount due in Exhibit K for emphasis.
         31.      I subsequently instructed the escrow officer, Andrea Cross, to satisfy
   this demand.
         32.      I examined the document in Exhibit V and recognized the document
   as an exact duplicate of a check for $91,567.25 that Andrea Cross issued to the
   Internal Revenue Service per my instructions.
         33.      I examined the document in Exhibit W and recognized the document
   as an exact duplicate of the Amended Seller’s Final Settlement Statement
   regarding the sale of the Morrison house, which I received from Andrea Cross,
   which shows a payment to the Internal Revenue Service of $91,567.25.
         34.      I highlighted the relevant information in Exhibit W for emphasis.
         35.      I also redacted certain information from Exhibit W to protect the
   privacy of my personal financial information.
         36.      I examined the document in Exhibit O and recognized the document
   as an exact duplicate of the Certificate of Release of Federal Tax Lien, which I
   received from the Internal Revenue Service in December 2019.
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         37.    I contacted the Internal Revenue Service about this document after
   Gregory Hill advised me that the lien remained active despite the payment that I
   made to the IRS in January 2018.
                                         The sale
         38.    I hired real estate broker Will Cook to market the Palm Springs
   property for sale in November 2020.
         39.    I informed Gregory Hill by text message that I had put the property
   for sale on February 3, 2021.
         40.    These messages are reflected on page 23 of Exhibit S.
         41.    At Gregory Hill’s request, I promptly shared the escrow officer’s
   information with Gregory Hill.
         42.    Page 24 of Exhibit S reflects my efforts to share the information about
   escrow with Gregory Hill.
         43.    On February 3, 2021, I also transmitted the escrow officer’s contact
   information to Goldwater’s agent Peter Hill.
         44.    On March 3, 2021, I sent Peter Hill at Goldwater a copy of my
   residential purchase agreement with Scott Howlett.
         45.    I examined the document in Exhibit H and recognized the document
   as an exact duplicate of an email that I sent to Peter Hill on March 3, 2021.
         46.    I also highlighted the attachment, “291 W Overlook, PS_RPA.pdf,”
   which referred to the purchase agreement between Mr. Howlett and me, which I
   previously identified as Exhibit T.
         47.    I discovered that Goldwater had never recorded the deed of trust in
   Riverside county on March 25, 2021, from communications with escrow officer
   Andrea Cross.
         48.    I examined the document in Exhibit AA and recognized the document
   as an exact duplicate of my email exchange with escrow officer Andrea Cross.




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                                                                            ID #:1891
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                                     #:3770
                                                                                        WAGNER HICKS PLLC
                                                                                        831 E. Morehead Street, Suite 860
                                                                                        Charlotte, NC 28202
                                                                                        (704) 705-7787



                                                                                        DEREK M. BAST
                                                                                        Attorney at Law
                                                                                        (704) 705-8311
                                                                                        derek.bast@wagnerhicks.law

   VIA PERSONAL SERVICE

   July 28, 2022

   Escrow of the West, Inc.
   c/o Galit Ofengart, registered agent
   9440 Santa Monica Blvd, Suite 310
   Beverly Hills, CA 90210


           Re:     Goldwater Bank, N.A., v. Elizarov, et al. No. 5:21-cv-00616 (C.D. Cal.)
                   Service of Subpoena Duces Tecum and Stipulated Protective Order

   To Whom It May Concern:

            Enclosed please find a Subpoena Duces Tecum in the above-referenced lawsuit. Additionally,
   please find enclosed a copy of a Stipulated Protective Order entered by the Court in this matter on June 8,
   2022, which permits the designation of subpoenaed materials as “Confidential” upon production.

           To facilitate your response by August 18, 2022, you may produce documents to Goldwater Bank,
   N.A.’s counsel by email, using the contact information below. If producing documents by this date is
   unfeasible, please contact counsel to discuss an alternative production date.

           Derek M. Bast
           Wagner Hicks PLLC
           T: (704) 705-8311
           derek.bast@wagnerhicks.law


           Please do not hesitate to contact me with any questions or concerns.

                                                            Sincerely,



                                                            Derek M. Bast
                                                            Attorney

   Enclosures




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
                     Goldwater Bank, N.A.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 5:21-cv-00616-JWH-SP
       Artur Elizarov, Unison Agreement Corp., Scott                          )
       Howlett, Bank of the West, and Ilya Alekseyeff                         )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                         eCivis, Inc. c/o Registered Agents Inc., registered agent
                                               1401 21st Street, Suite R, Sacramento, CA 95811
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
            See Attachment 1.


  Place: Huseby Global Litigation                                                       Date and Time:
           700 Webster Street                                                                                08/18/2022 4:00 pm
           Fairfield, CA 94533

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/28/2022

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Derek M. Bast
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiff Goldwater Bank, N.A.                                           , who issues or requests this subpoena, are:
Derek Bast, 831 E Morehead St, Ste 860, Charlotte, NC 28202; derek.bast@wagnerhicks.law; (704) 705-8311

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 5:21-cv-00616-JWH-SP

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                                        ATTACHMENT 1

                                  LIST OF ITEMS FOR PRODUCTION

          Pursuant to the foregoing Subpoena, please produce the following documents (please refer

   to the instructions and definitions below for information concerning how to respond to the

   following items):

          1.      Any and all documents, communications, or records reflecting or related to any and

   all COVID-19 pandemic furlough or other change in employment status of Artur Elizarov during

   the Relevant Period.

          3.      Any and all documents, communications, or records reflecting or relating to any

   and all compensation provided by You to Artur Elizarov, including but not limited to annual salary

   records and employee bonus payments during the Relevant Period.

                                    INSTRUCTIONS & DEFINITIONS

          The foregoing Subpoena requires that you produce the above-listed items for inspection.

   You may satisfy such requirement either by (1) producing the original of any responsible item for

   inspection and copying or (2) producing a true, accurate, and complete copy of the original

   via electronic mail to the requesting attorney (derek.bast@wagnerhicks.law). To comply with

   the Subpoena, such production must occur by, on, or before the date and time indicated on the

   foregoing Subpoena.

          In preparing your response, please note that the words in the List of Items for Production

   and in these Instructions and Definitions have the meaning ordinarily attributed to them in common

   usage, except that the following words have the following meanings:

          1.      “Relevant Period” refers to February 1, 2020 through April 1, 2021.




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          2.      “Document” includes any and all records, or written, readable, graphic, or visual

   materials, or any kind or character, and shall include, without limitation, correspondence,

   memoranda, notes, emails, files, bills, invoices, electronically stored information, and any other

   data compilation stored in any medium from which information can be obtained.

          3.      “Communication” or “communications” includes, without limitation, all

   statements, representations, expressions of fact or opinion, correspondence, reports, memoranda,

   emails, text messages, and other transmissions of information, made in any manner whatsoever.

          4.      “You” or “Your” means eCivis, Inc., along with its affiliates and subsidiaries, and

   anyone working on eCivis, Inc.’s behalf.




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 Los Angeles, CA 90071-2919
 Tel: (213) 489-0028; Fax (213) 489-0552
 Local Counsel for Plaintiff,
 GOLDWATER BANK, N.A.

                        UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                                          )
 Goldwater Bank, N.A.                     )   Case No. 5:21-cv-00616-JWH-SP
                                          )   _____________
                    Plaintiff,            )   VERIFIED AMENDED
                                          )
              vs.                         )   COMPLAINT FOR:
                                          )
 ARTUR ELIZAROV; UNISON                   )   1.   BREACH OF CONTRACT
 AGREEMENT CORP.; SCOTT                   )
 HOWLETT; BANK OF THE WEST;               )   2.   UNJUST ENRICHMENT
 and ILYA ALEKSEYEFF                      )   3.   FRAUD
                                          )
                    Defendants.           )   4.   FRAUDULENT TRANSFER
                                          )   5.   CIVIL CONSPIRACY
                                          )
                                          )   6.   INJUNCTIVE RELIEF
                                          )   7.   QUIET TITLE
                                          )   8.   DECLARATORY JUDGMENT
                                          )
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        Plaintiff Goldwater Bank, N.A. (“Goldwater”), pursuant to Fed. R. Civ. P. 15(a),
 hereby files this Amended Complaint and alleges the following: 1
                                          PARTIES
        1.     Plaintiff Goldwater Bank, N.A. is a national association with its principal
 place of business in Phoenix, Arizona.
        2.     Defendant Artur Elizarov, is an individual who resided in Riverside County,
 California at certain times at issue in this matter.
        3.     Defendant Unison Agreement Corp. is a corporation organized under the
 laws of the state of Delaware with its principal place of business in San Francisco,
 California.
        4.     Defendant Scott Howlett is an individual and resident of San Francisco
 County, California.



 1 The Court’s pending decision on Goldwater’s request for a preliminary injunction need
 not be affected by the filing of this Amended Complaint. “Where the claim and prayer
 for injunctive [relief] forming the basis for a motion for preliminary injunction remains
 in an amended pleading and the motion for injunctive relief does not rely on factual
 allegations that substantially differ between the superseded and amended complaint,
 construing a motion for injunctive relief as relying on the amended pleading is
 appropriate.” JBF Interlude 2009 Ltd - Israel v. Quibi Holdings, LLC, No. CV20-2299-
 CAS (SKX), 2020 WL 3963863, at *6 (C.D. Cal. July 13, 2020). Here, Goldwater’s
 motion for TRO and preliminary injunction sought relief based on Goldwater’s claims
 for breach of contract, unjust enrichment, and constructive trust, which are still present
 in this amended complaint, and Goldwater is not asking the Court to rule on the pending
 motion for preliminary injunction based on the new causes of action asserted herein.
 Additionally, Goldwater’s motion did not rely on the factual allegations of a verified
 Complaint but on separate declarations from Goldwater regarding the facts at issue.
 Goldwater contends the Court can and still should rule on the request for preliminary
 injunction based on Goldwater’s claims for breach of contract, unjust enrichment, and
 constructive trust. “Requiring the refiling of the Motion and related documents would be
 a needless waste of party and judicial resources.” Id. (construing a pending motion for
 preliminary injunction to relate to the amended complaint as the operative complaint with
 respect to the claims at issue in the motion).



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        5.    Defendant Bank of the West is a corporation organized under the laws of the
 state of California with its principal place of business in San Francisco, California.
        6.    Defendant Ilya Alekseyeff is an individual and resident of Los Angeles
 County, California.
                              JURISDICTION AND VENUE
        7.    This Court has subject matter jurisdiction over Goldwater’s claims pursuant
 to 28 U.S.C. § 1332, as complete diversity of citizenship exists between Goldwater and
 Defendants and the amount in controversy exceeds the sum or value of Seventy-Five
 Thousand Dollars ($75,000.00), exclusive of interest and costs.
        8.    A large portion of the conduct giving rise to the claims against Defendants,
 as more fully described below, occurred in the Central District of California.
        9.    In addition, the real property over which Plaintiff claims a security interest
 at issue in this action is located in Riverside County, California within the Central District
 of California.
        10.   Venue is proper in this district pursuant to 28 U.S.C. § 1391.
                              DEMAND FOR JURY TRIAL
        11.   Plaintiff Goldwater hereby demands a trial by jury on all issues so triable.
                                      BACKGROUND
                         The Goldwater Loan and the Unison Lien
        12.   On or around July 31, 2019, Goldwater, as lender, originated a mortgage
 loan to Elizarov in the amount of $686,250.00 (the “Goldwater Loan”) to be secured by
 certain real property located at 291 W. Overlook Road, Palm Springs, California 92264
 (the “Subject Property”).
        13.   Elizarov is a real estate broker holding an active license from the the
 California Department of Real Estate, and his license ID number is 01954357.
        14.   The Goldwater Loan was memorialized in an Adjustable Rate Note (the
 “Note”) and a Deed of Trust (the “Deed of Trust”), both dated July 31, 2019. A true and




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 accurate copy of the Note and Deed of Trust are attached and incorporated herein as
 Exhibit A and Exhibit B, respectively.
        15.   The Deed of Trust created a valid and enforceable lien between Goldwater
 and Elizarov.
        16.   Also on or around July 30, 2019, Elizarov entered into another deed of trust
 with Unison as trustee, which was also secured by the Subject Property (the “Unison
 Lien”).
        17.   Elizarov informed Unison of the Goldwater Loan and Goldwater’s lien.
        18.   Upon information and belief, Elizarov purchased the Subject Property for
 $915,000 using proceeds of both the Goldwater Loan and funds from Unison, and Unison
 agreed to subordinate the Unison Lien in exchange for an equity share in the value of the
 Subject Property upon re-sale.
        19.   Specifically, Unison and Elizarov entered into a document titled Unison
 Homebuyer Uniform Subordination Agreement (the “Subordination Agreement”) on or
 around July 31, 2019. A true and accurate copy of the Subordination Agreement is
 attached hereto as Exhibit C.
        20.   The Subordination Agreement identifies Unison as a Subordinating Lien
 Holder of a Junior Lien on the Subject Property.
        21.   The Subordination Agreement further identifies the Goldwater lien as the
 First Mortgage on the Subject Property by reference to Goldwater’s loan number, the date
 of the Note, and the principal amount of $686,250.00.
        22.   The Subordination Agreement was recorded with the Riverside County
 Recorder’s office on or around August 7, 2019.
                             Elizarov’s Mortgage Application
        23.   To obtain the Goldwater Loan, Elizarov submitted a Uniform Residential
 Loan Application (the “Loan Application”) to Goldwater on or around July 3, 2019.
        24.   In the Loan Application, Elizarov made several material misrepresentations
 of fact.




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        25.   In the Loan Application, Elizarov did not identify himself as “Married
 (include registered domestic partners).”        Rather, Elizarov identified himself as
 “Unmarried.”
        26.   This was a misrepresentation of fact because Elizarov and Defendant
 Alekseyeff have been in a domestic partnership, which is registered with the state of
 California, since May 2003.
        27.   In the Loan Application, Elizarov also identified his total assets, separate
 from his income, as $227,103.00 in a JP Morgan savings account.
        28.   Elizarov also stated in the Loan Application that he was not a party to any
 lawsuit.
        29.   This was a misrepresentation of fact because Elizarov was in fact a named
 plaintiff at that time in litigation in the Superior Court of California, Los Angeles County,
 which was captioned Artur Elizarov v. BMW Financial Services NA, LLC
 (19STCV08507). Elizarov was represented by Alekseyeff in that action.
        30.   Elizarov stated on the loan application that he was not “presently delinquient
 or in default on an Federal debt[.]”
        31.   Upon information and belief, this was a misrepresentation of fact because,
 at the time, Elizarov was subject to a federal tax lien of $107,787.69.
        32.   In signing the Mortgage Application, Elizarov represented, agreed, and
 acknowledged that “the information provided in this application is true and correct as of
 the date set forth opposite my signature and that any intentional or negligent
 misrepresentation of this information contained in this application may result in civil
 liability, including monetary damages, to any person who may suffer any loss due to
 reliance upon any misrepresentation that I have made on this application, and/or in
 criminal penalties including, but not limited to, fine or imprisonment or both under the
 provisions of Title 18, United States Code, Sec. 1001, et seq.”
        33.   Elizarov’s multiple misrepresentations were material to the transaction
 because they are directly relevant to Elizarov’s reliability and financial position.




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         34.   Elizarov’s marital status was material to the transaction because California
 is a community property state, meaning that Elizarov could be held responsible for his
 domestic partner’s liabilities incurred during the span of the domestic partnership.
         35.   Goldwater relied on Elizarov’s misrepresentations in approving him for and
 making the Goldwater Loan.
                                Elizarov’s Payment History
         36.   Elizarov defaulted on the Goldwater Loan and is delinquent on the payment
 obligations as of April 1, 2020, meaning that the payments that Elizarov has made only
 satisfy his ordinary payment obligations through April 1, 2020.
         37.   On or around May 2020, Goldwater transferred responsibilities for servicing
 the Goldwater Loan to an affiliated entity named Weststar Mortgage Corporation.
         38.   On or around May 5, 2020, Elizarov completed a Mortgage Assistance
 Application (the “Assistance Application”) requesting assistance based on reduction in
 income and disaster.
         39.   In the Assistance Application, Elizarov represented that his only form of
 income was $1,050.00 per week in unemployment benefit income.
         40.   In the Assistance Application, Elizarov represented that his only assets,
 excluding retirement funds, was $3,500 in cash on hand.
         41.   Upon information and belief, Elizarov misrepresented the full extent of his
 assets and income.
         42.   Noticeably, Elizarov failed to report the JP Morgan savings account on his
 Assistance Application, despite reporting it on his Mortgage Application.              Upon
 information and belief, the JP Morgan savings account was still in existence at the time
 Elizarov completed the Assistance Application.
         43.   In signing the Assistance Application, Elizarov certified and acknowledged
 that “all of the information in this Mortgage Assistance Application is truthful . . . [and
 that] [k]nowingly submitting false information may violate Federal and other applicable
 law.”




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        44.   In reliance on the information reported in Elizarov’s Assistance Application,
 Elizarov was approved for forbearance. Elizarov was required to make reduced monthly
 payments of $1,101.31, which reflected the escrow amount of his ordinary payments.
        45.   Elizarov continued to report that he still suffered from the same hardships,
 and he continued to receive forbearance extensions.         However, Elizarov failed to
 regularly and timely make his reduced monthly payments.
        46.   During the time when Elizarov was seeking and receiving forbearance,
 Alekseyeff communicated with Goldwater regarding Elizarov’s forbearance.
                            Elizarov Sells the Subject Property
        47.   At some point following the default, Elizarov decided to sell the Subject
 Property, and Elizarov communicated that intent to Goldwater in March 2021.
        48.   On March 3, 2021, the escrow company for the pending sale, Escrow of the
 West, Inc., made contact with Goldwater regarding the payoff of Goldwater’s lien on the
 Subject Property in connection with a pending sale of the Subject Property.
        49.   During the course of the escrow relationship and prior to the closing of the
 sale, Escrow of the West, Inc., as escrow agent for Elizarov as seller and Howlett as buyer
 of the Subject Property, learned that Goldwater’s Deed of Trust was had never been
 recorded in the Riverside County Register of Deed’s office.
        50.   On or around March 24, 2021, Goldwater provided Escrow of the West with
 its payoff calculations, which noted a complete payoff amount of $729,354.80 and daily
 interest of $101.46. A true and accurate copy of the Payoff Calculations is attached hereto
 as Exhibit D.
        51.   On March 25, 2021, Escrow of the West provided Goldwater with an
 estimated settlement statement showing that the proceeds of the sale would pay off a
 $491,000.00 lien to Unison, a mechanic’s lien in the amount of $107,270.00, various
 closing costs, and a final payout of $677,074.53 in proceeds to Elizarov.
        52.   Goldwater thereafter communicated with Elizarov on March 25, 2021 by
 email and by phone regarding the disbursement of the proceeds of the pending sale, which




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 would have been insufficient to pay off the Goldwater Loan, the Unison Lien, and the
 mechanic’s lien in full.
        53.   In the communications on March 25, 2021, Elizarov represented that,
 despite Goldwater’s Deed of Trust being unrecorded, Goldwater would recieve $675,000
 of the proceeds following the sale of the Subject Property, which would have paid off a
 substantial majority of the Goldwater Loan.
        54.   Elizarov sold the Subject Property to Scott Howlett on or around March 25,
 2021, by a Grant Deed that was recorded on or around March 29, 2021. A true and
 accurate copy of the Grant Deed is attached and incorporated herein as Exhibit E.
        55.   Elizarov never informed Goldwater that the sale occurred and continued
 communicating with Goldwater after March 25, 2021 regarding what amount of the
 proceeds Goldwater would receive.
        56.   On or around March 29, 2021, Goldwater asked Elizarov about the status of
 the closing, and Elizarov denied that the sale occurred.
        57.   To date, Goldwater has received none of the proceeds from the sale of the
 Subject Property.
        58.   Elizarov made these representations about the insufficiency of the proceeds
 to pay off the Goldwater Loan in full and the promise that Goldwater would nevertheless
 receive a $675,000 payout with the intent that Goldwater would rely on the
 misrepresentations and not interfere with the sale.
        59.   Goldwater did in fact rely on Elizarov’s representations.
        60.   Elizarov’s statement that the Subject Property was subject to a $107,270.00
 mechanic’s lien was a misrepresentation of material fact. The Seller’s Final Settlement
 Statement from Escrow of the West indicates that Unison was the only lienholder paid
 with the proceeds of the sale. A true and accurate copy of the Seller’s Final Settlement
 Statement is attached hereto as Exhibit F.
        61.   Elizarov’s representations that the sale of the Subject Property would yield
 insufficient funds to pay off the Goldwater Loan was a misrepresentation of material fact.




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 Elizarov in fact received $785,741.36 in proceeds from the sale, Ex. F, which is in excess
 of Goldwater’s payoff demand of $729,354.80.
        62.   Following the sale of the property, Goldwater also discovered a flyer
 advertising the Subject Property for sale identifies Artur Elizarov and his firm
 DreamHome Realty Group, Inc. as the realtor to be contacted about the property. A true
 and accurate copy of this flyer is attached hereto as Exhibit G.
        63.   Because of Elizarov’s status as a licensed real estate broker in the State of
 California and his role in marketing the Subject Property for sale, Elizarov cannot deny
 that he was aware of the validity of the Deed of Trust and Goldwater’s right to the
 proceeds of the sale of the Subject Property.
        64.   Goldwater’s status as a secured creditor with regard to Elizarov is now at
 risk, and Goldwater faces a significant likelihood that it will effectively become an
 unsecured creditor of Elizarov.
        65.   If Goldwater is an unsecured creditor of Elizarov, there is a high risk that
 Goldwater will not be made whole, as the evidence of Elizarov’s insolvency is well
 documented.
        66.   At the time of the sale of the Subject Property, Elizarov was already almost
 a year behind in his payments on the Goldwater Loan, which is significant in light of the
 fact that he owned the Subject Property for less than two years.
        67.   Additionally, on December 18, 2019, Elizarov was discharged from an IRS
 tax lien in the amount of $107,787.69.
        68.   Elizarov’s recent history of carrying significant debts suggests that the
 proceeds of the sale of the Subject Property will be wasted and disposed of prior to the
 entry of a final judgment in this matter.
        69.   On April 1, 2021, Goldwater demanded that Elizarov return the promised
 funds and advised that it intended to pursue its full legal remedies if the funds were not
 returned.




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                          The Validity of Goldwater’s Deed of Trust
         70.   Goldwater’s unrecorded Deed of Trust is valid between Goldwater,
  Elizarov, and any other party with notice of the Deed of Trust. Cal. Civ. Code § 1217.
         71.   Upon information and belief, Unison had actual knowledge of Goldwater’s
  Deed of Trust as evidenced by the Subordination Agreement.
         72.   Howlett and Bank of the West had, at minimum, constructive knowledge or
  inquiry notice of the Goldwater Lien by virtue of the duly-recorded Subordination
  Agreement.
         73.   Howlett and Bank of the West also had imputed knowledge of the Goldwater
  Lien because Escrow of the West obtained knowledge of Goldwater’s adverse interest
  while acting within the course and scope of its authority as an agent of Elizarov, Howlett,
  and Bank of the West.
         74.   On March 29, 2021, a deed of trust was recorded in the Riverside County
  Recorder’s office describing a lien given by Howlett to Bank of the West secured by the
  Subject Property.
          Elizarov’s Dissipation of the Proceeds of the Sale of the Subject Property
         75.   Following the sale of the Subject Proceeds, Elizarov received $785,741.36,
  which was wired to an account with Ally Bank ending in account number -8480 (the
  “Proceeds Account”) on or around March 30, 2021.
         76.   On April 6, 2021, one week after receiving the proceeds, Elizarov entered
  into a contract for the purchase of real property for $630,000 in cash in Wilton Manors,
  Florida (the “Wilton Manors Property”).
         77.   Elizarov paid approximately $19,000 in cash out of the Proceeds Account
  as a down payment for the Wilton Manors Property on April 7, 2021.
         78.   Elizarov closed on the purchase of the Wilton Manors Property on April
  16, 2021 and paid the remaining $613,000.00 out of the Proceeds Account to complete
  the sale.




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         79.   On April 20, 2021, allegedly within hours of being restrained from further
  transferring assets from the Proceeds Account Elizarov transferred $84,843.22 from the
  Proceeds Account to pay off a loan that belonged to Alekseyeff.
         80.   At the time that Elizarov transferred the $84,843.22, he was aware of
  Goldwater’s claims and the pending request for an order to prohibit the transfer of those
  assets.
         81.   On May 12, 2021, Goldwater sent a Notice of Acceleration to Elizarov
  informing him that Goldwater was accelerating the Note and demanding payment in full
  within thirty (30) days. As of this date, Goldwater has not received payment in full. A
  true and accurate copy of the Notice of Acceleration is attached hereto as Exhibit H.
         82.   As a result of Elizarov’s conduct, Goldwater Bank has been damaged in an
  amount in excess of $75,000, exclusive of interest and costs.
                                 FIRST CAUSE OF ACTION
                              (Breach of Contract, as to Elizarov)
         83.   Goldwater incorporates by reference the allegations contained in the
  preceding paragraphs as if fully set forth herein.
         84.   Goldwater had an agreement with Elizarov to make the Goldwater Loan in
  exchange for his obligations in the Note and the Deed of Trust.
         85.   The Note and Deed of Trust is a valid and binding contract between the
  parties.
         86.   Pursuant to the Note and Deed of Trust, Goldwater is entitled to the proceeds
  from a sale of the Subject Property.
         87.   Elizarov breached the Note and Deed of Trust by failing to make all
  payments when due, including by failing to provide Goldwater with the proceeds of the
  sale of Subject Property.
         88.   Rather than pay the proceeds from the sale of the Subject Property to
  Goldwater, Elizarov has wrongfully retained those proceeds in an amount of
  approximately $675,000.




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           89.   Elizarov agreed in the Note that in the event of a default and acceleration of
  the Goldwater Loan, Goldwater would be entitled to recover its costs and expenses
  incurred in enforcing the Note, including its reasonable attorney’s fees. (Ex. A, Note, §
  7(E)).
           90.   As a direct and proximate result of Elizarov’s breach, Goldwater has been
  directly and proximately damaged in an amount to be determined at trial.
           91.   As a direct and proximate result of the foregoing acts and conduct,
  Goldwater has sustained and will continue to sustain substantial, immediate, and
  irreparable injury, for which there is no adequate remedy at law. Unless enjoined and
  restrained by this Court, Defendants will continue to infringe on Plaintiff
           92.   Goldwater additionally seeks the entry of an order declaring that Elizarov
  holds, in constructive trust as trustee for the benefit of Goldwater, such amounts as were
  transferred to him personally in connection with the sale of the Subject Property, as well
  as an order directing Elizarov to disgorge and transfer any and all such amounts to
  Goldwater.
                               SECOND CAUSE OF ACTION
                                     (Unjust Enrichment)
           93.   Goldwater incorporates by reference the allegations contained in the
  preceding paragraphs as if fully set forth herein.
           94.   By engaging in the acts described above, Elizarov has and continues to
  benefit from his wrongdoing and has been unjustly enriched by reaping the benefits of
  his unlawful activities to the damage and irreparable harm of Goldwater.
           95.   As a direct and proximate result of Elizarov’s misconduct, Goldwater has
  been damaged in an amount to be proven at trial, but in excess of $675,000.
                                THIRD CAUSE OF ACTION
                                    (Fraud, as to Elizarov)
           96.   Goldwater incorporates by reference the allegations contained in the
  preceding paragraphs as if fully set forth herein.




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        97.    By providing incorrect information and omitting information on the
  Mortgage Application and the Assistance Application, Elizarov made false
  representations of material facts on both the Mortgage Application and the Assistance
  regarding his financial status.
        98.    Elizarov made other false representations as described above, including the
  misrepresentations that the sale of the Subject Property would result in insufficient
  proceeds to pay off the Goldwater Loan in full and that Goldwater would nevertheless
  receive a payout of $675,000.00.
        99.    Elizarov’s misrepresentations were reasonably calculated to deceive
  Goldwater.
        100. Elizarov’s misrepresentations were made with the intent to deceive
  Goldwater and with the intent that Goldwater would rely on the misrepresentations and
  enter into the Goldwater Loan.
        101. Elizarov’s misrepresentations were made with the intent to deceive
  Goldwater and with the intent that Goldwater would rely on the misrepresentations and
  approve Elizarov’s request for mortgage assistance.
        102. Elizarov’s misrepresentations were made with the intent to deceive
  Goldwater and with the intent that Goldwater would rely on the misrepresentations and
  not interfere with the sale of the Subject Property or rush to record its Deed of Trust.
        103. Elizarov’s misrepresentations did in fact deceive Goldwater.
        104. Goldwater’s reliance on Elizarov’s representations was reasonable.
        105. Elizarov’s actions proximately caused Goldwater damages exceeding
  $75,000 exclusive of interest and costs.
                              FOURTH CAUSE OF ACTION
                   (Fraudulent Transfer as to Elizarov and Alekseyeff)
        106. Goldwater incorporates by reference the allegations contained in the
  preceding paragraphs as if fully set forth herein.




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        107. On April 20, 2021, Elizarov transferred $84,843.22 from the Proceeds
  Account to a third-party creditor to pay off a loan on Alekseyeff’s behalf.
        108. At the time Elizarov made the transfer, Elizarov acted with actual intent to
  hinder, delay, or defraud Goldwater, and his intent is reflected by, among other things,
  the fact that the transfer was made after Goldwater had already instituted litigation against
  Elizarov, Elizarov concealed assets, and Elizarov had previously made representations of
  insolvency to Goldwater.
        109. As such, the transfer of the $84,843.22 for Alekseyeff was fraudulent
  pursuant to California Civil Code § 3439.04 and Goldwater is entitled to void the transfer
  and pursue all other remedies set forth in §3439.07.
                               FIFTH CAUSE OF ACTION
                        (Conspiracy as to Elizarov and Alekseyeff)
        110. Goldwater incorporates by reference the allegations contained in the
  preceding paragraphs as if fully set forth herein.
        111. Elizarov and Alekseyeff entered into an agreement with each other to
  defraud Goldwater, to dissipate the proceeds of the sale of the Subject Property, and to
  otherwise make misrepresentations to Goldwater so as to induce it to make the Goldwater
  Loan and subsequently approve Elizarov for mortgage assistance.
        112. Elizarov and Alekseyeff took overt actions in furtherance of the conspiracy,
  including by misrepresenting Elizarov’s marital status and financial position, by
  instructing Escrow of the West not to communicate with Goldwater, by purchasing the
  Wilton Manors Property in an all-cash deal shortly after receiving the proceeds and while
  on notice of Goldwater’s claims, and by taking further steps to dissipate the proceeds of
  the sale of the Subject Property.
        113. Elizarov and Alekseyeff’s actions proximately caused Goldwater damages
  exceeding $75,000, exclusive of interest and costs.
                               SIXTH CAUSE OF ACTION
                             (Injunctive Relief, as to Elizarov)




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        114. Goldwater incorporates by reference the allegations contained in the
  preceding paragraphs as if fully set forth herein.
        115. As of the date of filing of this Complaint, Goldwater faces significant
  exposure with regard to the Goldwater Loan, as Elizarov has sold the Subject Property
  and wrongfully retained the proceeds of the sale in an amount in excess of $675,000.
        116. Goldwater’s status as a secured creditor of Elizarov has been threatened, and
  the likelihood of Goldwater being able to recover in full as an unsecured creditor is low.
        117. Goldwater justifiably fears that it will sustain significant losses and
  irreparable harm as a result of Elizarov’s misappropriation of the proceeds of the sale of
  the Subject Property.
        118. Unless Elizarov’s assets, including the proceeds of the sale of the Subject
  Property, are marshalled, accounted for, and preserved, Goldwater’s security interest in
  the Goldwater Loan will not be adequately secured with respect to Elizarov.
        119. Goldwater is without a plain, speedy, or adequate remedy at law which
  would serve to immediately exonerate, indemnify, and save it harmless for its actual and
  anticipated losses, and Goldwater would be irreparably and permanently injured unless
  this Court grants immediate injunctive and equitable relief.
                             SEVENTH CAUSE OF ACTION
                 (Quiet Title, as to Unison, Howlett, and Bank of the West)
        120. Goldwater incorporates by reference the allegations contained in the
  preceding paragraphs as if fully set forth herein.
        121. Goldwater held and now holds a first-priority security interest in the Subject
  Property pursuant to the July 31, 2019 Note and Deed of Trust between Goldwater and
  Elizarov.
        122. Goldwater seeks to quiet title against the claims of any and all defendants
  who claim to have an interest in the Subject Property, which has the following legal
  description:




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        the real property in the City of Palm Springs, County of Riverside, State of
        California described as: Lot 8 of Block 7, Palm Canyon Mesa Tract as per
        map recorded in Book 12, Pages 52 to 56 both inclusive of Maps, in the office
        of the County of said county. Also Known as: 291 W. Overlook Road, Palm
        Springs, CA 92264
        123. Elizarov granted Goldwater a lien in the Subject Property through
  Goldwater’s Deed of Trust.
        124. At the sale of the Subject Property, the Goldwater Lien was not paid off, and
  Goldwater’s security interest has not been extinguished because all other parties who
  have claimed an interest in the Subject Property, including Unison, Howlett, and Bank of
  the West, had notice of Goldwater’s Deed of Trust.
        125. Union had actual knowledge of Goldwater’s Deed of Trust and agreed to
  subordinate its lien to Goldwater’s.
        126. Howlett had constructive knowledge or was on inquiry notice of the
  Goldwater Deed of Trust by virtue of the duly-recorded Subordination Agreement and
  the knowledge obtained by Escrow of the West during the course of their role as agent
  for Elizarov, Howlett, and Bank of the West.
        127. Bank of the West had constructive knowledge or was on inquiry notice of
  the Goldwater Deed of Trust by virtue of the duly-recorded Subordination Agreement
  and by Howlett’s knowledge.
        128. Goldwater seeks a determination that, as of March 29, 2021, Goldwater held
  a first-priority security interest in the Subject Property, that Howlett took the Subject
  Property subject to the Goldwater Lien, and that Bank of the West’s security interest in
  the Subject Property is subordinate to the Goldwater Lien.
        129. The claims of Unison, Howlett, and Bank of the West, each of them adverse
  to Goldwater’s interest, are without any right whatever and such defendants’ rights are
  all subject to Goldwater’s superior security interest.




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        130. For the reasons stated above, Goldwater requests an Order from this Court
  pursuant to Cal. Code of Civil Procedure § 760.020 et seq., quieting title in the Subject
  Property and declaring that Goldwater holds a first-priority security interest in the Subject
  Property.
                              EIGHTH CAUSE OF ACTION
         (Declaratory Judgment, as to Unison, Howlett, and Bank of the West)
        131. Goldwater incorporates by reference the allegations contained in the
  preceding paragraphs as if fully set forth herein.
        132. There exists an actual, definite, and concrete controversy between
  Goldwater, Unison, Howlett, and Bank of the West related to the priority of Goldwater’s
  security interest relative to those defendant’s interests in the Subject Property.
        133. Goldwater contends that it has a first-priority lien on the Subject Property
  based upon all Defendant’s notice of Goldwater’s unrecorded Deed of Trust, and
  Goldwater is informed and believes that Defendants Unison, Howlett, and Bank of the
  West dispute these contentions.
        134. A judicial determination is necessary and appropriate at this time in order
  that the parties may ascertain their rights and duties with respect to the Subject Property.
                                  PRAYER FOR RELIEF
        WHEREFORE, Goldwater requests the Court order relief, as follows:
        1.     Preliminary and permanent injunctive relief (i) enjoining Elizarov from
   alienating or disposing of the proceeds of the sale of the Subject Property and (ii)
   requiring Elizarov to make an accounting of his assets following the sale of the Subject
   Property;
        2.     Actual, compensatory, consequential, punitive, and exemplary damages in
   an amount to be determined at trial for all losses and damages suffered as a result of the
   acts and transactions complained of herein;
        3.     A constructive trust for the benefit of Goldwater over the proceeds received
   by Elizarov in connection with the sale of the Subject Property;




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        4.     All costs and expenses incurred by Goldwater Bank in enforcing its rights
   under the Note and Deed of Trust;
        5.     An order quieting title and declaring that Goldwater holds a first-priority
   security interest in the Subject Property.
        6.     Declaratory relief stating that Goldwater holds a first-priority security
   interest in the Subject Property.

  Dated:       May 27, 2021
                                          IVIE McNEILL WYATT
                                         PURCELL & DIGGS

                                         /s/ Marie Maurice
                                         W. Keith Wyatt, Esq.
                                         Marie Maurice, Esq.

                                                 AND

                                         WAGNER HICKS PLLC

                                          /s/ Derek M. Bast
                                         Sean C. Wagner, Esq.
                                         Derek M. Bast, Esq.
                                         ATTORNEYS FOR PLAINTIFF GOLDWATER BANK N.A.




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                              CERTIFICATE OF SERVICE


  I certify that all counsel of record who has consented to electronic notification is being
  served on May 27, 2021 with a copy of PLAINTIFF’S AMENDED COMPLAINT via
  the Court’s CM/ECF system. Pursuant to Local Rule 5-3.1.2, I further certify that I mailed
  the foregoing document and the notice of electronic filing by first-class mail to all non-
  CM/ECF participants listed below:

        Unison Agreement Corp.
        First Corporate Solutions, Inc., Registered Agent
        650 California Street, Suite 1800
        San Francisco, CA 94108

                                                      /s/ Derek M. Bast
                                                      Derek M. Bast




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 8721 Santa Monica Blvd #119
 West Hollywood, CA 90069
 Tel: (213)537-4592

 Attorney for ARTUR ELIZAROV

                      IN THE UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

     GOLDWATER BANK, NATIONAL                   5:21-CV-00616-JWH-SP
     ASSOCIATION,
                                                ANSWER, AFFIRMATIVE
                                     Plaintiff, DEFENSES, AND DEMAND FOR
                                                JURY TRIAL
     vs.

     ARTUR ELIZAROV, ET AL.,

                                  Defendants.



           Defendant ARTUR ELIZAROV (ELIZAROV) answers the allegations in
 amended verified complaint filed by plaintiff GOLDWATER (GOLDWATER) as
 follows1:



 1
           Although the plaintiff filed a verified complaint, Artur Elizarov files an
 unverified answer because, unlike California Code of Civil Procedure rule 446, no
 rule or federal statute requires an answer to a complaint alleging causes of action
 for breach of contract, unjust enrichment, fraud, fraudulent transfer, and civil
 conspiracy to be verified just because the complaint was verified. (Fed. R. Civ. P.
 11(a).)



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        1.    In responding to the allegations in paragraph 1, ELIZAROV admits
 that GOLDWATER has its principal place of business in Phoenix, Arizona and
 denies all other allegations in paragraph 1 not specifically admitted.
        2.    ELIZAROV admits the allegations in paragraphs 2 and 3.
        3.    In responding to the allegations in paragraph 4, ELIZAROV admits
 that defendant Scott Howlett is an individual but lacks information and belief to
 admit or deny the rest of the allegations in that paragraph and, therefore, denies
 those allegations.
        4.    ELIZAROV admits the allegations in paragraphs 5 through 10.
        5.    ELIZAROV does not need to admit or deny the statement in
 paragraph 11 because that paragraph did not allege any facts.
        6.    ELIZAROV admits the allegations in paragraphs 12 through 16.
        7.    ELIZAROV denies the allegations in paragraph 17.
        8.    In responding to the allegations in paragraph 18, ELIZAROV admits
 that ELIZAROV purchased the Subject Property for $915,000 using, in part, the
 proceeds of both the Goldwater Loan and funds from Unison and denies all other
 allegations in paragraph 18 not specifically admitted.
        9.    ELIZAROV admits the allegations in paragraphs 19 and 20.
        10.   In responding to the allegations in paragraph 21, ELIZAROV admits
 that the Subordination Agreement identified a superior lien by loan number, the
 date of the note, and the principal amount of $686,250.00 and denies all other
 allegations in paragraph 21 not specifically admitted.
        11.   ELIZAROV admits the allegations in paragraph 23.
        12.   ELIZAROV denied the allegations in paragraph 24.
        13.   ELIZAROV admits the allegations in paragraph 25.
        14.   ELIZAROV denies the allegations in paragraph 26.
        15.   ELIZAROV admits the allegations in paragraphs 27 and 28.
        16.   In responding to the allegation in paragraph 29, ELIZAROV admits




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 that ELIZAROV was a named plaintigg in litigation in the Superior Court of
 California, Los Angeles County, entitled Artur Elizarov v. BMW Financial
 Services NA, LLC (19STCV08507) and that Alekseyeff represented ELIZAROV in
 that action and denies all other allegations in paragraph 29 not specifically
 admitted.
           17.   ELIZAROV admits the allegations in paragraph 30.
           18.   In responding to the allegations in paragraph 31, ELIZAROV admits
 that ELIZAROV was subject to a federal tax lien of $107,787.69 and denies all
 other allegations in paragraph 31 not specifically admitted.
           19.   ELIZAROV denies the allegations in paragraph 32 through 35.
           20.   In responding to the allegations in paragraph 36, ELIZAROV admits
 that ELIZAROV made payments that satisfied ELIZAROV’s ordinary payment
 obligations through April 1, 2020 and denies all other allegations in paragraph 36
 not specifically admitted.
           21.   ELIZAROV lacks information or belief sufficient to admit or deny the
 allegation in paragraph 37 and, therefore, denies those allegations.
           22.   ELIZAROV admits the allegations in paragraphs 38 through 40.
           23.   ELIZAROV denies the allegations in paragraphs 41 through 43.
           24.   ELIZAROV denies the allegations in paragraph 44 on information
 and belief.
           25.   ELIZAROV denies the allegation in paragraph 45.
           26.   ELIZAROV does not need to admit or deny the allegations in
 paragraph 46 because that paragraph did not assert any allegations against
 ELIZAROV. (Fed. R. Civ. P. 8(b)(1)(B).) However, to the extent that an answer
 is required, ELIZAROV denies the allegations in paragraph 46 on information and
 belief.
           27.   In responding to the allegations in paragraph 47, ELIZAROV admits
 that ELIZAROV decided to sell the Subject Property and denies all other




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 allegations in paragraph 47 not specifically admitted.
        28.    ELIZAROV admits the allegations in paragraphs 48 and 49 on
 information and belief.
        29.    ELIZAROV lacks information or belief to admit or deny the
 allegations in paragraphs 50 and 51 and, therefore, denies those allegations.
        30.    In responding to the allegations in paragraph 52, ELIZAROV admits
 that GOLDWATER communicated with ELIZAROV by email and telephone on
 March 25, 2021, regarding the disbursement of the proceeds of the pending sale
 and denies all other allegations in paragraph 52 not specifically admitted.
        31.    ELIZAROV denies the allegations in paragraph 53.
        32.    In responding to the allegations in paragraph 54, ELIZAROV admits
 that the Grant Deed was recorded on or around March 29, 2021, and that Exhibit F
 is a true and accurate copy of the Grant Deed and denies all other allegations in
 paragraph 54 not specifically admitted.
        33.    ELIZAROV denies the allegations in paragraphs 55 and 56.
        34.    ELIZAROV admits the allegations in paragraph 57.
        35.    ELIZAROV denies the allegations in paragraph 58.
        36.    ELIZAROV denies the allegations in paragraph 59 on information
 and belief.
        37.    ELIZAROV denies the allegations in paragraphs 60 and 61.
        38.    In responding to the allegations in paragraph 62, ELIZAROV admits
 that Exhibit G is a true and correct copy of an advertisement flier and denies all
 other allegations in paragraph 62 not specifically admitted.
        39.    ELIZAROV denies the allegations in paragraphs 63 through 66.
        40.    ELIZAROV admits the allegations in paragraph 67.
        41.    ELIZAROV does not have to admit or deny the allegations in
 paragraph 68 because those allegations relate to the dismissed claim for injunctive
 relief. However, to the extent that an answer is required, ELIZAROV denies the




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 allegations in paragraph 68.
        42.   In responding to the allegations in paragraph 69, ELIZAROV admits
 that on April 1, 2021, Goldwater demanded that ELIZAROV return the funds from
 the sale of Subject Property and denies all other allegations in paragraph 69 not
 specifically admitted.
        43.   ELIZAROV does not have to admit or deny the allegations in
 paragraph 70 to 74 because those paragraphs did not assert any allegations against
 ELIZAROV. (Fed. R. Civ. P. 8(b)(1)(B).) However, to the extent that an answer
 is required, ELIZAROV denies the allegations in paragraphs 70 to 74 on
 information and belief.
        44.   ELIZAROV admits the allegations in paragraphs 75 through 78.
        45.   ELIZAROV denies the allegations in paragraphs 79 and 80.
        46.   ELIZAROV admits the allegations in paragraph 81 on information
 and belief, except for the allegation that GOLDWATER had not received payment
 in full, which ELIZAROV admits.
        47.   ELIZAROV denies the allegations in paragraph 82.
        48.   In responding to the allegations in paragraph 83, ELIZAROV
 incorporates by reference his responses to the allegations contained in the
 preceding paragraphs of the amended verified complaint.
        49.   ELIZAROV denies the allegations in paragraph 84.
        50.   ELIZAROV admits the allegations in paragraph 85.
        51.   ELIZAROV denies the allegations in paragraphs 86 through 88.
        52.   ELIZAROV denies the allegations in paragraph 89.
        53.   ELIZAROV denies the allegations in paragraph 90.
        54.   ELIZAROV does not need to admit or deny the allegations in
 paragraphs 91 and 92 because those allegations relate to a dismissed claim for
 injunctive relief. However, to the extent that an answer is required, ELIZAROV
 denies the allegations in paragraphs 91 and 92.




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        55.   In responding to the allegations in paragraph 93, ELIZAROV
 incorporates by reference his responses to the allegations contained in the
 preceding paragraphs of the amended verified complaint.
        56.   ELIZAROV denies the allegations in paragraphs 94 and 95.
        57.   In responding to the allegations in paragraph 96, ELIZAROV
 incorporates by reference his responses to the allegations contained in the
 preceding paragraphs of the amended verified complaint.
        58.   ELIZAROV denies the allegations in paragraph 97 through 102.
        59.   ELIZAROV denies the allegations in paragraph 103 and 104 on
 information and belief.
        60.   ELIZAROV denies the allegations in paragraph 105.
        61.   In responding to the allegations in paragraph 106, ELIZAROV
 incorporates by reference his responses to the allegations contained in the
 preceding paragraphs of the amended verified complaint.
        62.   ELIZAROV denies the allegations in paragraphs 107 through 109.
        63.   In responding to the allegations in paragraph 110, ELIZAROV
 incorporates by reference his responses to the allegations contained in the
 preceding paragraphs of the amended verified complaint.
        64.   ELIZAROV denies the allegations in paragraphs 111 through 113.
        65.   In responding to the allegations in paragraph 114, ELIZAROV
 incorporates by reference his responses to the allegations contained in the
 preceding paragraphs of the amended verified complaint.
        66.   ELIZAROV does not need to admit or deny the allegations in
 paragraphs 115 through 119 because those allegations relate to a dismissed claim
 for injunctive relief. However, to the extent that a response is required,
 ELIZAROV denies the allegations in paragraphs 115 through 119.
        67.   In responding to the allegations in paragraph 120, ELIZAROV
 incorporates by reference his responses to the allegations contained in the




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 preceding paragraphs of the amended verified complaint.
        68.   ELIZAROV does not have to admit or deny the allegations in
 paragraphs 121 through 130 because those paragraphs did not assert any
 allegations against ELIZAROV. (Fed. R. Civ. P. 8(b)(1)(B).) However, to the
 extent that a response is required, ELIZAROV denies the allegations in paragraphs
 121 through 130 on information and belief.
        69.   In responding to the allegations in paragraph 131, ELIZAROV
 incorporates by reference his responses to the allegations contained in the
 preceding paragraphs of the amended verified complaint.
        70.   ELIZAROV does not have to admit or deny the allegations in
 paragraphs 132 through 134 because those paragraphs did not assert any
 allegations against ELIZAROV. (Fed. R. Civ. P. 8(b)(1)(B).) However, to the
 extent that a response is required, ELIZAROV denies the allegations in paragraphs
 132 through 134 on information and belief.


                           AFFIRMATIVE DEFENSES


  FIRST AFFIRMATIVE DEFENSES TO THE FIRST CAUSE OF ACTION
                                     (WAIVER)
        71.   GOLDWATER, failed to give ELIZAROV a 30-days’ notice of
 acceleration as required by Paragraph 18 of The Deed of Trust. GOLDWATER,
 instead gave notice to ELIZAROV 42 days after ELIZAROV sold the Subject
 Property to defendant Scott Howlett and 22 days after ELIZAROV used the
 proceeds from the sale to purchase a property in Florida for $630,000.00. Since
 GOLDWATER knew, at the time Goldwater Bank mailed the notice of
 acceleration to ELIZAROV on May 12, 2021, that ELIZAROV had used the
 proceeds to acquire another property and no longer had the funds available,
 Goldwater Bank waived its contractual right to accelerate the repayment of the




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 Goldwater Loan principal by Goldwater Bank’s failure to give the timely notice.


  SECOND AFFIRMATIVE DEFENSE TO THE FIRST CAUSE OF ACTION
                                (UNCLEAN HANDS)
        72.   ELIZAROV is informed and believes that GOLDWATER, as matter
 of its general business practice, has consistently and repeatedly violated its
 obligation to give notice of acceleration to its borrowers and instead extorted a
 payment from its borrowers, at the time the borrowers sold the property secured by
 Goldwater Bank’s mortgage lien, by threatening not to release the lien unless the
 borrower paid Goldwater Bank the outstanding loan principal. In this case,
 Goldwater Bank had intended to employ the same general practice, except that
 Goldwater Bank could not extort the unlawful payment from ELIZAROV because
 Goldwater Bank had never recorded its lien and, therefore, could not have extorted
 a payment from ELIZAROV. Goldwater Bank instead filed a lawsuit seeking to
 recover a balance of the loan that Goldwater Bank was not entitled to. Therefore,
 Goldwater Bank did not come to this court with clean hands and cannot recover
 from ELIZAROV for breach of contract.


   THIRD AFFIRMATIVE DEFENSE TO THE FIRST CAUSE OF ACTION
                                    (PRIVILEGE)
        73.   ELIZAROV’s offer to pay GOLDWATER $675,000.00 and any
 statements that ELIZAROV made to GOLDWATER at the time the parties
 discussed this payment are privileged under California Evidence Code section
 1152, subdivision (a).


       FOURTH AFFIRMATIVE DEFENSE TO THE FIFTH CAUSE OF
                                       ACTION
                                    (PRIVILEGE)




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         74.   To the extent GOLDWATER seeks to prove its conspiracy allegations
 against ELIZAROV based on any communication that ELIZAROV had with
 defendant Ilya Alekseyeff after ELIZAROV submitted Loan Application and
 Assistance Application and after ELIZAROV sold Subject Property to defendant
 Scott Howlett, those communications are privileged under Evidence Code sections
 971 and 980.


       FIFTH AFFIRMATIVE DEFENSE TO THE FIRST, SECOND, THIRD,
                   FOURTH, AND FIFTH CAUSES OF ACTION
                         (FAILURE TO STATE A CLAIM)
         75.   The first, second, third, fourth, and fifth causes of action failed to state
 a claim upon which relief can be granted.


                   COUNSEL’S STATEMENT UNDER RULE 11
         All denials of the allegations in the amended verified complaint and all
 allegations in affirmative defenses, in counterclaim, and in crossclaim made on
 information and belief may presently lack evidentiary support but are likely to
 have evidentiary support after a reasonable opportunity for further investigation
 and discovery.


                            DEMAND FOR JURY TRIAL
         Defendant Artur Elizarov demands jury trial.


                                PRAYER FOR RELIEF
         Let plaintiff Goldwater Bank, NA, take nothing by its claim against
 defendant Artur Elizarov, and let defendant Artur Elizarov recover his costs of suit
 and attorney’s fees under California Civil Code section 7171.
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  Dated: 12/10/2021.                    Respectfully submitted,
                                        LOIA, Inc. (APLC)



                                        ILYA ALEKSEYEFF, ESQ.
                                        Attorney for ARTUR ELIZAROV




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Lender Letter (LL-2020-02)
                                                                                                            Updated: Dec. 9, 2020
                                                                                                                   Oct. 14, 2020
Please note this Lender Letter has been replaced by LL-2021-02                                                     Aug. 27, 2020
                                                                                                                    Jul. 15, 2020
                                                                                                                   Jun. 24, 2020
                                                                                                                   Jun. 10, 2020
To: All Fannie Mae Single-Family Servicers                                                                         May 14, 2020
Impact of COVID-19 on Servicing                                                                                    Apr. 29, 2020
                                                                                                                     Apr. 8, 2020
                                                                                                                   Mar. 25, 2020
                                                                                                                   Mar. 18, 2020


  We are actively monitoring reports about the spread of COVID-19 (coronavirus) in the United States and understand that
  there are concerns about its potential impact on borrowers. At the direction of the Federal Housing Finance Agency (FHFA)
  and in alignment with Freddie Mac, we are communicating temporary policies in this Lender Letter to enable servicers to
  better assist borrowers impacted by COVID-19. The policies in this Lender Letter are effective immediately and are effective
  until Fannie Mae provides further notice, unless otherwise stated.

  We are releasing information to our servicers as quickly as possible and will update and republish this Lender Letter as
  new guidance becomes available.
   Additions to Lender Letter on Dec. 9
       ▪     Mortgage Insurance Termination: Temporary policy change related to verifying an acceptable payment record for
             borrowers that experience a financial hardship related to COVID-19.
             We also extended suspension of foreclosure activities.
   Additions to Lender Letter on Jul. 15, updated Oct. 14
       ▪     Disbursing insurance loss proceeds: Clarifying servicer requirements related to disbursing insurance loss proceeds for
             borrowers impacted by COVID-19.
       ▪     Impact of COVID-19 on Fannie Mae Home Affordable Modification Program (HAMP) ”Pay for Performance”
             incentives: Clarifying when a borrower on a COVID-19 related forbearance plan maintains good standing.
             UPDATED Oct. 14 to clarify when a borrower impacted by COVID-19 remains eligible for any future HAMP “Pay
             for Performance” incentives.
   Additions to Lender Letter on Jun. 24
       ▪     Modifying seller/servicer financial liquidity requirements for mortgage loans in forbearance: Temporary policy
             change for calculating non-depository seller/servicer eligibility minimum liquidity requirement for mortgage
             loans in forbearance due to COVID-19.
   Additions to Lender Letter on Jun. 10
       ▪     Sending a payment reminder notice: Clarifying that the servicer is authorized to not send a payment reminder
             notice to the borrower during an active forbearance plan term.
   Additions to Lender Letter on May 1
       ▪     Reclassification of MBS mortgage loans: Updating our reclassification process for mortgage loans pooled
             under the Amended and Restated 2007 Single-Family Master Trust Agreement in response to the Coronavirus
             Aid, Relief, and Economic Security Act on Mar. 27, 2020 (“CARES Act”), when a borrower impacted by COVID-19
             is provided a forbearance plan.
   Additions to Lender Letter on Apr. 29
       ▪     Principal & interest advances on delinquent mortgage loans: In response to a recent news release from FHFA,
             we are informing servicers of our intent to limit servicer obligations to advance scheduled monthly principal

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       and interest payments for certain delinquent loans.
Additions to Lender Letter on Apr. 8
        Complying with law: In response to the recent enactment of the CARES Act, we are updating certain
        servicing requirements and reminding servicers of their responsibility to comply with law.
Additions to Lender Letter on Mar. 25, updated Apr. 8, May 14, Jul. 15
        Attempting to establish QRPC: Reminding servicers of acceptable methods in attempting to achieve quality
        right party contact (QRPC). UPDATED Apr. 8 in response to the CARES Act to clarify the servicers
        responsibilities related to achieving QRPC for a borrower impacted by COVID-19 for a forbearance plan.
        Reporting a reason for delinquency code: Providing a specific “reason for delinquency” code for use in reporting a
        delinquent mortgage loan associated with a borrower impacted by COVID-19 to Fannie Mae. UPDATED Jul. 15 to
        clarify reporting the “reason for delinquency” code when the borrower experiences concurrent hardships.
        Property inspections and preservation: Providing flexibility with regard to inspections and preservation in
        light of COVID-19 concerns. UPDATED May 14 to clarify when the servicer must not complete property
        inspections and preservation activities for a property securing a mortgage loan where the borrower is
        experiencing a hardship related to COVID-19.
        Submission of financial statements and reports: Extending the deadline for submission of financial
        statements and Form 582 to Apr. 30, 2020.
Lender Letter content published Mar. 18, updated Mar. 25, Apr. 8, May 14, Jun. 24, Aug. 27, Dec. 9

       Forbearance plan terms: Expanding eligibility for a forbearance plan for borrowers impacted by COVID-19.
       UPDATED Apr. 8 in response to the CARES Act to clarify the servicers responsibilities related to providing a
       forbearance plan to a borrower impacted by COVID-19.
       Evaluating the borrower for a payment deferral or mortgage loan modification after a forbearance plan:
       Clarifying the mortgage loan modifications that must be considered near the conclusion of a forbearance plan
       term. UPDATED Mar. 25 to require that a borrower be evaluated for payment deferral prior to these mortgage
       loan modifications. UPDATED Apr. 8 to eliminate the requirement that the servicer determine the occupancy
       status of the property when achieving QRPC and evaluating a borrower impacted by COVID-19 for a workout
       option prior to expiration of the forbearance plan. UPDATED May 14 to clarify the evaluation hierarchy with the
       introduction of COVID-19 payment deferral and to reflect the effective date of the National Emergency
       declaration related to COVID-19 in the eligibility criteria (rather than the declaration date of Mar. 13).

       Credit bureau reporting: Clarifying that servicers must suspend credit reporting when the hardship is related to
       COVID-19. UPDATED Apr. 8 to require that the servicer comply with the requirements of the Fair Credit
       Reporting Act (“FCRA”), as amended by the CARES Act for borrowers affected by the COVID-19 pandemic.
       Suspension of foreclosure activities and certain bankruptcy requirements: Instructing servicers to not allow any
       foreclosure sales within the next 60 days. UPDATED Apr. 8 to require that the servicer suspend foreclosure-
       related activities in accordance with the requirements of the CARES Act and suspend the requirement that
       servicers file motions for relief from the automatic stay in bankruptcy cases. UPDATED May 14 to extend the
       suspension of foreclosure-related activities and the requirement that servicers file motions for relief from the
       automatic stay in bankruptcy cases. UPDATED Jun. 24 to extend the suspension of foreclosure-related activities.
       UPDATED Aug. 27 to extend the suspension of foreclosure-related activities. UPDATED Dec. 9 to extend the
       suspension of foreclosure-related activities.
       Additional resources: Providing information about our Disaster Response Network as a reference for Fannie Mae
       borrowers and a listing of COVID-19 policy communications and resources.




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Mortgage Insurance Termination
When verifying an acceptable payment record for a borrower that has had a financial hardship related to COVID-19 in which the
servicer provided

     ▪      a COVID-19 related forbearance plan, repayment plan, or Trial Period Plan and the borrower complied with the terms of
            such plan;
     ▪      a payment deferral; or
     ▪      a COVID-19 payment deferral and the borrower made three consecutive monthly payments following completion of the
            payment deferral,

the servicer must not consider any payment that is 30 or more days past due in the last 12 months, or 60 or more days past due in the
last 24 months that is attributable to the COVID-19 financial hardship. The mortgage loan must be current when the termination is
requested, which means the mortgage loan payment for the month preceding the date of the termination request was paid.

         N O T E: These requirements apply when reviewing the borrower’s request for termination of conventional MI based on either
         original or current value of the property.


This policy change is effective for borrower-initiated requests for termination initiated through Fannie Mae’s servicing solutions
system on or after March 1, 2021. For assistance prior to that date, contact loss_mitigation@fanniemae.com.

Disbursing insurance loss proceeds UPDATED Oct. 14
In response to servicer inquiries and in an effort to repair properties that experience an insured loss event as expeditiously as
possible, we are updating our requirements for determining the mortgage loan status for disbursing insurance loss proceeds for a
borrower impacted by COVID-19. The servicer must consider the loan to be current or less than 31 days delinquent for purposes of
disbursing insurance loss proceeds if

    ▪      the borrower experienced a COVID-19 related hardship;

    ▪      the mortgage loan was current or less than two months delinquent as of Mar. 1, 2020, the effective date of the National
           Emergency declaration related to COVID-19; and

    ▪      at the time of the loss event, the borrower is performing on a COVID-19 related forbearance plan, repayment plan, or Trial
           Period Plan.

The servicer must otherwise disburse the proceeds in accordance with Servicing Guide B-5-01, Insured Loss Events.

The servicer must document in the mortgage loan servicing file the date that the COVID-related hardship began and the date of the
insured loss event.

Impact of COVID-19 on Fannie Mae Home Affordable Modification Program (HAMP) ”Pay
for Performance” incentives UPDATED Oct. 14
In LL-2020-07, COVID-19 Payment Deferral, we clarified that if the mortgage loan was previously modified pursuant to a HAMP
modification under which the borrower remains in “good standing,” then the borrower will not lose any “pay for performance”
incentives if the borrower was on a COVID-19 related forbearance plan or had a COVID-19 related hardship immediately preceding
the COVID-19 payment deferral. We are clarifying that, additionally, the borrower will not lose any future HAMP “pay for
performance” incentives if the borrower

    ▪      immediately reinstates the mortgage loan upon expiration of the COVID-19 related forbearance plan, or

    ▪      transitions directly from a COVID-19 related forbearance plan to a repayment plan.


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 Modifying seller/servicer financial liquidity requirements for mortgage loans in
 forbearance
 In response to the national emergency, we are announcing a temporary modification of the non-depository seller/servicer minimum
 liquidity requirement for seriously delinquent (SDQ) mortgage loans. We are implementing the changes indicated below beginning
 with the financial quarter ending Jun. 30, 2020.

 As stated in Selling Guide A4-1-01, Maintaining Seller/Servicer Eligibility, the minimum liquidity requirement is equal to 0.035% of the
 unpaid principal balance (UPB) of mortgage loans serviced by a non-depository seller/servicer for Fannie Mae, Freddie Mac, and
 Ginnie Mae if the Agency SDQ rate is 6% or less. If the Agency SDQ rate is above 6%, the seller/servicer must also maintain at least an
 SDQ add-on of 2% of the UPB of Agency SDQ rate over 6%.

 Under the existing seller/servicer eligibility requirements, the Agency SDQ Rate is defined as 100 multiplied by (the UPB of mortgage
 loans 90 days or more delinquent or in foreclosure for Fannie Mae, Freddie Mac, and Ginnie Mae/Total UPB of mortgage loans
 serviced for Fannie Mae, Freddie Mac, and Ginnie Mae). Beginning with the financial quarter ending Jun. 30, 2020, the Agency SDQ
 Rate will include an adjustment for mortgage loans in a COVID-19-related forbearance plan that are 90 days or more delinquent and
 were current at the inception of the COVID-19-related forbearance plan. The UPB of such mortgage loans shall be multiplied by .30
 and added to the UPB for SDQ mortgage loans for the purposes of determining the numerator in the calculation of the Agency SDQ
 Rate. Refer to the Appendix link for examples.

 When the COVID-19-related forbearance period ends for a mortgage loan, the mortgage loan’s status will become subject to, by the
 end of the quarter following the end of the COVID-19 related forbearance period, the minimum financial seller/servicer eligibility
 requirements in place at that time.

 To accommodate these changes, the Mortgage Bankers Financial Reporting Form (MBFRF Form 1002) will be modified by Jun. 30,
 2020 to capture forbearance activity.


 Sending a payment reminder notice
 Servicing Guide D2-2-03, Sending a Payment Reminder Notice requires the servicer to send a payment reminder notice to the
 borrower no later than the 17th day of delinquency if the payment has not been received.

 In response to servicer inquiries, we are clarifying that the servicer is authorized to not send a payment reminder notice to the
 borrower during an active forbearance plan term. This applies to active forbearance plans without regard to whether the borrower’s
 monthly payment is reduced or suspended during the forbearance plan term.


Reclassification of MBS mortgage loans
The Amended and Restated 2007 Single-Family Master Trust Agreement (the “2007 Trust Agreement”) applies to MBS mortgage loans
with pool issue dates on or after June 1, 2007 through December 1, 2008. As described in F-1-26, Reclassifying or Voluntary
Repurchasing an MBS Mortgage Loan and in accordance with the 2007 Trust Agreement, we remove such mortgage loans from the
MBS pool after the sixth consecutive month of continuing forbearance. Selection for reclassification is based on the servicer’s
monthly delinquency status reporting to Fannie Mae.

 In response to the CARES Act, we are updating our reclassification process for mortgage loans in these MBS pools when a borrower
impacted by COVID-19 is provided a forbearance plan. Such mortgage loans will not be removed from the MBS pool for the duration of
the forbearance plan under the CARES Act, in accordance with the 2007 Trust Agreement, which permits mortgage loans to remain in
trust longer than six consecutive months when the forbearance plan is required by applicable law.

 These changes will be effective beginning with the June 2020 monthly delinquency status reporting cycle and will apply when the
servicer reports delinquency status code 09 (Forbearance) and reason for delinquency code 022 (Energy-Environment Costs), as
reassigned pursuant to this Lender Letter for reporting a hardship associated with COVID-19.


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Principal & interest advances on delinquent mortgage loans
Servicing Guide A2-1-01, General Servicer Duties and Responsibilities requires the servicer of a scheduled/scheduled or
scheduled/actual remittance type mortgage loan to remit funds to us when scheduled to be remitted even when these funds are not
actually collected. The servicer is required to remit the scheduled funds until the mortgage loan becomes current, is removed from
our active accounting records, or is purchased from the MBS trust, as applicable.

In response to the national emergency, FHFA published a News Release on Apr. 21, 2020, FHFA Addresses Servicer Liquidity Concerns,
Announces Four Month Advance Obligation Limit for Loans in Forbearance, aligning policies between Fannie Mae and Freddie Mac to
limit servicer obligations to advance scheduled monthly payments to four months for scheduled/scheduled remittance type
mortgage loans. We are currently evaluating operational changes to discontinue servicer advances of scheduled remittances of
principal and interest payments for delinquent scheduled/scheduled remittance mortgage loans (delinquency advances) after the
four consecutive missed monthly payments for mortgage loans serviced under the special servicing option. These changes will
become effective for Aug. 2020 remittance activity (based on Jul. 2020 reporting activity). Additional guidance will be provided in the
coming weeks. For further details, refer to LL-2020-08, Changes to Servicer Principal and Interest Advance Requirements.


Complying with law
In response to the CARES Act, Fannie Mae is updating requirements relating to forbearance plans, achieving QRPC with a
borrower in regard to a forbearance plan, credit bureau reporting, and suspension of foreclosure activities and certain
bankruptcy requirements. Servicers are reminded that in accordance with Servicing Guide A2-1-08, Compliance with
Requirements and Laws, they must comply with applicable law even where a provision of the Servicing Guide may conflict
with applicable law.


Attempting to establish QRPC UPDATED Apr. 8, May 14, Jul. 15
As described in Servicing Guide D2-2-01, Achieving Quality Right Party Contact with a Borrower, QRPC is a uniform standard for
communicating with the borrower, co-borrower, or a trusted advisor (collectively referred to as “borrower”) about resolution of the
mortgage loan delinquency. We reaffirm the applicability of QRPC when working with a borrower impacted by COVID-19 to ensure
the servicer understands the borrower’s circumstances and determines the best possible workout option for resolving the borrower’s
delinquency. In the event that the servicer is unable to achieve full QRPC and offers a forbearance plan to a borrower impacted by
COVID-19 in compliance with the CARES Act, the servicer is considered to be in compliance with our Servicing Guide.
In response to servicer inquiries and in accordance with Servicing Guide A4-2.1-04, Establishing Contact with the Borrower, among
other requirements, the servicer is authorized to use various outreach methods to contact the borrower as permitted by applicable
law, including, but not limited to:
     ▪    mail,
     ▪    email,
     ▪    texting, and
     ▪    voice response unit technology.


Reporting a reason for delinquency code                       UPDATED Jul. 15

The servicer must report delinquency status information to Fannie Mae through Fannie Mae’s servicing solutions system in
accordance with Servicing Guide D2-4-01, Reporting a Delinquent Mortgage Loan to Fannie Mae and F-1-22, Reporting a
Delinquent Mortgage Loan via Fannie Mae’s Servicing Solutions System.

In an effort to enable us to identify mortgage loans where the borrower has experienced a hardship associated with COVID-19
while not resulting in a systems impact for us or you, the servicer must report reason for delinquency code 022, Energy-
Environment Costs, when reporting the delinquency status of such mortgage loans to us . If the borrower’s COVID-19 related
hardship remains unresolved and the borrower experiences another hardship concurrently (for example, a disaster event), the
servicer must continue to report reason for delinquency code 022, Energy- Environment Costs, regardless of the reason for
delinquency associated with the concurrent hardship.

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For mortgage loans where the servicer would have otherwise reported reason for delinquency code 022 due to Energy-
Environment Costs, the servicer must now use reason for delinquency code 007, Excessive Obligations.


Property inspections and preservation                           UPDATED May 14
As a result of the impact of COVID-19, we are temporarily providing flexibility with respect to the completion of property
inspections and preservation, including:
     ▪      inspections for properties securing a delinquent mortgage loan as described in Servicing Guide D2-2-10, Requirements for
            Performing Property Inspections;
     ▪      inspections related to hazard loss repairs as described in Servicing Guide B-5-01, Insured Loss Events; and
     ▪      property preservation activities as described in Servicing Guide E-3.2-12, Performing Property Preservation During
            Foreclosure Proceedings.

The following table describes when the servicer must not conduct property inspections and property preservation activities
for a property securing a mortgage loan where the borrower is experiencing a hardship related to COVID-19, depending on the
status of the mortgage loan at the time of the effective date of the National Emergency declaration related to COVID-19.

  If on March 1, 2020, the mortgage loan
                                                                Then the servicer must…
  was…
  current or less than 30 days delinquent and
                                                                not complete property inspections during the forbearance plan or an
  the borrower becomes delinquent
                                                                active post-forbearance plan workout option.
  delinquent and the property was not vacant
  or abandoned
                                                                follow the property inspection requirements in Inspecting a
                                                                Property Securing a Delinquent Mortgage Loan in Servicing Guide
  delinquent and the property was reported as                   D2-2-10, Requirements for Performing Property Inspections and
  vacant or abandoned                                           property preservation requirements in Servicing Guide E-3.2-
                                                                12, Performing Property Preservation During Foreclosure
                                                                Proceedings.

                For mortgage loans that are delinquent and not on a forbearance plan, servicers must continue to follow the inspection
         N O T E:
         requirements in in Inspecting a Property Securing a Delinquent Mortgage Loan in Servicing Guide D2-2-10, Requirements for
         Performing Property Inspections.

If the mortgage loan is not brought current upon expiration of the forbearance plan, or if the borrower is not approved for a post-
forbearance workout option as determined based on QRPC, the servicer must follow the property inspection requirements in
Inspecting a Property Securing a Delinquent Mortgage Loan in Servicing Guide D2-2-10, Requirements for Performing Property
Inspections.

If the servicer is unable to complete a property inspection or property preservation activity in accordance with the Servicing
Guide, it must document their efforts and the reason for any exception in the mortgage loan file.

          N O T E: The servicer’s inability to complete property inspections due to COVID-19 related impacts must not impact the
          servicer’s disbursement of insurance loss proceeds.

As a reminder, Servicing Guide D2-2-10, Requirements for Performing Property Inspections authorizes a curbside (drive-by)
inspection if there is potential danger to the inspector. Additionally, the Property Preservation Matrix and Reference Guide
authorizes servicers to utilize alternative data or other means available to determine occupancy status when inspection results are
unknown due to lack of access.

For additional questions, contact
     ▪      Property_Preservation@fanniemae.com regarding property inspections for delinquent mortgage loans


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     ▪    Hazard_Loss@fanniemae.com regarding hazard loss inspections


Submission of financial statements and reports
Per Selling Guide A4-2-01, sellers/servicers must submit financial statements and the Lender Record Information (Form 582) within
90 days after the end of their fiscal year. While we encourage submission of this information in a timely manner and by the Mar. 31,
2020 deadline (for those with a Dec. 31 fiscal-year end), we are extending the due date to Apr. 30, 2020.


Forbearance plan terms                 UPDATED Apr. 8, May 14, Jun. 24, Aug. 27

With the Mar. 18, 2020 Lender Letter, we communicated that servicers must achieve QRPC with the borrower prior to offering a
forbearance plan, that the property securing the mortgage loan may be either a principal residence, a second home, or an
investment property, and that the servicer must otherwise follow the requirements in Servicing Guide D2-3.2-01, Forbearance Plan.
In response to the CARES Act, the servicer must approve forbearance plans for borrowers impacted by COVID-19 in accordance with
the CARES Act.

The CARES Act states that a forbearance plan must be provided to any borrower who requests a forbearance with an attestation of
the financial hardship caused by the COVID-19 emergency; and no additional documentation other than the borrower’s attestation to
a financial hardship caused by the COVID-19 emergency is required. Such a borrower must be provided an initial forbearance plan
for a period up to 180 days, and that forbearance period may be extended for up to an additional 180 days at the request of the
borrower. In accordance with the Servicing Guide D2-3.2-01, Forbearance Plan, the servicer may provide an initial forbearance
period, and any extended forbearance period, in separate, shorter increments. If the borrower’s COVID-19 related hardship has not
been resolved during an incremental forbearance period, the servicer must extend the borrower’s forbearance period, not to exceed
12 months total. For a borrower impacted by COVID-19, we are temporarily eliminating the requirement that the servicer
must receive our prior written approval for a forbearance plan that would result in the mortgage loan becoming greater than 12
months delinquent.

As a reminder, servicers must inform the borrower that the payments which are the subject of a forbearance plan have only been
delayed or reduced, not forgiven, and that once the forbearance plan is complete, one of the following must occur:
     ▪    the mortgage loan must be brought current through a reinstatement,
     ▪    the borrower is approved for another workout option,
     ▪    the mortgage loan is paid in full, or
     ▪    the servicer refers the mortgage loan to foreclosure in accordance with applicable law.

The servicer must also inform the borrower that he or she may shorten a forbearance plan term at any time to reduce the amount of
payments which are being delayed or reduced.

As stated in the Servicing Guide D2-3.2-01, Forbearance Plan, the forbearance plan terms must be provided to the borrower using
the appropriate Evaluation Notice, which must be revised in accordance with applicable law. In addition, the servicer must
document in the individual mortgage loan file the borrower’s request for forbearance and attestation as to a financial hardship
caused by the COVID-19 emergency, and the terms of the initial and any extended forbearance, including the duration of the
forbearance period.


Evaluating the borrower for a payment deferral or mortgage loan modification after a
forbearance plan UPDATED May 14
For borrowers who have received a forbearance plan in response to COVID-19, the servicer must begin attempts to contact the
borrower no later than 30 days prior to the expiration of the forbearance plan term, and must continue outreach attempts until
either QRPC is achieved or the forbearance plan term has expired. When evaluating the borrower for a workout option prior to
expiration of the forbearance plan, we are providing flexibility with regard to achieving QRPC. We are eliminating the requirement
that the servicer determine the occupancy status of the property and will consider the servicer obtaining the following as


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achieving QRPC for purposes of evaluating a borrower who has experienced a hardship resulting from COVID-19:
     ▪    determining the reason for the delinquency and whether it is temporary or permanent in nature;
     ▪    determining whether or not the borrower has the ability to repay the mortgage loan debt;
     ▪    educating the borrower on the availability of workout options, as appropriate; and
     ▪    obtaining a commitment from the borrower to resolve the delinquency.

With LL-2017-09R we introduced the Fannie Mae Extend Modification for Disaster Relief (Extend Mod), a temporary post-disaster
forbearance mortgage loan modification, as well as the order of evaluation for Extend Mod and other post-forbearance
mortgage loan modifications when the property securing the mortgage loan or the borrower’s place of employment is located in
a FEMA-Declared Disaster Area eligible for Individual Assistance. While COVID-19 is not a disaster as defined in the Servicing
Guide, with this Lender Letter, we are extending the availability of these post-disaster forbearance mortgage loan modifications
to borrowers impacted by COVID-19. The servicer must analyze each case carefully in accordance with the requirements in the
following table before determining which mortgage loan modification is most appropriate for the borrower.

   If the servicer is…                    And…                                             Then the servicer must evaluate the
                                                                                           borrower for…
   able to establish QRPC with the        determines that the borrower is capable of       an Extend Mod; and if eligible, offer the
   borrower during the forbearance        maintaining the current contractual              borrower the Extend Mod. The servicer
   plan                                   monthly PITI payment, including any              must disclose how the escrow analysis
                                          escrow amounts disbursed by the servicer         was determined, and that disbursed
                                          during the forbearance plan term and             escrow amounts will not be capitalized
                                          escrow shortage needed to pay future             but will be added to the escrow
                                          escrow that is required to be repaid by the      shortage needed to pay future escrow
                                          borrower over the 60-month escrow                amounts resulting in an increase of the
                                          repayment period                                 borrower’s current contractual monthly
                                                                                           PITI payment over the 60-month escrow
                                                                                           repayment period.
                                          determines that the borrower can maintain        a Fannie Mae Cap and Extend
                                          the current contractual monthly PITI             Modification for Disaster Relief; and if
                                          payment, but cannot manage the additional        eligible, offer the borrower a Fannie Mae
                                          escrow repayment obligation to cover             Cap and Extend Modification for
                                          amounts disbursed by the servicer during         Disaster Relief (see D2-3.2-05, Fannie
                                          the forbearance plan term                        Mae Cap and Extend Modification for
                                                                                           Disaster Relief).
                                          determines that the borrower is not capable      a Fannie Mae Flex Modification based on
                                          of maintaining the current contractual           the Unique Requirements for a Borrower
                                          monthly PITI payment                             Impacted by a Disaster Event (see D2-3.2-
                                                                                           08, Fannie Mae Flex Modification); and if
                                                                                           eligible, offer a Fannie Mae Flex
                                                                                           Modification.

  not able to establish QRPC during the   the mortgage loan is 90 or more days             a Fannie Mae Flex Modification based
  forbearance plan                        delinquent                                       on the Unique Requirements for a
                                                                                           Borrower Impacted by a Disaster Event
                                                                                           (see D2-3.2-08, Fannie Mae Flex
                                                                                           Modification); and if eligible, solicit the
                                                                                           borrower for a Fannie Mae Flex
                                                                                           Modification.




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For these mortgage loan modifications, the following changes to the eligibility criteria apply:

  Current Requirement                                                Requirement for Borrowers Impacted by COVID-19
  The property securing the mortgage loan or the borrower’s          The borrower must have experienced a hardship resulting
  place of employment must be located in a FEMA-Declared             from COVID-19 (for example, unemployment, reduction in
                                                                     regular work hours, or illness of a borrower/co-borrower or
  Disaster Area eligible for Individual Assistance.
                                                                     dependent family member), which has impacted their ability
                                                                     to make their monthly mortgage loan payment.
                                                                            N O T E: The servicer is not required to obtain
                                                                            documentation of the borrower’s hardship.

  The mortgage loan must have been current or less than 31           The mortgage loan must have been current or less than 31
  days delinquent when the disaster occurred                         days delinquent as of Mar. 1, 2020, the effective date of the
                                                                     National Emergency declaration related to COVID-19.

        N O T E: The servicer must make appropriate changes to the Flex Modification Solicitation Cover Letter and Evaluation
        Notices, including the applicable Frequently Asked Questions, when using for a borrower impacted by COVID-19.

In Lender Letter LL-2020-07, COVID-19 Payment Deferral we introduced COVID-19 payment deferral, a new home retention
workout option jointly developed with Freddie Mac at the direction of FHFA, to assist borrowers who have resolved their COVID-19
related hardship. Once the servicer implements COVID-19 payment deferral, it must evaluate borrowers impacted by COVID-19 for
a COVID-19 payment deferral in accordance with the eligibility requirements and evaluation hierarchy described in Lender Letter
LL-2020-07, COVID-19 Payment Deferral. This supersedes our guidance on Mar. 25, 2020 which instructed that once the servicer
implemented payment deferral, to evaluate borrowers impacted by COVID-19 for a payment deferral in accordance with the
eligibility requirements and workout option hierarchy described in Lender Letter LL-2020-05, Payment Deferral prior to evaluating
the borrower for a post-forbearance mortgage loan modification as described above.

Credit bureau reporting              UPDATED Apr. 8

In response to the CARES Act, we are acknowledging that the servicer must report the status of the mortgage loan to the credit
bureaus in accordance with the FCRA, including as amended by the CARES Act, for borrowers affected by the COVID-19 emergency.
This supersedes our guidance on Mar. 18, 2020, which instructed servicers to suspend reporting the status of a mortgage loan to
credit bureaus during an active forbearance plan, or a repayment plan or Trial Period Plan where the borrower is making the
required payments as agreed, even though payments are past due, as long as the delinquency is related to a hardship resulting from
COVID-19.

Suspension of foreclosure activities and certain bankruptcy requirements
UPDATED May 14, Jun. 24, Aug. 27, Dec. 9

On Mar. 18, 2020, we instructed servicers that they must suspend all foreclosure sales for the next 60 days, unless the
property securing the mortgage loan had been determined to be vacant or abandoned.

In response to the CARES Act, on Apr. 8, 2020, we acknowledged that the servicer was required to suspend foreclosure-related
activities in accordance with the requirements of the CARES Act , which provides: “Except with respect to a vacant or abandoned
property, a servicer of a Federally backed mortgage loan may not initiate any judicial or non-judicial foreclosure process, move
for a foreclosure judgment or order of sale, or execute a foreclosure-related eviction or foreclosure sale for not less than the 60-
day period beginning on Mar. 18, 2020.”

We previously extended the suspension of foreclosure-related activities through Jun. 30, 2020 and subsequently through Dec. 31,
2020. We are now further extending the suspension of the following foreclosure-related activities through Jan. 31, 2021: During the
period of the extension, servicers may not, except with respect to a vacant or abandoned property, initiate any judicial or non-judicial
foreclosure process, move for a foreclosure judgment or order of sale, or execute a foreclosure sale. This suspension does not apply
to mortgage loans secured by properties that have been determined to be vacant or abandoned.

We generally require servicers to file motions for relief from the automatic stay in bankruptcy cases upon certain milestones. In

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light of the CARES Act and other impacts resulting from the COVID 19 National Emergency, on Apr. 8, 2020, we temporarily
relieved servicers of the obligation to meet these timelines. We are continuing this temporary suspension. Servicers must
continue to work with their bankruptcy counsel to determine the appropriate time to file such motions.

Use of Fannie Mae’s Disaster Response Network
Our Disaster Response Network (DRN) is operational and can be used to assist borrowers who are financially impacted by
COVID-19. The DRN has trained financial counselors who will work with borrowers to create a workable budget based upon the
borrower’s present financial situation and assist in explaining options including obtaining unemployment benefits and any
new special assistance. We encourage servicers to refer Fannie Mae borrowers to our Disaster Response Network at 1-877-542-
9723.


Additional resources
As a reminder, we have published other Lender Letters and helpful information regarding policies related to COVID-19.


     ▪    LL-2020-03, Impact of COVID-19 on Originations               ▪    LL-2020-06, Selling Loans in Forbearance Due to COVID-
                                                                            19
     ▪    LL-2020-04, Impact of COVID-19 on Appraisals
                                                                       ▪    LL-2020-07, COVID-19 Payment Deferral
     ▪    COVID-19 Frequently Asked Questions (Selling)
                                                                       ▪    COVID-19 Frequently Asked Questions (Servicing)
     ▪    Ask Poli Selling
                                                                       ▪    Ask Poli Servicing



            We will continue to monitor the situation and alert you of any additional policy updates. Servicers who have
             questions about this Lender Letter should contact their Fannie Mae Account Team, Portfolio Manager, or
                      Fannie Mae’s Single-Family Servicer Support Center at 1-800-2FANNIE (1-800-232-6643).
                Have Guide questions? Get answers to all your policy questions, straight from the source. Ask Poli.




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                                                                Appendix
Refer to the examples below related to calculating the non-depository seller/servicer minimum liquidity requirement.

Example #1:

    Agency Servicing UPB: $50,000,000
    Agency Servicing SDQ UPB: $3,500,000 (7% SDQ rate)
                                                   1
    COVID-19 Portion of Agency Servicing SDQ UPB : $1,000,000
    The base liquidity requirement is .035% of the Agency Servicing UPB calculated as follows:
                                                      0.035%* $50,000,000 = $17,500

    In the example above, the Agency Servicing SDQ rate is above the 6% threshold for the Liquidity Add-On. Under the temporary
    guidance, the portion of Agency SDQ loans shown above that is related to COVID-19 forbearance loans is multiplied by .30 to derive
    the numerator used for calculating the adjusted Agency SDQ Rate of 5.6% as follows:
                                     $2,500,000 + ($1,000,000 *.30) = $2,800,000/$50,000,000 * 100

    As shown above, the $2.5 million represents the difference between Total Agency SDQs and COVID-19-related SDQs. The $1 million
    * .30 is the calculation adjustment to COVID-19 SDQ loans. The combined $2.8 million is the numerator used to calculate the
    Agency Servicing SDQ rate. In this example, the Agency Servicing SDQ rate decreases from 7% to 5.6%-- less than 6% SDQ
    threshold to trigger the Liquidity Add-on. The Liquidity Add-on is not applicable in this example.

    Base Liquidity Requirement:   $17,500
    Liquidity Add-on:             Not Applicable
    Minimum Liquidity Requirement $17,500


Example #2:

    Agency Servicing UPB: $50,000,000
    Agency Servicing SDQ UPB: $7,000,000 (14% SDQ rate)
                                                  1
    COVID-19 Portion of Agency Servicing SDQ UPB : $3,000,000
    The base liquidity requirement is .035% of the Agency Servicing UPB calculated as follows:
                                                        0.035%* $50,000,000 = $17,500

    In the example above, the Agency Servicing SDQ rate is above the 6% threshold for the Liquidity Add-on. Under the temporary
    guidance, the portion of Agency SDQ loans show above that is related to COVID-19-related forbearance loans is multiplied by .30 to
    derive the numerator for calculating the adjusted Agency SDQ Rate of 9.8% as:
                                       $4,000,000 + ($3,000,000 *.30) = $4,900,000/$50,000,000 * 100

    As shown above, the $4 million represents the difference between Total Agency SDQs and COVID-19-related SDQs. The $3 million *
    .30 is the calculation adjustment to COVID-19 SDQ loans. The combined $4.9 million is the numerator used to calculate the Agency
    Servicing SDQ rate. In this example, the Agency Servicing SDQ rate decreases from 14% to 9.8%-- which is above the 6% threshold to
    trigger the Liquidity Add-on. The Liquidity Add-on is applicable only on the UPB portion above 6% SDQ rate calculated as follows:
                                                    2%*$50,000,000*(9.8%-6.0%)= $38,000

    Base Liquidity Requirement:           $17,500
    Liquidity Add-on:                     $38,000
    Minimum Liquidity Requirement         $55,500

1
 COVID-19 SDQ refers to mortgage loans in a COVID-19-related forbearance plan that are 90 days or more delinquent and were current
at the inception of the COVID-19-related forbearance plan.




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  Consumer Relief Guide – Your Rights to Mortgage Payment Forbearance and Foreclosure Protection
                                    Under the Federal CARES Act

 The COVID-19 pandemic is causing financial hardship for millions of American homeowners. If you, or
 someone you know, is experiencing financial hardship, you or they may have access to help under a new
 federal law known as the Coronavirus Aid, Relief, and Economic Security Act (CARES Act). This guide has
 information to help you make important decisions about your financial obligations.

 Quick Facts

     -   You have the right to obtain a 180 day pause in paying your mortgage or temporarily lower
         mortgage payments if you are a borrower on a federally backed mortgage loan and affirm that
         you are experiencing a financial hardship due directly or indirectly to the COVID-19 emergency.
         This program is called mortgage forbearance or mortgage relief. Your mortgage servicer (the
         company you send your payments to each month) can tell you if your loan is federally backed.
     -   The decision to request forbearance should be considered carefully; however, Congress has
         made the actual request process very easy. See The Decision to Request Forbearance below.
     -   Forbearance is a temporary reduction or suspension of your monthly payment to help you
         through a difficult period. You will need to repay any missed or reduced payments in the future
         through one of numerous options. While in forbearance, you can still choose to make partial
         payments, which will reduce the amount you would need to repay in the future.
     -   At the end of the forbearance period you and your servicer will discuss repayment options. In
         most cases you should receive multiple options to repay the monthly payments that were not
         paid during forbearance over time.
     -   There are no fees associated with obtaining forbearance. Be wary of anyone offering to help you
         with forbearance for a fee.
     -   Foreclosure actions on loans federally backed by Fannie Mae, Freddie Mac and HUD, which
         includes single family FHA loans and reverse mortgage HECM loans, are frozen until June 30, 2020.


 Steps to request forbearance under the CARES Act

 First, you will need to contact your mortgage servicer.

 If you don’t know if you have a federally backed mortgage, call your mortgage servicer. You can find
 your servicer on your monthly mortgage statement or by searching the Mortgage Electronic Registration
 Systems (MERS) website: mers-servicerid.org/sis.

 Eligible Loan Types

 To be eligible for protections under the CARES Act, your mortgage must be backed by one of the federal
 agencies and entities listed below.

 Loan types that are federally backed include:

     •   Conventional loans purchased or securitized by Fannie Mae and Freddie Mac (combined, GSEs)
         To find out if your loan is owned by one of the GSEs, please visit the following webpages:
             o Fannie Mae Loan Lookup: https://www.knowyouroptions.com/loanlookup




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             o Freddie Mac Loan Lookup: https://ww3.freddiemac.com/loanlookup
     •   Federal Housing Administration (FHA), including Home Equity Conversion Mortgage (HECM)
     •   U.S. Department of Veterans Affairs (VA)
     •   U.S. Department of Agriculture (USDA), including USDA Direct and USDA Guaranteed

 Privately held loans are not eligible for forbearance relief under the CARES Act, but you should still
 contact your mortgage servicer to ask about assistance programs.

 Terms of the Forbearance Program

 The next step is to tell your servicer that you are experiencing financial hardship due to the COVID-19
 emergency and are requesting a forbearance. Check the company website for an online form or phone
 number.

 The CARES Act grants you the right to forbearance by submitting a request to your mortgage servicer for
 forbearance due to financial hardship during the COVID-19 emergency.

 You are not required to submit documentation to prove your financial hardship to enter a forbearance
 under the CARES Act. And, you are eligible regardless of delinquency status, so it does not matter if you
 are delinquent at the time of application or were delinquent before the President’s March 13, 2020,
 emergency declaration.

 Under the new law, forbearance shall be granted for up to 180 days at your request, and shall be
 extended for an additional 180 days at your request.1 Remember to make the second 180-day request
 before the end of the first forbearance period. Most servicers are required under federal regulations to
 notify you about applying for other mortgage relief options.

 You will not accrue fees, penalties, or interest beyond the amounts already scheduled or calculated
 based on the terms of your mortgage. However, you will have to pay the payments that were missed
 during forbearance, including taxes and insurance, back to the mortgage company in the future and
 after the forbearance period ends. At the end of your forbearance period, you and your servicer will
 determine how you will repay any missed payments or deficiencies related to reduced payments,
 especially in your escrow account. In most cases, you will be given multiple options for repaying the
 forbearance; a lump-sum repayment will typically not be the only option. Some options may include:

     •   Establishing a repayment plan that would spread your missed payments over a specified number
         of months, which would increase your monthly payment until the missed forbearance payments
         were fully repaid and would be based on your ability to make the new monthly payments.
     •   Extending the term of the loan for some amount of time to pay back the missed payments. For
         example, if provided a six-month period where you don’t make a mortgage payment, your
         mortgage servicer could add six months of payments on to the date when the loan is scheduled
         to be paid off (the maturity date). This would be one form of a loan modification.
     •   Modifying your loan to catch up the missed payments over time through a specified
         modification program offered by the owner of your loan.



 1
  H.R. 748 – CARES Act, Sec. 4022: https://www.congress.gov/bill/116th-congress/house-
 bill/748/text#H34DE53614AC745A8889A13E7D3460DB4




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 Note: Any loan modification after your forbearance term will likely require your servicer to document
 your income and expenses to ensure you qualify for a modification program. The servicer will contact
 you about this prior to the end of your forbearance period.

 You should arrange a forbearance that works for you. To prepare to call your mortgage servicer for a
 forbearance request, you will want to gather your account information. You can review publicly
 available mortgage servicer call scripts so that you will know the types of questions your servicer may
 ask when discussing forbearance with you. Commonly used call scripts and resource documents include:

     •   Fannie Mae Forbearance Call Script: LINK
     •   Freddie Mac COVID-19 Call Script: LINK
     •   FHA COVID-19 Questions and Answers: LINK
     •   VA Circular 26-20-12: LINK


 The Decision to Request Forbearance

 If your loan is eligible for relief and you are having financial hardship due to COVID-19, you are entitled
 to lower payments or forbearance that is provided in the CARES Act. If you are still able to make your full
 monthly payment, you may wish to keep doing so because interest continues to grow as scheduled and
 you will eventually have to repay the amount of any forbearance.

 When discussing forbearance with your mortgage servicer, be sure to discuss all repayment options
 available to you before entering a forbearance program. Repayment options may differ depending on
 your loan type, and you should know before entering forbearance how you will be expected to repay
 your paused payments.

 If you and your servicer disagree on forbearance relief options, please remember that the CARES Act
 entitles you to a forbearance of up to 180 days at your request, and an extension of an additional 180
 days at your request. Keep detailed notes on your conversations and check any documentation sent by
 your servicer to make sure the terms of your forbearance are clear.


 Forbearance Attestations on Newly Closed Mortgage Loans

 Mortgage lenders are currently requiring new borrowers to sign COVID Attestations confirming that
 income has not changed and that they are not aware of future changes in employment or the need to
 request forbearance. Lenders may also inform you that your loan is not immediately federally backed
 and therefore does not qualify for CARES Act forbearance.

 These attestations do not limit your rights under the CARES Act as described above. However, it may be
 true that your loan is not immediately federally backed and therefore will not qualify under the CARES
 Act until it becomes federally backed, which can take days or in some cases weeks.

 This does not mean that you cannot request forbearance information and many lenders and servicers
 are providing forbearance benefits regardless of federally backed status. If you have recently closed on a
 loan and already find yourself in need of assistance, you should contact your servicer to determine your
 options.




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 Credit Protection During COVID-19

 The CARES Act also protects you from some negative information on your credit report because of any
 mortgage relief or assistance related to the COVID-19 emergency. During the period covered by the
 CARES Act, the CARES Act requires your mortgage servicer to report your account as current if your
 account was current at the time of the forbearance and if you meet the terms of your mortgage relief;
 or if your account was delinquent before the COVID-19 emergency, to maintain the same delinquent
 status. If you bring your account current during the forbearance, your mortgage servicer must report the
 loan as current.


 Additional Resources on CARES Act Forbearance

 If you need help working with your mortgage servicer or understanding your options, you may want to
 reach out to a non-profit housing or credit counseling agency, or other professional to help you with
 your specific situation. Contact information for filing a complaint with and requesting assistance from
 the CFPB or your state regulator is included below.

 Mortgage regulators at both the state and federal level have websites with information about what
 governments are doing to protect consumers during this national emergency. These websites include:

     •   Unified Agency Website: www.cfpb.gov/housing
     •   CFPB COVID-19 Mortgage and Housing Assistance Page: LINK
     •   CSBS COVID-19 Consumer Resources Page: LINK
     •   American Association of Residential Mortgage Regulators (AARMR): LINK

 Relevant statutory provisions appear mainly in Sections 4021 and 4022 of the CARES Act, the full text of
 which is available HERE. Section 4021 covering consumers credit protection during COVID-19 can be
 found HERE. Section 4022 covering consumers’ rights to request forbearance can be found HERE.

 If you need to file a complaint related to your loan, contact your state financial regulator or the CFPB.

     •   CFPB Complaint Portal can be accessed HERE.
     •   Find your state mortgage regulator on the CSBS website HERE.

 If you need additional help getting mortgage relief or understanding your rights, benefits and
 protections from CARES Act mortgage assistance please visit the National Consumer Law Center (NCLC)
 webpage. A summary of foreclosure alternatives for borrowers with COVID-19 hardships can be found
 HERE.




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   SINGLE FAMILY                                                                                                                                                                                                             




                    Servicing Guide
                        Download PDF Guide (Published: July 13 2022 )




        Search the Guide                        (For best result, pose your search like a question.)



            Search the Guide... e.g. How do I know if my borrower qualifies for forbearance?




                   Home /   COVID-19 / COVID FAQs


                                                                                                                                                                                                                 Share
                      Is Form 710 (Mortgage Assistance Application) required to verify hardship for putting a borrower on a COVID-19 related forbearance plan?

                      For COVID-19 impacted borrowers, no additional documentation other than the borrower’s attestation to a financial hardship caused by the COVID-19 emergency is required for the borrower
                      receiving a forbearance plan.



                            Note: This FAQ is from the Fannie Mae COVID-19 Frequently Asked Questions. Form 710 can be downloaded here.



                      See below for more information on COVID-19:

                               Fannie Mae’s COVID-19 page
                               The Impact of COVID-19 on Servicing
                               Fannie Mae Servicing Lender Letter LL 2021 02


                      Was this article helpful? Yes / No


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https://servicing-guide.fanniemae.com/COVID-19/COVID-FAQs/1957530251/Is-Form-710-Mortgage-Assistance-Application-required-to-verify-hardship-for-putting-a-borrower-on-a-COVID-19-related-forbearance-plan…                      1/2
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           Working with Fannie Mae                                                                             Products & Solutions

           Customer Login                                                                                      Mortgage Products & Options
           Password Reset                                                                                      Technology Apps & Solutions
           Not a customer? Get Started


           Support & Resources                                                                                 Other Sites

           Customer Service                                                                                    The Marketing Center
           News & Events                                                                                       Know Your Options
           Learning Center                                                                                     Duty to Serve
           Guide Forms                                                                                         HomePath




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                                                  Suppliers                                                                                                 Legal
                                                   Careers                                                                                                 Privacy
                                                 Contact Us




https://servicing-guide.fanniemae.com/COVID-19/COVID-FAQs/1957530251/Is-Form-710-Mortgage-Assistance-Application-required-to-verify-hardship-for-putting-a-borrower-on-a-COVID-19-related-forbearance-plan…   2/2
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      From: "Artur Elizarov" <arthur.elizarov@gmail.com>
          To:    "Peter Hill" <PHill@goldwaterbank.com>
       Date:     3/3/2021 12:44:38 PM
    Subject:     Fwd: CONGRATS!! New Escrow 291 W Overlook, Palm Springs
Attachments:     291 W Overlook,PS_Termite Report.pdf
                 291 W Overlook, PS_RPA.pdf
                 291 W Overlook, PS_ADM1 .pdf
                 291 W Overlook, PS_CR1 .pdf




                         WARNING! WIRE FRAUD ADVISORY

      Before sending funds, always call your Escrow team to verify wire information




                                                         T
                                                       \/WEST

                                      Andrea Cross

                                       Escrow Officer



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                                     Direct. (310) 402-5470

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     We are always looking for ways to improve our service. Please take a moment to
               complete this short survey about your recent experience.

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                                                                                      WAGNER HICKS PLLC
                                                                                      831 E. Morehead Street, Suite 860
                                                                                      Charlotte, NC 28202
                                                                                      (704) 705-7787



                                                                                      DEREK M. BAST
                                                                                      Attorney at Law
                                                                                      (704) 705-8311
                                                                                      derek.bast@wagnerhicks.law

 VIA PERSONAL SERVICE

 July 28, 2022

 Rite Care Hospice, Inc.
 c/o Vartan Akopyan, registered agent
 14144 Ventura Blvd, Suite 260
 Sherman Oaks, CA 91423


         Re:     Goldwater Bank, N.A., v. Elizarov, et al. No. 5:21-cv-00616 (C.D. Cal.)
                 Service of Subpoena Duces Tecum and Stipulated Protective Order

 To Whom It May Concern:

          Enclosed please find a Subpoena Duces Tecum in the above-referenced lawsuit. Additionally,
 please find enclosed a copy of a Stipulated Protective Order entered by the Court in this matter on June 8,
 2022, which permits the designation of subpoenaed materials as “Confidential” upon production.

         To facilitate your response by August 18, 2022, you may produce documents to Goldwater Bank,
 N.A.’s counsel by email, using the contact information below. If producing documents by this date is
 unfeasible, please contact counsel to discuss an alternative production date.

         Derek M. Bast
         Wagner Hicks PLLC
         T: (704) 705-8311
         derek.bast@wagnerhicks.law


         Please do not hesitate to contact me with any questions or concerns.

                                                          Sincerely,



                                                          Derek M. Bast
                                                          Attorney

 Enclosures




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Central District
                                                       __________ Districtofof
                                                                             California
                                                                               __________
                     Goldwater Bank, N.A.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 5:21-cv-00616-JWH-SP
       Artur Elizarov, Unison Agreement Corp., Scott                          )
       Howlett, Bank of the West, and Ilya Alekseyeff                         )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                        Rite Care Hospice, Inc. c/o Vartan Akopyan, registered agent
                                           14144 Ventura Boulevard, Suite 260, Sherman Oaks, CA 91423
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
            See Attachment 1


  Place: Regus Business Center                                                          Date and Time:
           777 S. Alameda, 2nd Floor                                                                         08/18/2022 4:00 pm
           Los Angeles , CA 90021

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        07/28/2022

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                     /s/ Derek M. Bast
                                            Signature of Clerk or Deputy Clerk                                        Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Plaintiff Goldwater Bank, N.A.                                           , who issues or requests this subpoena, are:
Derek Bast, 831 E Morehead St, Ste 860, Charlotte, NC 28202; derek.bast@wagnerhicks.law; (704) 705-8311

                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 5:21-cv-00616-JWH-SP

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:




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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                                      ATTACHMENT 1

                                LIST OF ITEMS FOR PRODUCTION

        Pursuant to the foregoing Subpoena, please produce the following documents (please refer

 to the instructions and definitions below for information concerning how to respond to the

 following items):

        1.      Any and all documents, records, or communications reflecting the beginning and

 ending of Elizarov’s employment with You.

        2.      Any and all documents, records, or communications related to the status of Your

 employment of Artur Elizarov during the Relevant Period.

        3.      Any and all documents and records pertaining to any and all compensation provided

 to Artur Elizarov, including but not limited to annual salary records and employee bonus payments,

 during the Relevant Period.

                                  INSTRUCTIONS & DEFINITIONS

        The foregoing Subpoena requires that you produce the above-listed items for inspection.

 You may satisfy such requirement either by (1) producing the original of any responsible item for

 inspection and copying or (2) producing a true, accurate, and complete copy of the original

 via electronic mail to the requesting attorney (derek.bast@wagnerhicks.law). To comply with

 the Subpoena, such production must occur by, on, or before the date and time indicated on the

 foregoing Subpoena.

        In preparing your response, please note that the words in the List of Items for Production

 and in these Instructions and Definitions have the meaning ordinarily attributed to them in common

 usage, except that the following words have the following meanings:




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         1.     “Relevant Period” refers to January 1, 2019 through and including September 31,

 2019.

         2.     “Document” includes any and all records, or written, readable, graphic, or visual

 materials, or any kind or character, and shall include, without limitation, correspondence,

 memoranda, notes, emails, files, bills, invoices, electronically stored information, and any other

 data compilation stored in any medium from which information can be obtained.

         3.     “Communication” or “communications” includes, without limitation, all

 statements, representations, expressions of fact or opinion, correspondence, reports, memoranda,

 emails, text messages, and other transmissions of information, made in any manner whatsoever.

         4.     “You” or “Your” means Rite Care Hospice, Inc., along with its affiliates and

 subsidiaries, and anyone working on Rite Care Hospice, Inc.’s behalf.




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                                                                  9440 Santa Monica Blvd., #310
                                                                        Beverly Hills, CA 90210

                                                                          Phone: (310) 402-5555
                                                                            Fax: (310) 424-4041
                                                                        www.escrowofthewest.com




                      AMENDED SELLER'S FINAL SETTLEMENT STATEMENT

  PROPERTY:      11623 Morrison Street                  DATE:                January 19, 2018
                 Los Angeles, CA 91601
                                                        CLOSING DATE:        January 19, 2018
  SELLER:        Artur Elizarov                         ESCROW NO.:          02-028633-AC


                                                                         DEBITS         CREDITS
  FINANCIAL CONSIDERATION
  Total Consideration                                                                2,030,000.00

  PAYOFF CHARGES - Luther Burbank Savings
  [Total Payoff $1,345,324.96]
  Principal Balance                                               1,342,500.00
  Interest on Principal Balance to 01/19/2018                         2,656.96
  Recording Fee                                                          18.00
  Payoff Demand                                                          30.00
  Reconveyance Fee                                                       45.00
  Other                                                                  75.00

  PAYOFF CHARGES - Internal Revenue Service
  [Total Payoff $91,567.25]
  Principal Balance                                                     91,567.25




  PRORATIONS/ADJUSTMENTS
  County Taxes at $11,016.90/semi-annually from 01/01/2018 to            1,101.69
  01/19/2018

  COMMISSION CHARGES


  OTHER DEBITS/CREDITS




  Transfer Tax - County to Los Angeles County                            2,233.00
  Transfer Tax - City to City of Los Angeles                             9,135.00




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 Date: January 19, 2018                                    Escrow No.: 02-028633-AC

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                                                              DEBITS          CREDITS

  Net Proceeds

  TOTAL                                                 $ 2,032,380.00   $ 2,032,380.00




                      SAVE THIS STATEMENT FOR INCOME TAX PURPOSES




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                                     #:2000
                                     #:3846

                                                                                                                                          PO Box 1440, Claremont, NH 03743
                                                                                                                                                     Phone: (603) 543-1000
                                                                                                                                                       Fax: (603) 543-1818



  Property Information            ▼


   Loan #:             909216931 Artur Elizarov
                                 291 W. OVerlook Road
   Loan Type:          FNMA      Palm Springs, CA 92264


   Photos for Inspection                                                                                                             Inspected on: 02/16/2021
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             Property Condition (#1)             Property Condition (#2)
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                                                                                        PO Box 1440, Claremont, NH 03743
                                                                                                   Phone: (603) 543-1000
                                                                                                     Fax: (603) 543-1818

  Inspection Results
  West Star Mortgage Co                 ATTN:          Leticia Aguilar
  Artur Elizarov                        Loan #:        909216931
  291 W. OVerlook Road                  Loan Type: FNMA
  Palm Springs, CA 92264                Insp Type:     Form30
                                        Insp Chg:
  Occupancy Information                 Property Condition
  Occ:         Occupied                 Condition:                GOOD
  For Sale:    NO                       Prop Type:                SING FAM
                                        Construction:             STUCCO
                                        Neighborhood:             Stable
  Occupied By: UNKNOWN                  House Color:              Gray\Gray
  How Verified: VISUAL                  # of Stories:             1 STORY
                                        Est Value:                250K
  Vacancy Information                   Damage / Hazards
  Elect On:      Y                      Checked only if noted
  Gas On:        Y
  Water On:      Y                      Storm:              Neglect:
  Pers. Prop: Y                         Flood:              Vandalism:
  Pool On-Site: U                       Fire:               Roof Leak:
  Pool Secure:                          Freeze:             Env Haz:
  Prop Secure:                                              Other:
  Ht of Grass: 0                        FTV Date:
  Interview Information
  Interviewee:                          Tenant Name:
  Home Phone:                           Rent Paid To:
  Work Phone:                           Tenant Phone:
  Reason Del:                           Oblig Type:
  Attitude:                             Oblig Name:
  Income Type:                          Oblig Bal:
  Income Amt:                           Oblig Pmt:
  Inspection Information
  Date Insp:     2/16/2021              Comments:
  Returned:                             Property appears occupied. Exterior lights on
  Reps Initials: RIT-CA
                                        Recommend:
  Wint'd:

  Sec'd:




                                                                                        GOLDWATER_000537

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  Fannie Mae - Property Inspection Report
  L. Loan Information
  Name of mortgagor:                                Servicer:                       Loan Number:      Servicer Loan number:
  Artur Elizarov                                    West Star Mortgage Co                             909216931
  Property Address:                                 Property Type:                  KeyCode:          Lock Box:
  291 W. OVerlook Road Palm Springs CA              SING FAM
  If mfd home is it permanently attached to the foundation? n/a                     Reason for Inspection: Collections
  I. Inspector Information
  Date of inspection: 2/16/2021                      InspectedBy: RIT-CA
  Inspection company: National Field Reps, Inc                                      Inspector signature:
  A. Access
  Were you able to complete
                                    Did lockbox combo or key code provided work?
  interior Inspection? No                                                                  If an inspection wasn't able to be
                                    n/a
  If no, indicate why: Interior                                                            completed, why?
                                    Corrected key code:
  inspection not ordered
  1. General Information
  1.1 What is the occupancy         1.5 Violations Dated:                                  1.9 Is the exterior maintained by an
  status? Occupied                                                                         HOA?       No
                                    1.6 Has the issue cited on the violation been
  1.2 If occupied, property         resolved?     n/a                                      1.10 Is the property connected to
  occupied by: UNKNOWN                                                                     sewer or septic?
                                    1.7 Present at property:
  1.3 Are there violations
  posted?    No
                                    1.8 Are there any potential hazards at the property
  1.4 If Yes, violations for:       that could damage an adjoining property? No

  2. Main structure
  2.1 How many doors are            2.7 Are there damages to the foundation?        No     2.12 Are there any drainage
  boarded? 0                                                                               concerns? Unk
                                    2.8 Do any decks and/or porches appear to be
  2.2 How many exterior doors       unacceptable/unsafe?    No                             2.13 Do any crawl spaces / vents /
  are broken? 0                                                                            lines need to be secured or
                                    2.9 Any handrails damaged or missing from              covered?
  2.3 How many exterior doors       steps? No
  need to be secured?  0                                                                   2.14 Are any drain pipes missing or
                                    2.10 Any damaged gutters or disconnected               damaged?     Unk
  2.4 How many windows are          gutters?  No
  boarded? 0                                                                               2.15 Is there a tarp on the roof of the
                                    2.11 Any damaged/disconnected downspouts or            main dwelling? No
  2.5 How many windows are          extensions? No
  broken? 0                                                                                2.16 Is there any obvious roof
                                                                                           damage on the main dwelling?          No
  2.6 Are any shutters in need of
  repair? No
  3. Detached structures
  3.1 The following are tarped:     3.4 The following have exterior surfaces that need     3.6 The following are in disrepair:
                                    repair:

  3.2 The following are boarded:                                                           3.7 The following have graffiti:
                                    3.5 The following require roof repairs:

  3.3 The following are unsecure:



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  4. Pool
  4.1 Is there a pool present?              4.2 Does the pool / Hot Tub / Spa need to      4.4 Is the fence / gate / lanai surrounding
      [X] Unknown                           be treated?                                    the pool damaged?

  Is there a Hot tub / Spa present?         4.3 Does the pool / hot tub need to be         4.5 Is pool / hot tub equipment missing?
      [X] None                              properly secured by a fence / gate / lanai?        Unknown


  5. Yard
  5.1 Is there debris in the                5.4 Does the lawn need                         5.6 Do trees and bushes need to be
  yard? No                                  maintenance?     No                            trimmed back from the structure? No

  5.2 Is there personal property in         5.5 Does the property have overgrown           5.7 Does the lawn need edging?       No
  the yard? Yes                             weeds or invasive species?   No
                                                                                           5.8 Are all paved areas free of snow and
  5.3 Does fencing around property                                                         ice?
  need repair? No

  6. Utilities
  6.1 Which utility meters are              6.3 Are there any shared utilities?      No
  present?
      [X] Electric [X] Water                6.4 Does the water need to be turned off at
  [X] Gas                                   the curb?    No

  6.2 Which utilities are on?
      [X] Electric [X] Water [X]
  Gas

  7. General Exterior
  7.1 Are there any environmental           7.3 Is there an above ground propane tank      7.5 Are there required exterior
  concerns? No                              on the property? No                            repairs?    No

  7.2 Is there a leaking oil tank on        7.4 Is there graffiti on the property?    No
  the property? No

  7.6 Comments
       Property appears occupied. Exterior lights on

  8. Kitchen / Bathroom / Utility
  8.1 Is built in microwave                 8.7 Is ventilation hood present?               8.12 Are any toilets missing?
  present?
                                            8.8 Is clothes washer/dryer present?           8.13 Are any tubs/showers missing?
  8.2 Is cook top present?
                                            8.9 Is any Other appliance present?            8.14 Are any plumbing fixtures or pipe
  8.3 Is Dishwasher present?                                                               missing?
                                            8.10 Are any GFCI outlets missing in wet
  8.4 Is Garbage Disposal                   areas?                                         8.15 Are any water heaters missing?
  present?
                                            8.11 Are any HVAC components missing           8.16 Is the electrical panel damaged or
  8.5 Is Range present?                     (inside or out)?                               missing?

  8.6 Is Refrigerator present?

  9. Basement
  9.1 Is a crock present for a sump         9.3 Sump pump not operational
  pump?                                     because:

  9.2 Is the sump pump                      9.4 Does the basement appear to have water



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  operational?   n/a          penetration?


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                                       #:2005
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  10. General Interior
  10.1 Is there Personal Property in the             10.4 If discoloration is present does it             10.9 Does the water need to be turned
  house? Yes                                         appear to be causing further damage?                 off at the main interior?

  10.2 Are cover plates missing or wires 10.5 Are there holes present?                                    10.10 Is there raw or perishable
  uncapped?                                                                                               garbage present?
                                         10.6 Does the attic appear to have
  10.3 Do the floors have holes or trip damage?                                                           10.11 Which detectors are
  hazards that might cause personal                                                                       present?
  injury?                                10.7 Does there appear to be a rodent/insect
                                         infestation?                                                     10.12 Which detectors are functioning
                                                                                                          properly?
                                                     10.8 Winterization status:
                                                                                                          10.13 Are there any required
                                                                                                          repairs?

  10.14 Comments - Interior
  11. General Condition
  11.1 Are there signs of insurable                  11.4 General condition of property
  damages?
                                                     [X] C2 Very minor work needed to bring
                                                     property up to good condition
  11.2 How would you characterize the
  neighborhood? Stable

  11.3 How does the property compare
  to neighborhood standards?
      [X] At
  I represent and warrant that I have conducted a visual only inspection of this property and that, to the best of my knowledge and belief, the
  information contained in this report is accurate. I am not a licensed electrician, plumber, mold specialist, HVAC contractor or structural engineer.




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                                                     Overview | Send Message | Forward Item | 3 photos

                                  Your response: [ Request Inspection | Request Work Order | No Work Needed | Decide Later ]
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                                                                                                                                          PO Box 1440, Claremont, NH 03743
                                                                                                                                                     Phone: (603) 543-1000
                                                                                                                                                       Fax: (603) 543-1818

  Inspection #909216931                                                               Inspected: 8/10/2020




         Property Condition - #1              Property Condition - #2              Property Condition - #3




         Property Condition - #4
                                   Thumbnails [ 1-4 ] [back to originating page]



  Property Information                    ▲


   Loan #:            909216931
   Loan Type:         FNMA      Artur Elizarov
                                291 W. OVerlook Road
   Date FTV:                    Palm Springs, CA 92264
   Secured:
                                    Key Code:
   Winterized:
                                    Lockbox:
   Conv Cond:

               Special Forms
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                                       #:3853

                                                                                  PO Box 1440, Claremont, NH 03743
                                                                                             Phone: (603) 543-1000
                                                                                               Fax: (603) 543-1818

  Inspection Results
  West Star Mortgage Co                 ATTN:          Leticia Aguilar
  Artur Elizarov                        Loan #:        909216931
  291 W. OVerlook Road                  Loan Type: FNMA
  Palm Springs, CA 92264                Insp Type:     Form30
                                        Insp Chg:      30 5153784
  Occupancy Information                 Property Condition
  Occ:         Occupied                 Condition:                GOOD
  For Sale:    NO                       Prop Type:                SING FAM
                                        Construction:             STUCCO
                                        Neighborhood:             Stable
  Occupied By: UNKNOWN                  House Color:              Gray\Gray
  How Verified: VISUAL                  # of Stories:             1 STORY
                                        Est Value:                250K
  Vacancy Information                   Damage / Hazards
  Elect On:      Y                      Checked only if noted
  Gas On:        Y
  Water On:      Y                      Storm:              Neglect:
  Pers. Prop: Y                         Flood:              Vandalism:
  Pool On-Site: U                       Fire:               Roof Leak:
  Pool Secure:                          Freeze:             Env Haz:
  Prop Secure:                                              Other:
  Ht of Grass: 0                        FTV Date:
  Interview Information
  Interviewee:                          Tenant Name:
  Home Phone:                           Rent Paid To:
  Work Phone:                           Tenant Phone:
  Reason Del:                           Oblig Type:
  Attitude:                             Oblig Name:
  Income Type:                          Oblig Bal:
  Income Amt:                           Oblig Pmt:
  Inspection Information
  Date Insp:     8/10/2020              Comments:
  Returned:                             Vehicle onsite. No visible house number
  Reps Initials: RIT-CA
                                        Recommend:
  Wint'd:

  Sec'd:




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  Fannie Mae - Property Inspection Report
  L. Loan Information
  Name of mortgagor:                                Servicer:                       Loan Number:      Servicer Loan number:
  Artur Elizarov                                    West Star Mortgage Co                             909216931
  Property Address:                                 Property Type:                  KeyCode:          Lock Box:
  291 W. OVerlook Road Palm Springs CA              SING FAM
  If mfd home is it permanently attached to the foundation? n/a                     Reason for Inspection: Collections
  I. Inspector Information
  Date of inspection: 8/10/2020                      InspectedBy: RIT-CA
  Inspection company: National Field Reps, Inc                                      Inspector signature:
  A. Access
  Were you able to complete
                                    Did lockbox combo or key code provided work?
  interior Inspection? No                                                                  If an inspection wasn't able to be
                                    n/a
  If no, indicate why: Interior                                                            completed, why?
                                    Corrected key code:
  inspection not ordered
  1. General Information
  1.1 What is the occupancy         1.5 Violations Dated:                                  1.9 Is the exterior maintained by an
  status? Occupied                                                                         HOA? No
                                    1.6 Has the issue cited on the violation been
  1.2 If occupied, property         resolved?     n/a                                      1.10 Is the property connected to
  occupied by: UNKNOWN                                                                     sewer or septic?
                                    1.7 Present at property:
  1.3 Are there violations
  posted? No
                                    1.8 Are there any potential hazards at the property
  1.4 If Yes, violations for:       that could damage an adjoining property?      No

  2. Main structure
  2.1 How many doors are            2.7 Are there damages to the foundation?        No     2.12 Are there any drainage
  boarded? 0                                                                               concerns? Unk
                                    2.8 Do any decks and/or porches appear to be
  2.2 How many exterior doors       unacceptable/unsafe? No                                2.13 Do any crawl spaces / vents /
  are broken? 0                                                                            lines need to be secured or
                                    2.9 Any handrails damaged or missing from              covered?
  2.3 How many exterior doors       steps? No
  need to be secured? 0                                                                    2.14 Are any drain pipes missing or
                                    2.10 Any damaged gutters or disconnected               damaged? Unk
  2.4 How many windows are          gutters? No
  boarded? 0                                                                               2.15 Is there a tarp on the roof of the
                                    2.11 Any damaged/disconnected downspouts or            main dwelling? No
  2.5 How many windows are          extensions? No
  broken? 0                                                                                2.16 Is there any obvious roof
                                                                                           damage on the main dwelling?          No
  2.6 Are any shutters in need of
  repair? No
  3. Detached structures
  3.1 The following are tarped:     3.4 The following have exterior surfaces that need     3.6 The following are in disrepair:
                                    repair:

  3.2 The following are boarded:                                                           3.7 The following have graffiti:
                                    3.5 The following require roof repairs:

  3.3 The following are unsecure:



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                                       #:3855

  4. Pool
  4.1 Is there a pool present?            4.2 Does the pool / Hot Tub / Spa need to      4.4 Is the fence / gate / lanai surrounding
      [X] Unknown                         be treated?                                    the pool damaged?

  Is there a Hot tub / Spa present?       4.3 Does the pool / hot tub need to be         4.5 Is pool / hot tub equipment missing?
      [X] None                            properly secured by a fence / gate / lanai?        Unknown


  5. Yard
  5.1 Is there debris in the              5.4 Does the lawn need                         5.6 Do trees and bushes need to be
  yard? No                                maintenance? No                                trimmed back from the structure? No

  5.2 Is there personal property in       5.5 Does the property have overgrown           5.7 Does the lawn need edging?       No
  the yard? Yes                           weeds or invasive species? No
                                                                                         5.8 Are all paved areas free of snow and
  5.3 Does fencing around property                                                       ice?
  need repair? No

  6. Utilities
  6.1 Which utility meters are            6.3 Are there any shared utilities?      No
  present?
      [X] Electric [X] Water              6.4 Does the water need to be turned off at
  [X] Gas                                 the curb? No

  6.2 Which utilities are on?
      [X] Electric [X] Water [X]
  Gas

  7. General Exterior
  7.1 Are there any environmental         7.3 Is there an above ground propane tank      7.5 Are there required exterior
  concerns?     No                        on the property? No                            repairs? No

  7.2 Is there a leaking oil tank on      7.4 Is there graffiti on the property?    No
  the property? No

  7.6 Comments
       Vehicle onsite. No visible house number

  8. Kitchen / Bathroom / Utility
  8.1 Is built in microwave               8.7 Is ventilation hood present?               8.12 Are any toilets missing?
  present?
                                          8.8 Is clothes washer/dryer present?           8.13 Are any tubs/showers missing?
  8.2 Is cook top present?
                                          8.9 Is any Other appliance present?            8.14 Are any plumbing fixtures or pipe
  8.3 Is Dishwasher present?                                                             missing?
                                          8.10 Are any GFCI outlets missing in wet
  8.4 Is Garbage Disposal                 areas?                                         8.15 Are any water heaters missing?
  present?
                                          8.11 Are any HVAC components missing           8.16 Is the electrical panel damaged or
  8.5 Is Range present?                   (inside or out)?                               missing?

  8.6 Is Refrigerator present?

  9. Basement
  9.1 Is a crock present for a sump       9.3 Sump pump not operational
  pump?                                   because:

  9.2 Is the sump pump                    9.4 Does the basement appear to have water



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  operational?   n/a          penetration?


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  10. General Interior
  10.1 Is there Personal Property in the             10.4 If discoloration is present does it            10.9 Does the water need to be turned
  house? Yes                                         appear to be causing further damage?                off at the main interior?

  10.2 Are cover plates missing or wires 10.5 Are there holes present?                                   10.10 Is there raw or perishable
  uncapped?                                                                                              garbage present?
                                         10.6 Does the attic appear to have
  10.3 Do the floors have holes or trip damage?                                                          10.11 Which detectors are
  hazards that might cause personal                                                                      present?
  injury?                                10.7 Does there appear to be a rodent/insect
                                         infestation?                                                    10.12 Which detectors are functioning
                                                                                                         properly?
                                                     10.8 Winterization status:
                                                                                                         10.13 Are there any required
                                                                                                         repairs?

  10.14 Comments - Interior
  11. General Condition
  11.1 Are there signs of insurable                  11.4 General condition of property
  damages?
                                                     [X] C2 Very minor work needed to bring
                                                     property up to good condition
  11.2 How would you characterize the
  neighborhood? Stable

  11.3 How does the property compare
  to neighborhood standards?
      [X] At
  I represent and warrant that I have conducted a visual only inspection of this property and that, to the best of my knowledge and belief, the
  information contained in this report is accurate. I am not a licensed electrician, plumber, mold specialist, HVAC contractor or structural engineer.




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                                  Your response: [ Request Inspection | Request Work Order | No Work Needed | Decide Later ]
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                                       #:3858

                                                                              PO Box 1440, Claremont, NH 03743
                                                                                         Phone: (603) 543-1000
                                                                                           Fax: (603) 543-1818

  Inspection Results
  West Star Mortgage Co                 ATTN:          Leticia Aguilar
  Artur Elizarov                        Loan #:        909216931
  291 W. OVerlook Road                  Loan Type: FNMA
  Palm Springs, CA 92264                Insp Type:     Form30
                                        Insp Chg:
  Occupancy Information                 Property Condition
  Occ:         Occupied                 Condition:                GOOD
  For Sale:    NO                       Prop Type:                SING FAM
                                        Construction:             STUCCO
                                        Neighborhood:             Stable
  Occupied By: UNKNOWN                  House Color:              Gray\Gray
  How Verified: VISUAL                  # of Stories:             1 STORY
                                        Est Value:                250K
  Vacancy Information                   Damage / Hazards
  Elect On:      Y                      Checked only if noted
  Gas On:        Y
  Water On:      Y                      Storm:              Neglect:
  Pers. Prop: Y                         Flood:              Vandalism:
  Pool On-Site: U                       Fire:               Roof Leak:
  Pool Secure:                          Freeze:             Env Haz:
  Prop Secure:                                              Other:
  Ht of Grass: 0                        FTV Date:
  Interview Information
  Interviewee:                          Tenant Name:
  Home Phone:                           Rent Paid To:
  Work Phone:                           Tenant Phone:
  Reason Del:                           Oblig Type:
  Attitude:                             Oblig Name:
  Income Type:                          Oblig Bal:
  Income Amt:                           Oblig Pmt:
  Inspection Information
  Date Insp:     7/14/2020              Comments:
  Returned:                             Personals onsite.
  Reps Initials: RIT-CA
                                        Recommend:
  Wint'd:

  Sec'd:




                                                                              GOLDWATER_000548

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  Fannie Mae - Property Inspection Report
  L. Loan Information
  Name of mortgagor:                                Servicer:                       Loan Number:      Servicer Loan number:
  Artur Elizarov                                    West Star Mortgage Co                             909216931
  Property Address:                                 Property Type:                  KeyCode:          Lock Box:
  291 W. OVerlook Road Palm Springs CA              SING FAM
  If mfd home is it permanently attached to the foundation? n/a                     Reason for Inspection: Collections
  I. Inspector Information
  Date of inspection: 7/14/2020                      InspectedBy: RIT-CA
  Inspection company: National Field Reps, Inc                                      Inspector signature:
  A. Access
  Were you able to complete
                                    Did lockbox combo or key code provided work?
  interior Inspection? No                                                                  If an inspection wasn't able to be
                                    n/a
  If no, indicate why: Interior                                                            completed, why?
                                    Corrected key code:
  inspection not ordered
  1. General Information
  1.1 What is the occupancy         1.5 Violations Dated:                                  1.9 Is the exterior maintained by an
  status? Occupied                                                                         HOA? No
                                    1.6 Has the issue cited on the violation been
  1.2 If occupied, property         resolved?     n/a                                      1.10 Is the property connected to
  occupied by: UNKNOWN                                                                     sewer or septic?
                                    1.7 Present at property:
  1.3 Are there violations
  posted? No
                                    1.8 Are there any potential hazards at the property
  1.4 If Yes, violations for:       that could damage an adjoining property?      No

  2. Main structure
  2.1 How many doors are            2.7 Are there damages to the foundation?        No     2.12 Are there any drainage
  boarded? 0                                                                               concerns? Unk
                                    2.8 Do any decks and/or porches appear to be
  2.2 How many exterior doors       unacceptable/unsafe? No                                2.13 Do any crawl spaces / vents /
  are broken? 0                                                                            lines need to be secured or
                                    2.9 Any handrails damaged or missing from              covered?
  2.3 How many exterior doors       steps? No
  need to be secured? 0                                                                    2.14 Are any drain pipes missing or
                                    2.10 Any damaged gutters or disconnected               damaged? Unk
  2.4 How many windows are          gutters? No
  boarded? 0                                                                               2.15 Is there a tarp on the roof of the
                                    2.11 Any damaged/disconnected downspouts or            main dwelling? No
  2.5 How many windows are          extensions? No
  broken? 0                                                                                2.16 Is there any obvious roof
                                                                                           damage on the main dwelling?          No
  2.6 Are any shutters in need of
  repair? No
  3. Detached structures
  3.1 The following are tarped:     3.4 The following have exterior surfaces that need     3.6 The following are in disrepair:
                                    repair:

  3.2 The following are boarded:                                                           3.7 The following have graffiti:
                                    3.5 The following require roof repairs:

  3.3 The following are unsecure:



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                                       #:2014
                                       #:3860

  4. Pool
  4.1 Is there a pool present?         4.2 Does the pool / Hot Tub / Spa need to      4.4 Is the fence / gate / lanai surrounding
      [X] Unknown                      be treated?                                    the pool damaged?

  Is there a Hot tub / Spa present?    4.3 Does the pool / hot tub need to be         4.5 Is pool / hot tub equipment missing?
      [X] None                         properly secured by a fence / gate / lanai?        Unknown


  5. Yard
  5.1 Is there debris in the           5.4 Does the lawn need                         5.6 Do trees and bushes need to be
  yard? No                             maintenance? No                                trimmed back from the structure? No

  5.2 Is there personal property in    5.5 Does the property have overgrown           5.7 Does the lawn need edging?       No
  the yard? Yes                        weeds or invasive species? No
                                                                                      5.8 Are all paved areas free of snow and
  5.3 Does fencing around property                                                    ice?
  need repair? No

  6. Utilities
  6.1 Which utility meters are         6.3 Are there any shared utilities?      No
  present?
      [X] Electric [X] Water           6.4 Does the water need to be turned off at
  [X] Gas                              the curb? No

  6.2 Which utilities are on?
      [X] Electric [X] Water [X]
  Gas

  7. General Exterior
  7.1 Are there any environmental      7.3 Is there an above ground propane tank      7.5 Are there required exterior
  concerns?     No                     on the property? No                            repairs? No

  7.2 Is there a leaking oil tank on   7.4 Is there graffiti on the property?    No
  the property? No

  7.6 Comments
       Personals onsite.

  8. Kitchen / Bathroom / Utility
  8.1 Is built in microwave            8.7 Is ventilation hood present?               8.12 Are any toilets missing?
  present?
                                       8.8 Is clothes washer/dryer present?           8.13 Are any tubs/showers missing?
  8.2 Is cook top present?
                                       8.9 Is any Other appliance present?            8.14 Are any plumbing fixtures or pipe
  8.3 Is Dishwasher present?                                                          missing?
                                       8.10 Are any GFCI outlets missing in wet
  8.4 Is Garbage Disposal              areas?                                         8.15 Are any water heaters missing?
  present?
                                       8.11 Are any HVAC components missing           8.16 Is the electrical panel damaged or
  8.5 Is Range present?                (inside or out)?                               missing?

  8.6 Is Refrigerator present?

  9. Basement
  9.1 Is a crock present for a sump    9.3 Sump pump not operational
  pump?                                because:

  9.2 Is the sump pump                 9.4 Does the basement appear to have water



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                                       #:2015
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  operational?   n/a          penetration?


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  10. General Interior
  10.1 Is there Personal Property in the             10.4 If discoloration is present does it            10.9 Does the water need to be turned
  house? Yes                                         appear to be causing further damage?                off at the main interior?

  10.2 Are cover plates missing or wires 10.5 Are there holes present?                                   10.10 Is there raw or perishable
  uncapped?                                                                                              garbage present?
                                         10.6 Does the attic appear to have
  10.3 Do the floors have holes or trip damage?                                                          10.11 Which detectors are
  hazards that might cause personal                                                                      present?
  injury?                                10.7 Does there appear to be a rodent/insect
                                         infestation?                                                    10.12 Which detectors are functioning
                                                                                                         properly?
                                                     10.8 Winterization status:
                                                                                                         10.13 Are there any required
                                                                                                         repairs?

  10.14 Comments - Interior
  11. General Condition
  11.1 Are there signs of insurable                  11.4 General condition of property
  damages?
                                                     [X] C2 Very minor work needed to bring
                                                     property up to good condition
  11.2 How would you characterize the
  neighborhood? Stable

  11.3 How does the property compare
  to neighborhood standards?
      [X] At
  I represent and warrant that I have conducted a visual only inspection of this property and that, to the best of my knowledge and belief, the
  information contained in this report is accurate. I am not a licensed electrician, plumber, mold specialist, HVAC contractor or structural engineer.




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                                  Your response: [ Request Inspection | Request Work Order | No Work Needed | Decide Later ]
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                                                                                                                                          PO Box 1440, Claremont, NH 03743
                                                                                                                                                     Phone: (603) 543-1000
                                                                                                                                                       Fax: (603) 543-1818

  Inspection #909216931                                                               Inspected: 7/14/2020




         Property Condition - #1              Property Condition - #2
                                                                                   Property Condition - #3
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  Property Information                    ▲


   Loan #:            909216931
   Loan Type:         FNMA      Artur Elizarov
                                291 W. OVerlook Road
   Date FTV:                    Palm Springs, CA 92264
   Secured:
                                    Key Code:
   Winterized:
                                    Lockbox:
   Conv Cond:

               Special Forms
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                                       #:3864

                                                                              PO Box 1440, Claremont, NH 03743
                                                                                         Phone: (603) 543-1000
                                                                                           Fax: (603) 543-1818

  Inspection Results
  West Star Mortgage Co                 ATTN:          Leticia Aguilar
  Artur Elizarov                        Loan #:        909216931
  291 W. OVerlook Road                  Loan Type: FNMA
  Palm Springs, CA 92264                Insp Type:     Form30
                                        Insp Chg:
  Occupancy Information                 Property Condition
  Occ:         Occupied                 Condition:                GOOD
  For Sale:    NO                       Prop Type:                SING FAM
                                        Construction:             STUCCO
                                        Neighborhood:             Stable
  Occupied By: UNKNOWN                  House Color:              Gray\Gray
  How Verified: VISUAL                  # of Stories:             1 STORY
                                        Est Value:                250K
  Vacancy Information                   Damage / Hazards
  Elect On:      Y                      Checked only if noted
  Gas On:        Y
  Water On:      Y                      Storm:              Neglect:
  Pers. Prop: Y                         Flood:              Vandalism:
  Pool On-Site: U                       Fire:               Roof Leak:
  Pool Secure:                          Freeze:             Env Haz:
  Prop Secure:                                              Other:
  Ht of Grass: 0                        FTV Date:
  Interview Information
  Interviewee:                          Tenant Name:
  Home Phone:                           Rent Paid To:
  Work Phone:                           Tenant Phone:
  Reason Del:                           Oblig Type:
  Attitude:                             Oblig Name:
  Income Type:                          Oblig Bal:
  Income Amt:                           Oblig Pmt:
  Inspection Information
  Date Insp:     7/14/2020              Comments:
  Returned:                             Personals onsite.
  Reps Initials: RIT-CA
                                        Recommend:
  Wint'd:

  Sec'd:




                                                                              GOLDWATER_000554

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                                       #:3865

  Fannie Mae - Property Inspection Report
  L. Loan Information
  Name of mortgagor:                                Servicer:                       Loan Number:      Servicer Loan number:
  Artur Elizarov                                    West Star Mortgage Co                             909216931
  Property Address:                                 Property Type:                  KeyCode:          Lock Box:
  291 W. OVerlook Road Palm Springs CA              SING FAM
  If mfd home is it permanently attached to the foundation? n/a                     Reason for Inspection: Collections
  I. Inspector Information
  Date of inspection: 7/14/2020                      InspectedBy: RIT-CA
  Inspection company: National Field Reps, Inc                                      Inspector signature:
  A. Access
  Were you able to complete
                                    Did lockbox combo or key code provided work?
  interior Inspection? No                                                                  If an inspection wasn't able to be
                                    n/a
  If no, indicate why: Interior                                                            completed, why?
                                    Corrected key code:
  inspection not ordered
  1. General Information
  1.1 What is the occupancy         1.5 Violations Dated:                                  1.9 Is the exterior maintained by an
  status? Occupied                                                                         HOA? No
                                    1.6 Has the issue cited on the violation been
  1.2 If occupied, property         resolved?     n/a                                      1.10 Is the property connected to
  occupied by: UNKNOWN                                                                     sewer or septic?
                                    1.7 Present at property:
  1.3 Are there violations
  posted? No
                                    1.8 Are there any potential hazards at the property
  1.4 If Yes, violations for:       that could damage an adjoining property?      No

  2. Main structure
  2.1 How many doors are            2.7 Are there damages to the foundation?        No     2.12 Are there any drainage
  boarded? 0                                                                               concerns? Unk
                                    2.8 Do any decks and/or porches appear to be
  2.2 How many exterior doors       unacceptable/unsafe? No                                2.13 Do any crawl spaces / vents /
  are broken? 0                                                                            lines need to be secured or
                                    2.9 Any handrails damaged or missing from              covered?
  2.3 How many exterior doors       steps? No
  need to be secured? 0                                                                    2.14 Are any drain pipes missing or
                                    2.10 Any damaged gutters or disconnected               damaged? Unk
  2.4 How many windows are          gutters? No
  boarded? 0                                                                               2.15 Is there a tarp on the roof of the
                                    2.11 Any damaged/disconnected downspouts or            main dwelling? No
  2.5 How many windows are          extensions? No
  broken? 0                                                                                2.16 Is there any obvious roof
                                                                                           damage on the main dwelling?          No
  2.6 Are any shutters in need of
  repair? No
  3. Detached structures
  3.1 The following are tarped:     3.4 The following have exterior surfaces that need     3.6 The following are in disrepair:
                                    repair:

  3.2 The following are boarded:                                                           3.7 The following have graffiti:
                                    3.5 The following require roof repairs:

  3.3 The following are unsecure:



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                                       #:3866

  4. Pool
  4.1 Is there a pool present?         4.2 Does the pool / Hot Tub / Spa need to      4.4 Is the fence / gate / lanai surrounding
      [X] Unknown                      be treated?                                    the pool damaged?

  Is there a Hot tub / Spa present?    4.3 Does the pool / hot tub need to be         4.5 Is pool / hot tub equipment missing?
      [X] None                         properly secured by a fence / gate / lanai?        Unknown


  5. Yard
  5.1 Is there debris in the           5.4 Does the lawn need                         5.6 Do trees and bushes need to be
  yard? No                             maintenance? No                                trimmed back from the structure? No

  5.2 Is there personal property in    5.5 Does the property have overgrown           5.7 Does the lawn need edging?       No
  the yard? Yes                        weeds or invasive species? No
                                                                                      5.8 Are all paved areas free of snow and
  5.3 Does fencing around property                                                    ice?
  need repair? No

  6. Utilities
  6.1 Which utility meters are         6.3 Are there any shared utilities?      No
  present?
      [X] Electric [X] Water           6.4 Does the water need to be turned off at
  [X] Gas                              the curb? No

  6.2 Which utilities are on?
      [X] Electric [X] Water [X]
  Gas

  7. General Exterior
  7.1 Are there any environmental      7.3 Is there an above ground propane tank      7.5 Are there required exterior
  concerns?     No                     on the property? No                            repairs? No

  7.2 Is there a leaking oil tank on   7.4 Is there graffiti on the property?    No
  the property? No

  7.6 Comments
       Personals onsite.

  8. Kitchen / Bathroom / Utility
  8.1 Is built in microwave            8.7 Is ventilation hood present?               8.12 Are any toilets missing?
  present?
                                       8.8 Is clothes washer/dryer present?           8.13 Are any tubs/showers missing?
  8.2 Is cook top present?
                                       8.9 Is any Other appliance present?            8.14 Are any plumbing fixtures or pipe
  8.3 Is Dishwasher present?                                                          missing?
                                       8.10 Are any GFCI outlets missing in wet
  8.4 Is Garbage Disposal              areas?                                         8.15 Are any water heaters missing?
  present?
                                       8.11 Are any HVAC components missing           8.16 Is the electrical panel damaged or
  8.5 Is Range present?                (inside or out)?                               missing?

  8.6 Is Refrigerator present?

  9. Basement
  9.1 Is a crock present for a sump    9.3 Sump pump not operational
  pump?                                because:

  9.2 Is the sump pump                 9.4 Does the basement appear to have water



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  operational?   n/a          penetration?


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  10. General Interior
  10.1 Is there Personal Property in the             10.4 If discoloration is present does it            10.9 Does the water need to be turned
  house? Yes                                         appear to be causing further damage?                off at the main interior?

  10.2 Are cover plates missing or wires 10.5 Are there holes present?                                   10.10 Is there raw or perishable
  uncapped?                                                                                              garbage present?
                                         10.6 Does the attic appear to have
  10.3 Do the floors have holes or trip damage?                                                          10.11 Which detectors are
  hazards that might cause personal                                                                      present?
  injury?                                10.7 Does there appear to be a rodent/insect
                                         infestation?                                                    10.12 Which detectors are functioning
                                                                                                         properly?
                                                     10.8 Winterization status:
                                                                                                         10.13 Are there any required
                                                                                                         repairs?

  10.14 Comments - Interior
  11. General Condition
  11.1 Are there signs of insurable                  11.4 General condition of property
  damages?
                                                     [X] C2 Very minor work needed to bring
                                                     property up to good condition
  11.2 How would you characterize the
  neighborhood? Stable

  11.3 How does the property compare
  to neighborhood standards?
      [X] At
  I represent and warrant that I have conducted a visual only inspection of this property and that, to the best of my knowledge and belief, the
  information contained in this report is accurate. I am not a licensed electrician, plumber, mold specialist, HVAC contractor or structural engineer.




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                                                                                         PO Box 1440, Claremont, NH 03743
                                                                                                    Phone: (603) 543-1000
                                                                                                      Fax: (603) 543-1818

   Inspection #909216931                                                                   Inspected: 6/09/2020




          Property Condition - #1              Property Condition - #2
                                                                                       Property Condition - #3
                                    Thumbnails [ 1-3 ] [back to originating page]


   Property Information
   Loan #:       909216931                                      FTV:
   Loan Type: FNMA                                              Secured:
   Mortgagor: Artur Elizarov                                    Key Code:
                 291 W. OVerlook Road                           Lockbox:
                 Palm Springs, CA 92264                         Winterized:
   Address Corr:                                                Conv Cond:




                                          Special Forms... | Upload files...

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                                                                              PO Box 1440, Claremont, NH 03743
                                                                                         Phone: (603) 543-1000
                                                                                           Fax: (603) 543-1818

  Inspection Results
  West Star Mortgage Co                 ATTN:          Leticia Aguilar
  Artur Elizarov                        Loan #:        909216931
  291 W. OVerlook Road                  Loan Type: FNMA
  Palm Springs, CA 92264                Insp Type:     Form30
                                        Insp Chg:      30 5151876
  Occupancy Information                 Property Condition
  Occ:         Occupied                 Condition:                GOOD
  For Sale:    NO                       Prop Type:                SING FAM
                                        Construction:             STUCCO
                                        Neighborhood:             Stable
  Occupied By: UNKNOWN                  House Color:              Gray\Gray
  How Verified: VISUAL                  # of Stories:             1 STORY
                                        Est Value:                250K
  Vacancy Information                   Damage / Hazards
  Elect On:      Y                      Checked only if noted
  Gas On:        Y
  Water On:      Y                      Storm:            Neglect:
  Pers. Prop: Y                         Flood:            Vandalism:
  Pool On-Site: U                       Fire:             Roof Leak:
  Pool Secure:                          Freeze:           Env Haz:
  Prop Secure:                                            Other:
  Ht of Grass: 0                        FTV Date:
  Interview Information
  Interviewee:                          Tenant Name:
  Home Phone:                           Rent Paid To:
  Work Phone:                           Tenant Phone:
  Reason Del:                           Oblig Type:
  Attitude:                             Oblig Name:
  Income Type:                          Oblig Bal:
  Income Amt:                           Oblig Pmt:
  Inspection Information
  Date Insp:     6/09/2020              Comments:
  Returned:                             Vehicle onsite.
  Reps Initials: RIT-CA
                                        Recommend:
  Wint'd:

  Sec'd:




                                                                              GOLDWATER_000560

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  Fannie Mae - Property Inspection Report
  L. Loan Information
  Name of mortgagor:                                Servicer:                       Loan Number:      Servicer Loan number:
  Artur Elizarov                                    West Star Mortgage Co                             909216931
  Property Address:                                 Property Type:                  KeyCode:          Lock Box:
  291 W. OVerlook Road Palm Springs CA              SING FAM
  If mfd home is it permanently attached to the foundation? n/a                     Reason for Inspection: Collections
  I. Inspector Information
  Date of inspection: 6/09/2020                      InspectedBy: RIT-CA
  Inspection company: National Field Reps, Inc                                      Inspector signature:
  A. Access
  Were you able to complete
                                    Did lockbox combo or key code provided work?
  interior Inspection? No                                                                  If an inspection wasn't able to be
                                    n/a
  If no, indicate why: Interior                                                            completed, why?
                                    Corrected key code:
  inspection not ordered
  1. General Information
  1.1 What is the occupancy         1.5 Violations Dated:                                  1.9 Is the exterior maintained by an
  status? Occupied                                                                         HOA? No
                                    1.6 Has the issue cited on the violation been
  1.2 If occupied, property         resolved?     n/a                                      1.10 Is the property connected to
  occupied by: UNKNOWN                                                                     sewer or septic?
                                    1.7 Present at property:
  1.3 Are there violations
  posted? No
                                    1.8 Are there any potential hazards at the property
  1.4 If Yes, violations for:       that could damage an adjoining property?      No

  2. Main structure
  2.1 How many doors are            2.7 Are there damages to the foundation?        No     2.12 Are there any drainage
  boarded? 0                                                                               concerns? Unk
                                    2.8 Do any decks and/or porches appear to be
  2.2 How many exterior doors       unacceptable/unsafe? No                                2.13 Do any crawl spaces / vents /
  are broken? 0                                                                            lines need to be secured or
                                    2.9 Any handrails damaged or missing from              covered?
  2.3 How many exterior doors       steps? No
  need to be secured? 0                                                                    2.14 Are any drain pipes missing or
                                    2.10 Any damaged gutters or disconnected               damaged? Unk
  2.4 How many windows are          gutters? No
  boarded? 0                                                                               2.15 Is there a tarp on the roof of the
                                    2.11 Any damaged/disconnected downspouts or            main dwelling? No
  2.5 How many windows are          extensions? No
  broken? 0                                                                                2.16 Is there any obvious roof
                                                                                           damage on the main dwelling?          No
  2.6 Are any shutters in need of
  repair? No
  3. Detached structures
  3.1 The following are tarped:     3.4 The following have exterior surfaces that need     3.6 The following are in disrepair:
                                    repair:

  3.2 The following are boarded:                                                           3.7 The following have graffiti:
                                    3.5 The following require roof repairs:

  3.3 The following are unsecure:



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  4. Pool
  4.1 Is there a pool present?         4.2 Does the pool / Hot Tub / Spa need to      4.4 Is the fence / gate / lanai surrounding
      [X] Unknown                      be treated?                                    the pool damaged?

  Is there a Hot tub / Spa present?    4.3 Does the pool / hot tub need to be         4.5 Is pool / hot tub equipment missing?
      [X] None                         properly secured by a fence / gate / lanai?        Unknown


  5. Yard
  5.1 Is there debris in the           5.4 Does the lawn need                         5.6 Do trees and bushes need to be
  yard? No                             maintenance? No                                trimmed back from the structure? No

  5.2 Is there personal property in    5.5 Does the property have overgrown           5.7 Does the lawn need edging?       No
  the yard? Yes                        weeds or invasive species? No
                                                                                      5.8 Are all paved areas free of snow and
  5.3 Does fencing around property                                                    ice?
  need repair? No

  6. Utilities
  6.1 Which utility meters are         6.3 Are there any shared utilities?      No
  present?
      [X] Electric [X] Water           6.4 Does the water need to be turned off at
  [X] Gas                              the curb? No

  6.2 Which utilities are on?
      [X] Electric [X] Water [X]
  Gas

  7. General Exterior
  7.1 Are there any environmental      7.3 Is there an above ground propane tank      7.5 Are there required exterior
  concerns?     No                     on the property? No                            repairs? No

  7.2 Is there a leaking oil tank on   7.4 Is there graffiti on the property?    No
  the property? No

  7.6 Comments
       Vehicle onsite.

  8. Kitchen / Bathroom / Utility
  8.1 Is built in microwave            8.7 Is ventilation hood present?               8.12 Are any toilets missing?
  present?
                                       8.8 Is clothes washer/dryer present?           8.13 Are any tubs/showers missing?
  8.2 Is cook top present?
                                       8.9 Is any Other appliance present?            8.14 Are any plumbing fixtures or pipe
  8.3 Is Dishwasher present?                                                          missing?
                                       8.10 Are any GFCI outlets missing in wet
  8.4 Is Garbage Disposal              areas?                                         8.15 Are any water heaters missing?
  present?
                                       8.11 Are any HVAC components missing           8.16 Is the electrical panel damaged or
  8.5 Is Range present?                (inside or out)?                               missing?

  8.6 Is Refrigerator present?

  9. Basement
  9.1 Is a crock present for a sump    9.3 Sump pump not operational
  pump?                                because:

  9.2 Is the sump pump                 9.4 Does the basement appear to have water



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  operational?   n/a          penetration?


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  10. General Interior
  10.1 Is there Personal Property in the             10.4 If discoloration is present does it            10.9 Does the water need to be turned
  house? Yes                                         appear to be causing further damage?                off at the main interior?

  10.2 Are cover plates missing or wires 10.5 Are there holes present?                                   10.10 Is there raw or perishable
  uncapped?                                                                                              garbage present?
                                         10.6 Does the attic appear to have
  10.3 Do the floors have holes or trip damage?                                                          10.11 Which detectors are
  hazards that might cause personal                                                                      present?
  injury?                                10.7 Does there appear to be a rodent/insect
                                         infestation?                                                    10.12 Which detectors are functioning
                                                                                                         properly?
                                                     10.8 Winterization status:
                                                                                                         10.13 Are there any required
                                                                                                         repairs?

  10.14 Comments - Interior
  11. General Condition
  11.1 Are there signs of insurable                  11.4 General condition of property
  damages?
                                                     [X] C2 Very minor work needed to bring
                                                     property up to good condition
  11.2 How would you characterize the
  neighborhood? Stable

  11.3 How does the property compare
  to neighborhood standards?
      [X] At
  I represent and warrant that I have conducted a visual only inspection of this property and that, to the best of my knowledge and belief, the
  information contained in this report is accurate. I am not a licensed electrician, plumber, mold specialist, HVAC contractor or structural engineer.




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                                  Your response: [ Request Inspection | Request Work Order | No Work Needed | Decide Later ]
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                    Case
                   Case   5:21-cv-00616-JWH-SPDocument
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Case
 Case5:21-cv-00616-JWH-SP
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                                                                                                                                               CM-200
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                          FOR COURT USE ONLY




                TELEPHONE NO.:                         FAX NO. (Optional):
     E-MAIL ADDRESS (Optional):
          ATTORNEY FOR (Name):

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF      LOS ANGELES
  STREET ADDRESS:        111 N HILL ST
  MAILING ADDRESS:       111 N HILL ST
 CITY AND ZIP CODE:      LOS ANGELES 90012
     BRANCH NAME:        CENTRAL DISTRICT, STANLEY MOSK COURTHOUSE
      PLAINTIFF/PETITIONER:        ARTUR ELIZAROV
DEFENDANT/RESPONDENT:              BMW FINANCIAL SERVICES NA, LLC
                                                                                                     CASE NUMBER:

                                                                                                                 19STCV08507
                           NOTICE OF SETTLEMENT OF ENTIRE CASE                                       JUDGE:   LIA MARTIN
                                                                                                     DEPT.:   16

                                        NOTICE TO PLAINTIFF OR OTHER PARTY SEEKING RELIEF
   You must file a request for dismissal of the entire case within 45 days after the date of the settlement if the settlement is
   unconditional. You must file a dismissal of the entire case within 45 days after the date specified in item 1b below if the settlement
   is conditional. Unless you file a dismissal within the required time or have shown good cause before the time for dismissal has
   expired why the case should not be dismissed, the court will dismiss the entire case.


To the court, all parties, and any arbitrator or other court-connected ADR neutral involved in this case:
1. This entire case has been settled. The settlement is:
    a.              Unconditional. A request for dismissal will be filed within 45 days after the date of the settlement.
                    Date of settlement: 05/22/2019
    b.              Conditional. The settlement agreement conditions dismissal of this matter on the satisfactory completion of
                    specified terms that are not to be performed within 45 days of the date of the settlement. A request for dismissal will
                    be filed no later than (date):

2. Date initial pleading filed:         03/11/2019
3. Next scheduled hearing or conference:
     a. Purpose:         CASE MANAGEMENT CONFERENCE, OSC RE: PROOF OF SERVICE
     b.            (1)   Date: 07/29/19
                   (2)   Time: 9:00 AM
                   (3)   Department: 16

4. Trial date:
     a.            No trial date set.
     b.            (1) Date:
                   (2) Time:
                   (3) Department:

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
    05/22/19
Date:
ILYA ALEKSEYEFF                                                                            /s/ Ilya Alekseyeff
(TYPE OR PRINT NAME OF             ATTORNEY           PARTY WITHOUT ATTORNEY)                                  (SIGNATURE)



                                                                                                                                                 Page 1 of 2
Form Adopted for Mandatory Use
  Judicial Council of California
                                                 NOTICE OF SETTLEMENT OF ENTIRE CASE                                         Cal. Rules of Court, rule 3.1385
                                                                                                                                       www.courtinfo.ca.gov
 CM-200 [Rev. January 1, 2007]




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          PLAINTIFF/PETITIONER:       ARTUR ELIZAROV                                              CASE NUMBER:

                                                                                                                 19STCV08507
 DEFENDANT/RESPONDENT:                BMW FINANCIAL SERVICES NA, LLC
                                            PROOF OF SERVICE BY FIRST-CLASS MAIL
                                                NOTICE OF SETTLEMENT OF ENTIRE CASE

(NOTE: You cannot serve the Notice of Settlement of Entire Case if you are a party in the action. The person who served
the notice must complete this proof of service.)

1. I am at least 18 years old and not a party to this action. I am a resident of or employed in the county where the mailing took
   place, and my residence or business address is (specify):




2.   I served a copy of the Notice of Settlement of Entire Case by enclosing it in a sealed envelope with postage
     fully prepaid and (check one):
     a.        deposited the sealed envelope with the United States Postal Service.
     b.            placed the sealed envelope for collection and processing for mailing, following this business's usual practices,
                   with which I am readily familiar. On the same day correspondence is placed for collection and mailing, it is
                   deposited in the ordinary course of business with the United States Postal Service.

3. The Notice of Settlement of Entire Case was mailed:
     a. on (date):
     b. from (city and state):


4. The envelope was addressed and mailed as follows:
     a. Name of person served:                                      c. Name of person served:

           Street address:                                             Street address:
           City:                                                       City:
           State and zip code:                                         State and zip code:


     b. Name of person served:                                      d. Name of person served:

           Street address:                                             Street address:
           City:                                                       City:
           State and zip code:                                         State and zip code:

             Names and addresses of additional persons served are attached. (You may use form POS-030(P).)
5. Number of pages attached ______.

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date:




                       (TYPE OR PRINT NAME OF DECLARANT)                                     (SIGNATURE OF DECLARANT)




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                                                   NOTICE OF SETTLEMENT OF ENTIRE CASE


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 CASE INFORMATION
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 Held

 Case Number: 19STCV08507
 ELIZAROV ARTUR VS BMW FINANCIAL SERVICES NA, LLC
 Filing Courthouse: Stanley Mosk Courthouse
 Filing Date: 03/11/2019
 Case Type: Other Commercial/Business Tort (not fraud/ breach of contract) (General Jurisdiction)
 Status: Request for Dismissal - Before Trial not following ADR or more than 60 days since ADR 08/14/2019

 Click here to access document images for this case
 If this link fails, you may go to the Case Document Images site and search using the case number displayed on this page




 FUTURE HEARINGS
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 None



 PARTY INFORMATION
 Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings
 Held

 ALEKSEYEFF ILYA - Attorney for Plaintiff

 ARTUR ELIZAROV - Plaintiff

 BMW FINANCIAL SERVICES NA LLC - Defendant

 CALEY REBECCA - Attorney for Defendant




 DOCUMENTS FILED
 Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings
 Held

 Documents Filed (Filing dates listed in descending order)
 08/16/2019 Notice of Entry of Dismissal and Proof of Service
 Filed by ELIZAROV ARTUR (Plaintiff)

 08/14/2019 Declaration (of Ilya Alekseyeff re OSC re sanctions for failure to appear)
 Filed by ELIZAROV ARTUR (Plaintiff)

 08/14/2019 Request for Dismissal
 Filed by ELIZAROV ARTUR (Plaintiff)

 08/08/2019 Notice (of OSC re Sanctions for Plaintiff's Counsel's Failure to Appear at the July 26, 2019 OSC re Dismissal
 (Settlement) and Continuance of OSC re Dismissal (Settlement))
 Filed by BMW FINANCIAL SERVICES NA, LLC (Defendant)

 07/26/2019 Minute Order ( (Order to Show Cause Re: Dismissal (Settlement)))
 Filed by Clerk



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                                                                #:2078
                                                                #:3922
 07/26/2019 Stipulation and Order (Stipulation That the Court May Retain Jurisdiction to Enforce the Settlement Agreement
 Pursuant to CCP ¿664.6; and Order Thereon)
 Filed by BMW FINANCIAL SERVICES NA, LLC (Defendant)

 05/22/2019 Order to Show Cause re: Dismissal (Settlement)
 Filed by Clerk

 05/22/2019 Proof of Service (not Summons and Complaint)
 Filed by ELIZAROV ARTUR (Plaintiff)

 05/22/2019 Notice of Settlement
 Filed by ELIZAROV ARTUR (Plaintiff)

 05/03/2019 Answer
 Filed by BMW FINANCIAL SERVICES NA, LLC (Defendant)

 04/10/2019 Proof of Personal Service
 Filed by ELIZAROV ARTUR (Plaintiff)

 04/03/2019 First Amended Complaint
 Filed by ELIZAROV ARTUR (Plaintiff); ELIZAROV ARTUR (Plaintiff)

 04/03/2019 Amended Complaint 1st
 Filed by ELIZAROV ARTUR (Plaintiff)

 03/22/2019 Order to Show Cause (Hearing)
 Filed by Clerk

 03/22/2019 Order to Show Cause Failure to File Proof of Service
 Filed by Clerk

 03/22/2019 Notice of Case Management Conference
 Filed by Clerk

 03/19/2019 Proof of Personal Service
 Filed by ELIZAROV ARTUR (Plaintiff)

 03/13/2019 Summons (on Complaint)
 Filed by ELIZAROV ARTUR (Plaintiff)

 03/11/2019 Notice of Case Assignment - Unlimited Civil Case
 Filed by Clerk

 03/11/2019 Civil Case Cover Sheet
 Filed by ELIZAROV ARTUR (Plaintiff)

 03/11/2019 Complaint
 Filed by ELIZAROV ARTUR (Plaintiff)



 PROCEEDINGS HELD
 Case Information | Register Of Actions | FUTURE HEARINGS | PARTY INFORMATION | Documents Filed | Proceedings
 Held

 Proceedings Held (Proceeding dates listed in descending order)
 09/06/2019 at 09:00 AM in Department 16
 Order to Show Cause Re: (Monetary Sanctions Against Plaintiff's Counsel for Failure to Appear at OSC hearing of 07-26-19)
 - Not Held - Vacated by Court

 09/06/2019 at 09:00 AM in Department 16
 Order to Show Cause Re: Dismissal (Settlement) - Not Held - Vacated by Court



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 07/29/2019 at 09:00 AM in Department 16                         #:2079
                                                                 #:3923
 Order to Show Cause Re: (Entry of Default;) - Not Held - Vacated by Court

 07/29/2019 at 09:00 AM in Department 16
 Order to Show Cause Re: Failure to File Proof of Service - Not Held - Vacated by Court

 07/29/2019 at 09:00 AM in Department 16
 Case Management Conference - Not Held - Vacated by Court

 07/26/2019 at 09:00 AM in Department 16
 Order to Show Cause Re: Dismissal (Settlement) - Held - Continued




 REGISTER OF ACTIONS
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 Held

 Register of Actions (Listed in descending order)
 09/06/2019 at 09:00 AM in Department 16
 Order to Show Cause Re: Dismissal (Settlement) - Not Held - Vacated by Court

 09/06/2019 at 09:00 AM in Department 16
 Order to Show Cause Re: (Monetary Sanctions Against Plaintiff's Counsel for Failure to Appear at OSC hearing of 07-26-19)
 - Not Held - Vacated by Court

 08/16/2019 Notice of Entry of Dismissal and Proof of Service
 Filed by ELIZAROV ARTUR (Plaintiff)

 08/14/2019 Request for Dismissal
 Filed by ELIZAROV ARTUR (Plaintiff)

 08/14/2019 Declaration (of Ilya Alekseyeff re OSC re sanctions for failure to appear)
 Filed by ELIZAROV ARTUR (Plaintiff)

 08/08/2019 Notice (of OSC re Sanctions for Plaintiff's Counsel's Failure to Appear at the July 26, 2019 OSC re Dismissal
 (Settlement) and Continuance of OSC re Dismissal (Settlement))
 Filed by BMW FINANCIAL SERVICES NA, LLC (Defendant)

 07/29/2019 at 09:00 AM in Department 16
 Case Management Conference - Not Held - Vacated by Court

 07/29/2019 at 09:00 AM in Department 16
 Order to Show Cause Re: Failure to File Proof of Service - Not Held - Vacated by Court

 07/29/2019 at 09:00 AM in Department 16
 Order to Show Cause Re: (Entry of Default;) - Not Held - Vacated by Court

 07/26/2019 at 09:00 AM in Department 16
 Order to Show Cause Re: Dismissal (Settlement) - Held - Continued

 07/26/2019 Minute Order ( (Order to Show Cause Re: Dismissal (Settlement)))
 Filed by Clerk

 07/26/2019 Stipulation and Order (Stipulation That the Court May Retain Jurisdiction to Enforce the Settlement Agreement
 Pursuant to CCP ¿664.6; and Order Thereon)
 Filed by BMW FINANCIAL SERVICES NA, LLC (Defendant)

 05/22/2019 Proof of Service (not Summons and Complaint)
 Filed by ELIZAROV ARTUR (Plaintiff)

 05/22/2019 Notice of Settlement
 Filed by ELIZAROV ARTUR (Plaintiff)

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 Filed by Clerk

 05/03/2019 Answer
 Filed by BMW FINANCIAL SERVICES NA, LLC (Defendant)

 04/10/2019 Proof of Personal Service
 Filed by ELIZAROV ARTUR (Plaintiff)

 04/03/2019 Amended Complaint 1st
 Filed by ELIZAROV ARTUR (Plaintiff)

 04/03/2019 First Amended Complaint
 Filed by ELIZAROV ARTUR (Plaintiff); ELIZAROV ARTUR (Plaintiff)

 03/22/2019 Order to Show Cause (Hearing)
 Filed by Clerk

 03/22/2019 Notice of Case Management Conference
 Filed by Clerk

 03/22/2019 Order to Show Cause Failure to File Proof of Service
 Filed by Clerk

 03/19/2019 Proof of Personal Service
 Filed by ELIZAROV ARTUR (Plaintiff)

 03/13/2019 Summons (on Complaint)
 Filed by ELIZAROV ARTUR (Plaintiff)

 03/11/2019 Complaint
 Filed by ELIZAROV ARTUR (Plaintiff)

 03/11/2019 Civil Case Cover Sheet
 Filed by ELIZAROV ARTUR (Plaintiff)

 03/11/2019 Notice of Case Assignment - Unlimited Civil Case
 Filed by Clerk




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                                           #:3925

Andrea Cross

From:                                           Andrea Cross
Sent                                            Thursday, March 25, 202111:51 AM
To:                                             Artur Elizarov
Subject:                                         RE: Unisom




Understood )we'll note our file.



                        WARNING! WIRE FRAUD ADVISORY
      Before sending funds, always call your Escrow team to vcrftv wire inlbr.maLio




                                 ESC          $,9rHE1wSST




                                       Andrea Cross
                                    Senior Escrow Officer


                    94.10 Santa Monica Bud. Suite 310, Beverly l•:l:ills, CA. 90210
                         I'. (310)402-5553ext.2071 jE-Fex. (310)402'5556
                                       Direct. (310)402-5170
                                      nvw,escrowof1hevesr corn

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                                       click here for disclosure


      We   are always looking for ways to improve our service. Please take amoment to
                   complete this short survey about your recent experience.




From: Artur Elizarov [maiIto:artur.elizarovgmail.com]
Sent: Thursday, March 25, 202111:43 AM
To: Andrea Cross <andrea@escrowofthewest.com>
Subject: Re: Unisom


Let's close then. Well now it makes sense. These guys are amess. No more communication with Peter. That
clears up my agreement with other unisom cause Ialso didn't understand why the bank is involved Jesus!

Art                                                                                             EXHIBIT

                                                                                                 26
On Thu, Mar 25, 2021 at 2:41 PM Andrea Cross <andrea@escrowofthewest,com> wrote:


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Attached is the Prelim    -




As of 3/3/21, Unisom is the only secured lien




                    WARNING! WIRE FRAUD ADVISORY


    Before sending funds, always call your Escrow team to verify wire information




                                   Andrea Cross


                               Senior Escrow Officer




                9440 Santa Monica Blvd. Suite 310. Beverly Hills CA. 902 tO


                    P. (310)402-5555 ext. 20711 l-Fax. (310) 402-5556


                                  Di r
                                     ect. (310) 402-5470


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   We are always looking for ways to improve our service. Please take amoment to
              complete this short survey about your recent experience.




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  Case5:21-cv-00616-JWH-SP
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                                      #:3927




From: Artur Elizarov [maiIto:artur.eIizarovgmaiI.com]
Sent: Thursday, March 25, 202111:37 AM
To: Andrea Cross candrea'escrowofthewest,com>
Subject: Re: Unisom




Is coidwater bank on title report? IF not this makes it easier toclose. This unisom thing is amess so Idont
understand if that is the total payoff.




On Thu, Mar 25, 2021 at 11:24 AM Andrea Cross <andrea@escrowoflhewest.com> wrote:

Sent!




                    WARNING! WIRE FRAUD ADVISORY


    Before send i
                ng funds, always call your    Escrow learn   to verify wire   iuforniaiion




                                   Andrea Cross


                               Senior Escrow Officer




                9440 Santa Monica Blvd. Suite 310. Beverly Hills, CA. 90210




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Case
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                                     #:3928
                     P.(310)402-5555ext2071    IE-Fn    (310)402-5556


                                 Direct (310) 402-5470


                               www.escrowofthewest.com




                                click here for disclosure




   We are always looking for ways to improve our service, Please take amomeni: to
              complete this short survey about your recent experience.




From: Artur EUzarov [maiIto:artur.eIizarovgmaflcomJ
Sent: Thursday, March 25, 202111:20 AM
To: Andrea Cross <andrea@escrowofthewest.com>
Subject: Re: Unisom




Can usend to Peter ASAP please




On Thu, Mar 25, 2021 at 2:19 PM Andrea Cross <andrew2.escrowofthewest.com> wrote:


 Revised   -




Can you send me copy of the mechanic lien? Its not showing on Prelim




                     WARNING! WIRE FRAUD ADVISORY

     Before sending thnds, always call your Escrow team to verify wile information




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Case
 Case5:21-cv-00616-JWH-SP
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                                      Andrea Cross


                                  Senior Escrow Officer




                   9440 Santa Monica Blvd, Suite 310 Beverly Hills, CA, 90210


                       P. (310) 402-5555 ext. 2071   It-Fox.   (310) 402-5556


                                     Direct. (310) 402-5470


                                   w'vw,escrvv,oftFwçcç,jp




                                     click here for disclosure




   We are always   looking for ways to improve our service. Please take it            moment to
             complete    this short survey about your recent experience.




From: Artur Elizarov [mailto:artur.elizarov@gmaiLcom]
Sent: Thursday, March 25, 202111:16 AM
To: Andrea Cross candrea@escrowofthewest.com>
Subject: Re: Unisom




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Case
 Case5:21-cv-00616-JWH-SP
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                                     #:3930
Jourymen Construction, LLC




On Thu, Mar 25, 2021 at 11:14 AM Artur Elizarov <artur.elizarov                          gmail.com> wrote:


 no the 107 is not coidwater its alean for consturciotn.




 On Thu, Mar 25, 2021 at 11:13 AM Artur Elizarov <artur.elizarov                         i gmail.corn>   wrote:


 Yes please




 On Thu, Mar 25, 2021 at 2:12 PM Andrea Cross <andrea@escrowofthewest.com> wrote:

  Please see attached and let me know if approved to send?




                        WARNING! WIRE FRAUD ADVISORY

       Before sending funds, always call your l:scrow team to verify wire inibrniation




                                       Andrea Cross

                                   Senior Escrow Officer




                    9440 santa Monica Blvd. Suite 310, Beverly Hills, CA. 90210




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                       P. (310)402-5555 ext. 2071   1
                                                    E;Fax. (310)402-5556


                                     Direct. (,1(1)402-5 ,170


                                  www.escrowofthewest.com




                                          'nil

                                    click here for disclosure




      We are always looking for ways to improve our service. Please take a moment   to
                 complete this short survey about your recent experience.




  From: Artur Etizarov [maiIto:artur.elizarov@gmaihcom]
  Sent: Thursday, March 25, 202111:06 AM
  To: Andrea Cross <andreaescrowofthewest.com>
  Subject: Re: Unisom




  anyway to include the incoming lean amount and just send it to them so they can figure out what they are
  going to waive? The amount is 107,270.




  On Thu, Mar 25, 2021 at 10:42 AM Andrea Cross <andrewä)escrowofthewest.eom> wrote:

   Will do!




                        WARNING! WIRE FRAUD ADVISORY

       Before sending funds, always call your Escrow team to verify wite   into




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                                          Andrea Cross

                                      Senior Escrow Officer




                      9440 Santa Monica Blvd, Suite 310, Beverly I-lifts, CA, 90210


                          P. (310) 402-5555 ext. 20711 E-Fax. (310)402-5556


                                         Direct (310)402-5470




                                        click here for disclosure




      We are alwayslooking lbr ways to improve our service. Please lake amoment       to
                complete this short survey about your recent experience.




   From: Artur Elizarov [maiIto:artur.eHzarovgmail.com]
   Sent: Thursday, March 25, 202110:42 AM
   To: Andrea Cross candrea@escrowofthewest.com>
   Subject: Unisom




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   Andrea-




   Can you provide the Unisom Letter along with just the closing costs and purchase price to Pete at
   coidwater bank. Please tell him you are still working on the the full itemized closing statement and will
   provide once its ready.




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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.          5:21-cv-00616-JWH (SPx)                                       Date   August 3, 2022
 Title             Goldwater Bank, N.A. v. Artur Elizarov, et al.




 Present: The                     Sheri Pym, United States Magistrate Judge
 Honorable
                Kimberly Carter                                None                             None
                 Deputy Clerk                        Court Reporter / Recorder                Tape No.
                Attorneys Present for Plaintiff:                     Attorneys Present for Defendant:
                         None Present                                         None Present
 Proceedings:                 (In Chambers) Order Denying Defendant/Counter-Claimant’s Ex Parte
                              Application to Stay Compliance With Subpoenas But Ordering
                              Sequestration of Responsive Information [171]



       On July 31, 2022, defendant/counter-claimant Artur Elizarov filed an ex parte
application (“App.”) for an order staying compliance with third-party subpoenas. Docket
nos. 171-72. The application is supported by the declaration of defendant’s counsel Ilya
Alekseyeff (“Alekseyeff Decl.”) and multiple exhibits. Plaintiff/cross-defendant
Goldwater Bank, N.A. opposed the application on August 2, 2022. Opp., docket no. 173.
It appears the other parties do not oppose or take a position on the application. Defendant
filed a reply on August 2, 2022. Docket no. 174. For the following reasons, the court
denies defendant’s application, but orders sequestration of responsive information until
resolution of defendant’s planned motion to quash.

       On June 29, 2022, defendant’s counsel advised all other counsel in this case that he
would be occupied by a criminal trial from approximately July 27 to August 5, 2022. See
Alekseyeff Decl. ¶¶ 18-22, 27. On July 28, 2022, plaintiff notified defendant of three
subpoenas duces tecum served on eCivis, Inc., PaeDae, Inc., and Rite Care Hospice, Inc.
Id. ¶¶ 4-8. Defendant immediately contacted plaintiff to explain that he intended to
object to the subpoenas on privacy grounds. Id. ¶¶ 30-32. Defendant asked plaintiff to
stay compliance with the subpoenas until defendant could file a motion to quash, which
defense counsel would be unable to submit until after the end of his trial. Id. ¶ 32.
Defense counsel claims he needs until at least August 15, 2022 to file his motion, three
days before compliance with the subpoenas is required. App. at 3.


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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       5:21-cv-00616-JWH (SPx)                              Date   August 3, 2022
 Title          Goldwater Bank, N.A. v. Artur Elizarov, et al.

       Plaintiff opposes a stay, arguing that what matters is that defendant will be able to
file a motion before August 18, even if it is not ruled on until after compliance with the
subpoenas. See Opp. at 3. If the subpoenaed entities produce documents, plaintiff offers
to keep them sequestered until the court resolves the parties’ dispute. See id. Plaintiff
contends that staying compliance will delay the proceedings unnecessarily. See id.
Plaintiff also argues the merits of its subpoenas as part of its opposition. See id. at 2-5.

        In his reply, defendant contends that the information requested by the subpoenas is
irrelevant to this case. See Reply at 2-3. He also argues that plaintiff’s offer to sequester
responsive documents is insufficient to protect his privacy because plaintiff’s counsel
engaged in gamesmanship by serving the subpoenas while defense counsel was busy with
his trial. See id. at 3. Simply put, defense counsel does not trust plaintiff’s counsel’s
unenforceable promise to not look at responsive documents until the motion to quash is
resolved. See id.

       “Ex parte motions are rarely justified . . . .” Mission Power Eng’g Co. v. Cont’l
Cas. Co., 883 F. Supp. 488, 490 (C.D. Cal. 1995). To justify ex parte relief, the moving
party must, at a minimum, show: (1) its “cause will be irreparably prejudiced if the
underlying motion is heard according to regular noticed motion procedures”; and (2) “the
moving party is without fault in creating the crisis that requires ex parte relief, or that the
crisis occurred as a result of excusable neglect.” Id. at 492. In addition, Central District
of California Local Rule 37-3 provides that “[u]nless the Court in its discretion otherwise
allows, no discovery motions may be filed or heard on an ex parte basis absent a showing
of irreparable injury or prejudice not attributable to the lack of diligence of the moving
party.”

       Here, starting with the second Mission Power factor, defendant acted promptly to
preserve his challenge to the subpoenas. Defense counsel is currently trying what
appears to be a sensitive criminal case, and so it cannot be persuasively argued that he is
at fault in creating the crisis that necessitated the instant application to stay.

       As for the first factor, however, the court is not convinced that defendant would be
irreparably prejudiced if compliance is allowed subject to sequestration until the motion
to quash is resolved. In fact, Federal Rule of Civil Procedure 45 provides that whenever
information responsive to a subpoena is subject to a claim of privilege, the subpoenaing
party may sequester the information until determination of the privilege claim. See Fed.
CV-90 (06/04)                              CIVIL MINUTES - GENERAL                       Page 2 of 3
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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
 Case No.       5:21-cv-00616-JWH (SPx)                              Date   August 3, 2022
 Title          Goldwater Bank, N.A. v. Artur Elizarov, et al.

R. Civ. P. 45(e)(2)(B). This principle is just as applicable to a claim of privacy, which
unlike a traditional privilege, is not an absolute bar to discovery. Allen v. Woodford,
2007 WL 309485, at *6 (E.D. Cal. Jan. 30, 2007) (citation omitted). The court
recognizes that plaintiff’s timing in serving the subpoenas was not ideal, but the court is
hesitant to find a bad motive simply because of that. Indeed, the discovery cut-off date is
fast-approaching, so it is not unreasonable for all parties to pursue any remaining
discovery as quickly as possible. Additionally, an order to sequester responsive
documents will not be unenforceable as defendant argues. Plaintiff and its counsel may
be subject to sanctions if they view or attempt to use any of the responsive documents
without the court’s prior approval.

       Accordingly, because defendant fails to satisfy the first Mission Power factor, his
ex parte application for an order staying compliance with plaintiff’s subpoenas (docket
no. 171) is denied. Nevertheless, under its discretion to manage discovery, the court
orders plaintiff to sequester all information obtained through the subpoenas until the
court rules on defendant’s planned motion to quash. Neither plaintiff nor its counsel nor
other representative may review, disseminate, or use the subpoenaed information until the
court issues an order resolving defendant’s privacy claims. To avoid additional delay, the
parties are ordered to follow the procedures for non-discovery motions set forth in Local
Rules 6-1 and 7. Counsel must meet and confer about defendant’s contemplated motion
to quash and any potential resolution no later than August 9, 2022. If the parties are
unable to resolve their dispute, defendant must file his motion no later than August 16,
2022 and notice it for hearing on September 13, 2022.




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     Sean C. Wagner (Pro Hac Vice)
 1   Derek M. Bast (Pro Hac Vice)
     WAGNER HICKS PLLC
 2
     831 East Morehead Street, Suite 860
 3
     Charlotte, North Carolina 28202
     Tel: (704) 705-7538
 4
     Fax: (704) 705-7787
 5   John Forest Hilbert, Esq. (SBN 105827)
     Joseph A. LeVota, Esq. (SBN 226760)
 6   HILBERT & SATTERLY LLP
     409 Camino del Rio S. #104
 7   San Diego, California 92108
     Telephone: (619) 795-0300
 8   Facsimile: (619) 501-6855
 9   Counsel for Plaintiff
     GOLDWATER BANK, N.A.
10

11                           UNITED STATES DISTRICT COURT
12                         CENTRAL DISTRICT OF CALIFORNIA
13

14    GOLDWATER BANK, N.A.,                         Case No. 5:21-cv-00616-JWH-SPx
15                        Plaintiff,
                                                    PLAINTIFF GOLDWATER BANK,
16          v.                                      N.A.’S RESPONSES TO ARTUR
                                                    ELIZAROV’S FIRST SET OF
17    ARTUR ELIZAROV, ET AL.                        INTERROGATORIES
18                        Defendants.
19

20

21
     PROPOUNDING PARTY:                Defendant Artur Elizarov
22
     ANSWERING PARTY:                  Plaintiff Goldwater Bank, N.A.
23
     SET NO.:                          One
24
           NOW COMES Plaintiff Goldwater Bank, N.A. (“Goldwater”), by and through
25
     counsel, and responds to Defendant Artur Elizarov’s (“Elizarov”) First Set of
26
     Interrogatories (the “Interrogatories”) as follows:
27

28




                     GOLDWATER’S RESPONSES TO ELIZAROV’S INTERROGATORIES - 1
                                              185
 Case
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11   2. Does GOLDWATER contend that ELIZAROV made false statements of fact in
12   FORBEARANCE APPLICATION that GOLDWATER found important in deciding
13   whether to approve FORBEARANCE APPLICATION? If so, state:
14                2.1. All facts on which GOLDWATER based its contention, including, at
15   the minimum, each false statement of fact, the reasons why GOLDWATER contends that
16   each such statement was false, and the reasons why GOLDWATER found each such
17   statement important in deciding whether to approve FORBEARANCE APPLICATION;
18                2.2. Legal name and CONTACT INFORMATION of each WITNESS who
19   has personal first-hand knowledge of the facts stated in the answer to subpart 2.1 and a
20   description of the means by which each WITNESS learned those facts;
21                2.3. A description of all EVIDENCE that supports the existence of the facts
22   stated in the answer to subpart 2.1; and
23                2.4. Legal name and CONTACT INFORMATION of each PERSON who
24   currently has custody, possession, or control of each item of EVIDENCE stated in the
25   answer to subpart 2.3.
26         RESPONSE:           Goldwater objects to Interrogatory No. 2 to the extent it is
27   a contention interrogatory that potentially seeks attorney-client privileged and
28   attorney-work product information. This matter is in the early stage of discovery,



                     GOLDWATER’S RESPONSES TO ELIZAROV’S INTERROGATORIES - 4
                                                186
 Case
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 1   and Goldwater’s views about the application of the facts to the relevant law are
 2   subject to change as discovery progresses. Goldwater further objects to this request
 3   to the extent it asks for information outside of Goldwater’s possession, custody, or
 4   control, since evidence of the truthfulness or falsity of Elizarov’s statements on his
 5   forbearance application is likely to reside with Elizarov or with third parties. In
 6   addition, Goldwater objects to this interrogatory as improperly compound,
 7   resulting in the total number of interrogatories exceeding the limits of Fed. R. Civ.
 8   P. 33(a)(1). Subject to and without waiving its objections, Goldwater contends that
 9   Elizarov’s statement that his current financial assets only included $3,500 in
10   checking accounts and cash on hand was false, based on evidence of other accounts
11   in Elizarov’s name, including the JP Morgan savings account reported on his loan
12   application. Elizarov also falsely represented to Goldwater that the Palm Springs
13   property was his primary residence, when he had already signed a 12-month lease
14   for an apartment in Florida just weeks prior.
15         Evidence of these, as well as other, false statements can be ascertained through
16   the business records being produced in response to Elizarov’s discovery requests
17   pursuant to Fed. R. Civ. P. 33(d).
18         Employees Amanda Uhrig, Melanie Gonzales, Leticia Aguilar, and Renita
19   Nolan communicated with Elizarov regarding his forbearance application and have
20   knowledge of the same. These individuals are employees of Weststar Mortgage
21   Corporation (“Weststar”), which is an entity affiliated with Goldwater who handled
22   the servicing of Elizarov’s loan. Goldwater employee Pete Hill also has general
23   knowledge of Elizarov’s forbearance application. They can be reached through
24   undersigned counsel.
25

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                    GOLDWATER’S RESPONSES TO ELIZAROV’S INTERROGATORIES - 5
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 1   Dated: April 22, 2022.
 2

 3
                                        WAGNER HICKS PLLC
                                        By: /s/ Derek M. Bast
 4                                          Sean C. Wagner, Esq.
 5                                          Derek M. Bast, Esq.
 6
                                                And
 7

 8                                       HILBERT & SATTERLY LLP
 9
                                         By: /s/ Joseph A. Levota____________
                                                John Forest Hilbert, Esq.
10                                              Joseph A. LeVota, Esq.
11

12
                                        ATTORNEYS FOR GOLDWATER BANK, N.A.
13

14

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                   GOLDWATER’S RESPONSES TO ELIZAROV’S INTERROGATORIES - 29
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 1     Derek M. Bast (Pro Hac Vice)
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       831 East Morehead Street, Suite 860
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       Charlotte, North Carolina 28202
       Tel: (704) 705-7538
 4
       Fax: (704) 705-7787
 5     John Forest Hilbert, Esq. (SBN 105827)
       Joseph A. LeVota, Esq. (SBN 226760)
 6     HILBERT & SATTERLY LLP
       409 Camino del Rio S. #104
 7     San Diego, California 92108
       Telephone: (619) 795-0300
 8     Facsimile: (619) 501-6855
 9     Counsel for Plaintiff
       GOLDWATER BANK, N.A.
10

11                             UNITED STATES DISTRICT COURT
12                           CENTRAL DISTRICT OF CALIFORNIA
13

14      GOLDWATER BANK, N.A.,                         Case No. 5:21-cv-00616-JWH-SPx
15                          Plaintiff,
                                                      PLAINTIFF GOLDWATER BANK,
16            v.                                      N.A.’S RESPONSES TO ARTUR
                                                      ELIZAROV’S FIRST SET OF
17      ARTUR ELIZAROV, ET AL.                        REQUESTS FOR PRODUCTION
18                          Defendants.
19

20

21
       PROPOUNDING PARTY:                Defendant Artur Elizarov
22
       ANSWERING PARTY:                  Plaintiff Goldwater Bank, N.A.
23
       SET NO.:                          One
24
             NOW COMES Plaintiff Goldwater Bank, N.A. (“Goldwater”), by and through
25
       counsel, and responds to Defendant Artur Elizarov’s (“Elizarov”) First Set of
26
       Interrogatories (the “Interrogatories”) as follows:
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                   GOLDWATER’S RESPONSES TO ELIZAROV’S REQUESTS FOR PRODUCTION - 1
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     Case
      Case5:21-cv-00616-JWH-SP
            5:21-cv-00616-JWH-SPDocument
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             2.    All items that GOLDWATER listed in response to interrogatory 2.3 in
21
       INTERROGATORIES. If the records include emails, GOLDWATER must produce
22
       these emails in one of the following electronic formats: EML, MBOX, or MSG. If
23
       GOLDWATER cannot produce the emails in these electronic formats (which is highly
24
       unlikely because all modern email systems use at least one of these formats), then
25
       GOLDWATER must produce a legible text-searchable PDF copy of the emails organized
26
       chronologically with all the header information attached to each email. If the records
27
       include Short Message Service (SMS), Multimedia Messaging Service (MMS) messages,
28




                  GOLDWATER’S RESPONSES TO ELIZAROV’S REQUESTS FOR PRODUCTION - 3
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 1     or messages transmitted over the Internet (e.g., through Slack, WhatsApp, Telegram,
 2     Facebook Messenger, etc.), GOLDWATER must produce these records in one of these
 3     electronic formats: JSON or XML. If GOLDWATER cannot produce the records in one
 4     of these formats, then GOLDWATER must produce a continuous text-searchable PDF
 5     printout of the messages organized chronologically showing the dates and the times of
 6     each message.
 7
             RESPONSE:         To the extent that this Request relies on Interrogatory No.
 8
       2, Goldwater reasserts its objections raised in response to Interrogatory No. 2.
 9
       Goldwater also objects to the phrase “items listed in response to interrogatory 2.3”
10
       because the phrase items is vague, and interrogatory 2.3 refers broadly to
11
       “evidence,” which would include non-documentary evidence, testimonial evidence,
12
       and items not in Goldwater’s possession, custody, or control. Goldwater further
13
       objects under Fed. R. Civ. P. 34(b)(2)(D) to Elizarov’s request that Goldwater
14
       produce all responsive emails in native formats with file extension EML, MBOX, or
15
       MSG. This matter has already been actively litigated for more than a year, and
16
       Goldwater has already collected the vast majority of the relevant emails in
17
       searchable PDF format. Additionally, Goldwater has obtained relevant emails from
18
       third-parties, which were provided to Goldwater in PDF, rather than native, format
19
       as well. As such, Goldwater intends to produce responsive emails in searchable PDF
20
       format. Subject to and without waiving its objections, Goldwater will produce all
21
       non-privileged, responsive documents supporting Goldwater’s contention that
22
       Elizarov made false statements of fact in his forbearance application.
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                  GOLDWATER’S RESPONSES TO ELIZAROV’S REQUESTS FOR PRODUCTION - 4
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 1     Dated: April 22, 2022.
 2

 3
                                           WAGNER HICKS PLLC
                                           By: /s/ Derek M. Bast
 4                                             Sean C. Wagner, Esq.
 5                                             Derek M. Bast, Esq.
 6
                                                   And
 7

 8                                          HILBERT & SATTERLY LLP
 9
                                            By: /s/ Joseph A. Levota____________
                                                   John Forest Hilbert, Esq.
10                                                 Joseph A. LeVota, Esq.
11

12
                                           ATTORNEYS FOR GOLDWATER BANK, N.A.
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                  GOLDWATER’S RESPONSES TO ELIZAROV’S REQUESTS FOR PRODUCTION - 44
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  ILYA ALEKSEYEFF [CA 242462]
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  727 W 7th St PH 1-13
  Los Angeles, CA 90017
  Tel: (213)537-4592

  Attorney for Artur Elizarov

                        UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA



   GOLDWATER BANK, NA,                          5:21-cv-616-JWH-SP
                                   Plaintiff,
                                                TENTATIVE NOTICE OF MOTION
   vs.                                          FOR SANCTIONS UNDER RULE 11

   ARTUR ELIZAROV, ET AL.,        Date: TBD
                       Defendant. Time: 9:00 am
                                  Court: Hon. John W. Holcomb


         To Goldwater Bank, NA, Scott Howlett, Bank of the West, Unison
  Credit Corp.; attorneys Derek Bast, Marie Maurice, and Joseph LeVota; and
  law offices of Wagner Hicks, PLLC, Ivie McNeill Wyatt Purcell & Diggs, and
  Hilbert & Satterly LLP:
         No earlier than 9:00 am on September 30, 2022*, in Courtroom 9D of the
  United States District Court for the Central District of California located at Ronald
  Reagan Federal Building and U.S. Courthouse, 411 W. 4th Street, Santa Ana,
  California 92701-4516, The Honorable John W. Holcomb, District Judge,
  defendant Artur Elizarov will move for the following sanctions against plaintiff
  Goldwater Bank, NA, attorneys Derek Bast, Marie Maurice, and Joseph LeVota,




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  and law offices of Wagner Hicks, PLLC, Ivie McNeill Wyatt Purcell & Diggs, and
  Hilbert & Satterly LLP (collectively, “counselors”): monetary sanctions against
  counselors; an order dismissing the entire verified complaint (EFD # 44) or, at the
  minimum, dismissing the causes of action for fraud, conspiracy to commit fraud,
  fraudulent transfer, and unjust enrichment; an order that attorney Derek Bast report
  the sanction to the North Carolina Bar; and an order that attorneys Maurice and
  LeVota report the sanction to the California State Bar.
        Elizarov will seek the order for the following reasons:
        1.     The claims of fraud as alleged in the third cause of action of the
  amended verified complaint (Ex. OO) lacked evidentiary support and was not
  warranted by existing law, a violation of Rule 11(b)(2) & (b)(3).
               a.     The following allegation is demonstrably false: Elizarov falsely
  reported his marital status. Elizarov reported that Elizarov had a “husband” to
  Goldwater’s loan officer Gregory Hill on July 9th and July 11th 2019. Therefore,
  the allegation lacked evidentiary support. Fed. R. Civ. P. 11(b)(3). The allegation
  was also not warranted by the law. Fed. R. Civ. P. 11(b)(2). The Equal Credit
  Opportunity Act prohibited Goldwater from considering Elizarov’s marital status
  in making the lending decision. Therefore, the information was immaterial as a
  matter of law.
               b.     The following allegation is demonstrably false: Elizarov did not
  report the BMW lawsuit. Elizarov reported the lawsuit as well as its settlement to
  Gregory Hill on July 10th 2019. The notice of unconditional settlement, the request
  for dismissal, the stipulation and order to retain jurisdiction, and Alekseyeff’s
  declaration regarding the proceedings in the BMW litigation were all publicly
  available and accessible before counselors filed the lawsuit. Therefore, the
  allegation lacked evidentiary support. Fed. R. Civ. P. 11(b)(3).
               c.     The following allegation is demonstrably false: Elizarov failed
  to report that Elizarov was in default on a federal debt, including the IRS debt.




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  Goldwater admitted that Goldwater had no evidence to support this allegation.
  Goldwater could not identify a single debt that Elizarov had allegedly defaulted on.
  At the time Elizarov applied for the loan in July 2019, Elizarov no longer had the
  IRS debt that was subject to the lien. (Goldwater relied on the recorded lien as the
  sole evidence of the alleged default.) Elizarov paid off the debt in January 2018
  when Elizarov sold a house in Valley Village, California. Therefore, the allegation
  lacked evidentiary support. Fed. R. Civ. P. 11(b)(3).
               d.    By its admission, Goldwater had no evidence to support the
  following allegations: Elizarov’s income and assets in May 2020 (when Elizarov
  applied for forbearance) exceeded $1,050.00 per week and $3,500 cash on hand,
  respectively. Therefore, the allegation lacked evidentiary support. Fed. R. Civ. P.
  11(b)(3). The information about Elizarov’s income and assets was also immaterial
  as a matter of law because the CARES Act did not allow Goldwater to consider
  this information and instead required Goldwater to grant the forbearance based
  solely on Elizarov’s request and an affirmation of hardship. Therefore, the
  allegation was not warranted by the law. Fed. R. Civ. P. 11(b)(2).
               e.    (i) Goldwater lacked evidentiary support to support this
  allegation: With the intent to induce Goldwater not to “interfere with the sale” or
  “rush to record the Deed of Trust,” Elizarov represented that the property was
  subject to a mechanic’s lien and orally promised to pay Goldwater $675,000 from
  the sale proceeds. Goldwater admitted that it had no evidence to show that
  Elizarov’s intention was to induce reliance rather than to pay Goldwater less than
  Elizarov owed. This admission negates the fraudulent intent. Goldwater also has
  no evidence to show reliance damages. Goldwater found out that the deed was
  unrecorded only because Elizarov engaged in settlement discussion. Had Elizarov
  told Goldwater nothing about other lien nor promised to pay $675,000, Goldwater
  still would have received nothing from the sale. Therefore, any losses that
  Goldwater suffered did not result from Elizarov’s alleged misrepresentations




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  during the settlement discussions but from Goldwater’s incompetent failure to
  record the deed of trust. (ii) The allegation is also not warranted by the law. By
  Goldwater’s admission, the parties did not have an agreement that required
  Elizarov to pay $675,000 to Goldwater. If the agreement existed, the agreement
  was unenforceable under the Statute of Frauds. The agreement also lacked
  consideration. In its fraud claim, Goldwater sought to use tort law to enforce the
  unenforceable and non-existing agreement. Binding California precedent did not
  allow Goldwater to use the tort law in this manner.
        2.      The claim of conspiracy as alleged in the fifth cause of action of the
  amended verified complaint (Ex. OO) lacked evidentiary support, a violation of
  Rule 11(b)(3). Goldwater admitted that Goldwater had no evidence to show that
  Alekseyeff knew of or agreed that Elizarov should represent anything to
  Goldwater. The allegation was also not warranted by the law, a violation of Rule
  11(b)92). Alekseyeff had no relationship with Goldwater and owed Goldwater no
  duty to make any statements. Therefore, Alekseyeff is not liable for conspiracy as
  a matter of law.
        3.      The claim for unjust enrichment, as alleged in the second cause of
  action of the amended verified complaint (Ex. OO) lacked evidentiary support, a
  violation of Rule 11(b)(3). Goldwater admitted in its pleading and in discovery
  that the note and the deed of trust were valid and enforceable. A claim under a
  valid and enforceable agreement cannot support a claim for unjust enrichment as a
  matter of law. Therefore, Goldwater had no basis to allege the claim.
        4.      The legal claim of fraudulent transfer as alleged in the fourth cause of
  action of the amended verified complaint (Ex. OO) was not warranted by the law, a
  violation of Rule 11(b)(2). By paying pre-existing debt, Elizarov merely preferred
  one creditor over another. Such a preference does not support the intent to defraud
  creditors as a matter of law. Therefore, there is no legal basis to support this
  allegation.




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        The motion will be based on this notice, the memorandum supporting this
  motion, declarations of Ilya Alekseyeff and Artur Elizarov, exhibits A through
  MM, requests for judicial notice, a reply memorandum, and any evidence
  submitted in rebuttal.
        This motion is made following the conference of counsel pursuant to L.R. 7-
  3 which took place on ___________.*
        To avoid this motion, which Elizarov will file with the court on
  September 2, 2022, twenty-five days after service, counselors must, no later
  than 11:59 PM Pacific Time on September 1, 2022, twenty-four days after
  service, withdraw from the amended verified complaint (EFD # 44) the second
  cause of action for unjust enrichment, the third cause of action for fraud, the
  fourth cause of action for fraudulent transfer, and the fifth cause of action for
  conspiracy.
        *This notice will be amended to reflect the confirmed hearing date and the
  conference date prior to filing. Fed. R. Civ. P. 11(c)(2) (safe harbor).


  Dated: 08/08/2022                      LOIA, INC. (APLC)



                                         By: Ilya Alekseyeff
                                         Attorney for Artur Elizarov




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                            CERTIFICATE OF SERVICE
        I, Ilya Alekseyeff, certify that on August 8, 2022, I served the attached
  “TENTATIVE NOTICE OF MOTION FOR SANCTIONS UNDER RULE 11” by
  mail as follows:
   Derek Bast                                    Joseph LeVota
   Wagner Hicks, PLLC                            Hilbert Satterly LLP
   831 E Morehead St Ste 860                     409 Camino del Rio St Ste 104
   Charlotte, NC 28202                           San Diego, CA 92108

   Marie Maurice
   Ivie McNeill Wyatt Purcell & Diggs,
   444 S Flower St Fl 18
   Los Angeles, CA 90071-2919


        I further certify that on that on August 8, 2022, I also served the attached
  “TENTATIVE NOTICE OF MOTION FOR SANCTIONS UNDER RULE 11” by
  email as follows:
        1.     Derek Bast, derek.bast@waghernicks.law
        2.     Marie Maurice, mmaurice@imwlaw.com
        3.     Joseph LeVota, jlevota@hscallaw.com
        4.     Ryan Thomason, rthomason@hallgriffin.com
        5.     Nabil Bisharat, nbisharat@orsusgate.com
        I declare under penalty of perjury under the laws of the United States that
  the above certification is true and correct.



  Date: 08/08/2022                  Signature:




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Re: Activity in Case 5:21 cv 00616 JWH SP Goldwater Bank, N.A. v. Artur Elizarov et al
Order on Ex Parte Application for Relief of Discovery Matter
Ilya ALEKSEYEFF <ilya@loia.legal>
Mon 2022-08-08 1:05 PM
To Derek Ba t <derek ba t@wagnerhick law>
Derek,

Thank you for taking my call.

To recap:

    1 I will not move to quash PaeDae subpoena because you did not seek Mr Elizarov's financial
      information.

    2. You affirmed that you had stopped the service of the subpoena on the EDD because you agreed
       with my privilege claim

    3 We discussed the scope of discovery You told me that Mr Elizarov's income information from Rite
      Care was relevant to show that Mr. Elizarov lied about his income in the loan application. I
      reminded you that the complaint did not allege any such fraud and represented that the scope of
      discovery in general and in fraud cases in particular did not allow Goldwater to seek discovery for
      the purpose of uncovering some additional, unalleged misconduct I also promised to send you
      authorities on that point. I will do so shortly in a separate email.

    4. We discussed the CARES Act. I advised you that if the information about income and assets were
       material (i e , Goldwater could rely on the information in making the forbearance decision), then
       Goldwater could arguably get discovery on those issues. However, I also mentioned that the
       CARES Act did not allow Goldwater to require proof of hardship Once Mr Elizarov requested a
       forbearance and affirmed the existence of hardship, Goldwater had to approve the application.
       When you questioned whether CARES Act applied to the loan, I also mentioned that the discovery
       that I received from you repeatedly referred to Mr. Elizarov's loan as a "conventional FNMA" loan,
       which certainly suggests that the loan qualified for CARES Act I also suggested that you look
       into this issue because the outcome of the motion may hinge on it.

    5. I confirmed that Goldwater's answer to the motion to quash in Florida Southern District was due
       Monday, August 15, 2022

    6 You allowed me until this Friday to send you back my input on the joint stipulation re Goldwater
      discovery motions (thank you).

    7. We discussed deposition dates. I am available on these dates in August: 19, 26, 29, 30. Mr.
       Elizarov is not available in August I will send you the date for both Mr Elizarov and me in
       September shortly.

Let me know if I missed anything

​Thank you.

Sincerely,
LOIA, Inc. (APLC)


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Ilya Alekseyeff
Mr. Ilya Alekseyeff
Attorney at Law (CA, FL & NY)
727 W 7th St PH 1-13
Los Angeles, CA 90017
Tel: (213)537-4592
E-mail: ilya@loia.legal




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Goldwater v. Elizarov, CACD 5:21-cv-616 - additional authorities
Ilya ALEKSEYEFF <ilya@loia.legal>
Mon 2022-08-08 1:36 PM
To: Derek Bast <derek.bast@wagnerhicks.law>
Bcc: Clio Maildrop (1449395076) <e478ba47d+matter1449395076@maildrop.clio.com>
Derek,

Here are the authorities that I promised you:

Discovery is limited to the issues alleges in the pleading. Discovery may not be obtained to develop
new claims not alleged in the complaint.

"Pursuant to Rule 26 of the Federal Rules of Civil Procedure, parties may obtain discovery regarding any
matter that is not privileged, which is relevant to the claim or defense of any party. Parties have no
entitlement to discovery to develop new claims or defenses that are not identified in the pleadings."

         In re Remec, Inc. Securities Litigation, Civil No. 04cv1948 JLS (AJB), at *3 (S.D. Cal. May 30,
2008).

"However, discovery should be used to flesh out claims, not search for new ones."

         Feigel v. F.D.I.C., 935 F. Supp. 1090, 1101 n.7 (S.D. Cal. 1996).

"Plaintiffs may not use discovery to develop new claims or defenses that are not asserted in the
pleadings."

         Corker v. Costco Wholesale Corp., Cause No. C19-0290RSL, at *3 (W.D. Wash. Dec. 4, 2020).

"Plaintiff may not use discovery to develop new claims that are not already identified in the pleadings."

         PARKS v. TAIT, No. 08-CV-1031-H (JMA), at *7 (E.D. Cal. Dec. 4, 2009).

“parties are not entitled to discovery to develop new claims or defenses that are not identified in the
pleadings”

         Jacobson v. Persolve, LLC, No. C14-00735 LHK (HRL), at *3 (N.D. Cal. Apr. 1, 2015).

I have many more opinions, all saying the same thing. But I think that five citations should be sufficient.

The rule is even stricter for fraud claims. To allege fraud, the plaintiff must have all the facts
supporting the claim before filing the complaint. The claim may not be based on information
developed in discovery.

“A plaintiff must identify the complete facts supporting a fraud claim before alleging fraud in its
complaint: allegations of fraud may not depend on facts to be uncovered in discovery.”

         Bernstein v. Vocus, Inc., No. 14-cv-01561-TEH, at *10 (N.D. Cal. July 23, 2014).

“these heightened pleading requirements [under Rule 9] exist to 'eliminate fraud actions in which all the
facts are learned through discovery after the complaint is filed.'"


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        Staton v. Bac Home Loans Servicing, L.P., No. 6:10-cv-01306-AA, at *15 (D. Or. May 9, 2012),
internal citations omitted.

"plaintiffs' speculation that discovery will yield further evidence of fraud is insufficient."

        Johnson v. First Federal Bank of California, Case No.: C 08-0264 PVT, [and related case C 08-
01796 PVT], at *8 (N.D. Cal. Nov. 26, 2008), citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544
(2007) ("[f]actual allegations must be enough to raise a right of relief above the speculative level . . on
the assumption that all the allegations in the complaint are true (even if doubtful in fact.")

In these cases, courts granted Rule 12(b) motions because plaintiffs promised to obtain the information
supporting the improperly alleged claim of fraud in discovery. Here, you are seeking to do something
worse: you are trying to obtain discovery on the issue of fraud that you did not even bother alleging.
Federal rules do not permit such practice. Therefore, you may not obtain Mr. Elizarov's pre-loan
application income information to verify whether Mr. Elizarov misrepresented his income.

​Thank you.

Sincerely,
LOIA, Inc. (APLC)
Ilya Alekseyeff
Mr. Ilya Alekseyeff
Attorney at Law (CA, FL & NY)
727 W 7th St PH 1-13
Los Angeles, CA 90017
Tel: (213)537-4592
E-mail: ilya@loia.legal




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Re: Goldwater v. Elizarov, CACD 5:21-cv-616
Ilya ALEKSEYEFF <ilya@loia.legal>
Fri 2022-08-12 4:05 PM
To: Derek Bast <derek.bast@wagnerhicks.law>
Cc: Sean Wagner <sean.wagner@wagnerhicks.law>
Why offer me your belief? Your client should have records. What I have so far has FNMA written all
over it. Doors your client has something to show they FNMA rejected the loan?

I will send you the records that I’m referring to shortly.

Also, many California moans are nonconforming but still FNMA insured.

From: Derek Bast <derek.bast@wagnerhicks.law>
Sent: Friday, August 12, 2022 3:56:35 PM
To: Ilya ALEKSEYEFF <ilya@loia.legal>
Cc: Sean Wagner <sean.wagner@wagnerhicks.law>
Subject: RE: Goldwater v. Elizarov, CACD 5:21-cv-616

Thanks, Ilya.

On the CARES Act, I do believe that Elizarov’s loan was not a federally-backed loan subject to the CARES Act. The
loan principal was $686,250, which is in excess of the FHFA limits for conforming loans that could be backed by
Fannie and Freddie. (https://www.fhfa.gov/Media/PublicAffairs/Pages/FHFA-Announces-Maximum-Conforming-
Loan-Limits-for-2019.aspx). The limit for single-family homes in Riverside County, CA in 2019 was $484,350.
(2019 spreadsheet of county-by-county limits is available here:
https://www.fhfa.gov/DataTools/Downloads/Pages/Conforming-Loan-Limit.aspx)

Derek M. Bast
Wagner Hicks PLLC
704.705.8311
derek.bast@wagnerhicks.law


From: Ilya ALEKSEYEFF <ilya@loia.legal>
Sent: Friday, August 12, 2022 3:59 PM
To: Derek Bast <derek.bast@wagnerhicks.law>
Subject: Goldwater v. Elizarov, CACD 5:21-cv-616

Derek,

Here's my joint stip and my exhibits. Please, send a complete PDF to me for signature after you review
these documents.

I plan to file my motion to qash this coming Monday. When we spoke this past Monday, I asked you to
get back to me regarding the CARES Act. You have not. If you have a position on the issue or evidence
showing that the CARES Act did not apply, please share it with me right away.

​Thank you.

Sincerely,

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                                     #:3959

Ilya Alekseyeff
Mr. Ilya Alekseyeff
Attorney at Law (CA, FL & NY)
727 W 7th St PH 1-13
Los Angeles, CA 90017
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E-mail: ilya@loia.legal




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   ILYA ALEKSEYEFF [CA 242462]
      ilya@loia.legal
   LOIA, INC. (APLC)
   727 W 7th St PH 1-13
   Los Angeles, CA 90017
   Tel: (213)537-4592

   Attorney for Artur Elizarov


                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA


    GOLDWATER BANK, NA,                          5:21-cv-616-JWH-SP
                                    Plaintiff,
                                  REQUESTS FOR JUDICIAL NOTICE
    vs.                           SUPPORTING ARTUR
                                  ELIZAROV’S MOTION TO QUASH
    ARTUR ELIZAROV ET AL,         GOLDWATER BANK, NA’S
                       Defendant. SUBPOENAS DUCES TECUM TO
                                  RITE CARE HOSPICE, INC. AND
                                  ECIVIS, INC.

                                                 Date: 09/13/2022
                                                 Time: 9:00 am
                                                 Court: Hon. Sheri Pym

                                                 Date filed: 04/06/2021
                                                 Amendment filed: 05/24/2021
                                                 Discovery cut-off: 10/14/2022
                                                 Status conference: 02/03/2023
                                                 Jury trial: 02/27/2023

          Defendant Artur Elizarov request that the court take judicial notice of the
   following facts:




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         1.     The case entitled Artur Elizarov v. BMW Financial Services NA, LLC
   was filed in Los Angeles Superior Court under case number 19STCV08507 on
   March 11, 2022. Ex. Z-1. Fed. R. Evid. 201(b)(2) & (c)(2); Kasey v. Molybdenum
   Corp. of America, 336 F.2d 560, 563 (9th Cir. 1964) (court take judicial notice of
   state court records).


         2.     Plaintiff Artur Elizarov filed a notice of unconditional settlement of
   the entire case in Los Angeles Superior Court case 19STCV08507 entitled Artur
   Elizarov v. BMW Financial Services NA, LLC on May 22, 2019. Ex. X. Fed. R.
   Evid. 201(b)(2) & (c)(2); Kasey v. Molybdenum Corp. of America, 336 F.2d 560,
   563 (9th Cir. 1964) (court take judicial notice of state court records).


         3.     The court dismissed Los Angeles Superior Court case 19STCV08507
   entitled Artur Elizarov v. BMW Financial Services NA, LLC on August 14, 2019.
   Ex. Z-1. Fed. R. Evid. 201(b)(2) & (c)(2); Kasey v. Molybdenum Corp. of
   America, 336 F.2d 560, 563 (9th Cir. 1964) (court take judicial notice of state court
   records).


         4.     The grant deed from Mr. Artur Elizarov to Mr. Scott Howlett
   regarding real property located at 291 W Overlook Road in Palm Springs,
   California, was recorded in Riverside County at 4:55 pm on March 29, 2021,
   instrument number 2021-0196602. Ex. FF. Fed. R. Evid. 201(b)(2) & (c)(2);
   Western Federal Sav. & Loan Ass'n v. Heflin Corp., 797 F. Supp. 790, 792 (N.D.
   Cal. 1992) (taking judicial notice of various deeds of trust and a state court
   foreclosure action file).


         5.     The Internal Revenue Service recorded in Los Angeles County a
   Certificate of Release of Federal Tax Lien on December 18, 2019. Ex. O. Fed. R.




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   Evid. 201(b)(2) & (c)(2); Western Federal Sav. & Loan Ass'n v. Heflin Corp., 797
   F. Supp. 790, 792 (N.D. Cal. 1992) (taking judicial notice of various deeds of trust
   and a state court foreclosure action file).


         6.     The contents of the Fannie Mae guidance letter LL-2020-02. Ex. D.
   Fed. R. Evid. 201(b)(2) & (c)(2); Currey v. Homecomings Financial, LLC, No. C
   09-0276 PJH, at *5 (N.D. Cal. May 1, 2009) (taking judicial notice “[a]s to the
   factual information on Fannie Mae's website”), citing. O'Toole v. Northrop
   Grumman Corp., 499 F.3d 1218, 1224-25 (10th Cir. 2007) ("It is not uncommon
   for courts to take judicial notice of factual information found on the world wide
   web”); DiTech Fin. LLC v. Stonefield II Homeowners Ass'n, No. 3:16-cv-00227-
   MMD-WGC, at *2 n.2 (D. Nev. July 3, 2019) (“The Court also takes judicial
   notice of Fannie Mae's Single-Family Servicing Guide…available on its website”).


         7.     Fannie Mae response to a frequently asked question. Ex. F. Fed. R.
   Evid. 201(b)(2) & (c)(2); Currey v. Homecomings Financial, LLC, No. C 09-0276
   PJH, at *5 (N.D. Cal. May 1, 2009) (taking judicial notice “[a]s to the factual
   information on Fannie Mae's website”), citing. O'Toole v. Northrop Grumman
   Corp., 499 F.3d 1218, 1224-25 (10th Cir. 2007) ("It is not uncommon for courts to
   take judicial notice of factual information found on the world wide web”); DiTech
   Fin. LLC v. Stonefield II Homeowners Ass'n, No. 3:16-cv-00227-MMD-WGC, at
   *2 n.2 (D. Nev. July 3, 2019) (“The Court also takes judicial notice of Fannie
   Mae's Single-Family Servicing Guide…available on its website”).


         8.     Consumer guide issued by the Consumer Financial Protection Bureau,
   CFPB. Ex. E. Fed. R. Evid. 201(b)(2) & (c)(2); Kater v. Churchill Downs
   Inc., 886 F.3d 784, 788 n.3 (9th Cir. 2018) (taking judicial notice of government
   documents on government website); Ontiveros v. Zamora, No. CIV. S-08-567




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   LKK/DAD, at *6 n.3 (E.D. Cal. Feb. 20, 2009) (taking judicial notice of DLSE
   Manual); Anderson v. Jamba Juice Co., Case No.: 12-CV-01213 YGR, at *3 (N.D.
   Cal. Aug. 24, 2012) (taking judicial notice of FDA Guidance Document).


   Dated: 08/16/2022                   LOIA, INC. (APLC)



                                        By Ilya Alekseyeff, Esq.
                                        Attorney for Artur Elizarov




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